                 Case 06-10725-gwz                            Doc 682-1                Entered 06/15/06 23:55:42                    Page 1 of 50



In re             USA Commercial Mortgage Company                        ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                               Description and Location of Property                                               Property


                                 Legal vesting                                        Mailing Address                   Loan Name           Amount     Contingent
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         Marquis Hotel                      Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         Marquis Hotel                      Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         HFA- Clear Lake                    Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         HFA- Clear Lake                    Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         6425 Gess, LTD                     Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         6425 Gess, LTD                     Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         Hasley Canyon                      Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust      415 L'Ambiance Dr PH-D         Hasley Canyon                      Unknown         Y
        dated 3/18/94                                                    Longboat Key, FL 34228
        Burton M. Sack, a married man dealing with his sole & separate   415 L'Ambiance Dr PH-D         Gramercy Court Condos              Unknown         Y
        property                                                         Longboat Key, FL 34228
        Burton M. Sack, a married man dealing with his sole & separate   415 L'Ambiance Dr PH-D         HFA- North Yonkers                 Unknown         Y
        property                                                         Longboat Key, FL 34228
        Burton M. Sack, a married man dealing with his sole & separate   415 L'Ambiance Dr PH-D         Amesbury/Hatters Point             Unknown         Y
        property                                                         Longboat Key, FL 34228
        Burton M. Sack, a married man dealing with his sole & separate   415 L'Ambiance Dr PH-D         Bay Pompano Beach                  Unknown         Y
        property                                                         Longboat Key, FL 34228
        Burton M. Sack, a married man dealing with his sole & separate   415 L'Ambiance Dr PH-D         Brookmere/Matteson $27,050,000     Unknown         Y
        property                                                         Longboat Key, FL 34228
        Byran J. McWaters & Lisa J. McWaters, joint tenants with right   P O Box 148                    Amesbury/Hatters Point             Unknown         Y
        of survivorship                                                  Ferndale, CA 95536
        Byrne E. Falke Jr. Trustee of the Byrne E. Falke Living Trust    P O Box 5676                   Eagle Meadows Development          Unknown         Y
        dated 6/3/03                                                     Incline Village, NV 89452
        Byrne E. Falke Jr. Trustee of the Byrne E. Falke Living Trust    P O Box 5676                   Bay Pompano Beach                  Unknown         Y
        dated 6/3/03                                                     Incline Village, NV 89452
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA-Clear Lake 2nd                 Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA-Clear Lake 2nd                 Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA-Clear Lake 2nd                 Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Freeway 101                        Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Freeway 101                        Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Freeway 101                        Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                   Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450




SCHEDULES                                                                             Exhibit B-21                                                        PAGE 26
                 Case 06-10725-gwz                            Doc 682-1             Entered 06/15/06 23:55:42                             Page 2 of 50



In re             USA Commercial Mortgage Company                      ,                                                                        Case No. 06-10725-LBR
                                    Debtor                                                                                                                   (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                               Description and Location of Property                                                     Property


                                 Legal vesting                                     Mailing Address                            Loan Name           Amount     Contingent
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Huntsville                         Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Huntsville                         Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Huntsville                         Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Goss Road                          Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Goss Road                          Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust       P O Box 3774                         Goss Road                          Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         HFA- Windham                       Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Fiesta Oak Valley                  Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Amesbury/Hatters Point             Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Anchor B, LLC                      Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Anchor B, LLC                      Unknown         Y
                                                                         Incline Village, NV 89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust P O Box 3774                         Anchor B, LLC                      Unknown         Y
                                                                         Incline Village, NV 89450
        C & B Cattle Company, LLC, a Utah limited liability company      P O Box 460570                       Gateway Stone                      Unknown         Y
                                                                         Leeds, UT 84746
        C. Donald Ayers, a single man                                    P. O. Box 605                        Bay Pompano Beach                  Unknown         Y
                                                                         Islamorada, FL 33036
        C. E. Newby & Carole Newby Trustees of the Newby 1984            5209 Elm Grove Drive                 Eagle Meadows Development          Unknown         Y
        Family Trust dated 3/19/84                                       Las Vegas, NV 89130
        C. K. Khury and Irene K. Bass, Trustees of the C. K. Khury and 1930 Village Center Circle PMB 3-387   Margarita Annex                    Unknown         Y
        Irene K. Bass Family Trust dated 5/10/05                         Las Vegas, NV 89134
        C. K. Khury and Irene K. Bass, Trustees of the C. K. Khury and 1930 Village Center Circle PMB 3-387   6425 Gess, LTD                     Unknown         Y
        Irene K. Bass Family Trust dated 5/10/05                         Las Vegas, NV 89134
        Cal Terrill & Judy Terrill Trustees of the Terrill Family        6149 Aragon Ave                      Amesbury/Hatters Point             Unknown         Y
        Revocable Living Trust dated 3/11/02                             New Port Richey, FL 34653
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                          Eagle Meadows Development          Unknown         Y
        IRA                                                              Summerland, CA 93067
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                          Eagle Meadows Development          Unknown         Y
        IRA                                                              Summerland , CA 93067
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                          Eagle Meadows Development          Unknown         Y
        IRA                                                              Summerland, CA 93067
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                          Fiesta Oak Valley                  Unknown         Y
        IRA                                                              Summerland, CA 93067
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                          Fiesta Oak Valley                  Unknown         Y
        IRA                                                              Summerland , CA 93067




SCHEDULES                                                                           Exhibit B-21                                                                PAGE 27
                 Case 06-10725-gwz                             Doc 682-1               Entered 06/15/06 23:55:42                     Page 3 of 50



In re             USA Commercial Mortgage Company                        ,                                                                       Case No. 06-10725-LBR
                                    Debtor                                                                                                                    (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                                Description and Location of Property                                                     Property


                                  Legal vesting                                       Mailing Address                    Loan Name                 Amount     Contingent
        California National Bank Custodian for benefit of Jay S. Stein   P O Box 188                     Fiesta Oak Valley                        Unknown         Y
        IRA                                                              Summerland, CA 93067
        California National Bank, Custodian for benefit of David E.      12240 N 128th Place             Gramercy Court Condos                    Unknown         Y
        Gackenbach IRA                                                   Scottsdale, AZ 85259
        California National Bank, Custodian for benefit of David E.      12240 N 128th Place             Gramercy Court Condos                    Unknown         Y
        Gackenbach IRA                                                   Scottsdale, AZ 85259
        Capital Mortgage Investors, Inc., a Florida Corporation          2999 NE 191 St Ste 905          Bay Pompano Beach                        Unknown         Y
                                                                         Aventura, FL 33180
        Capstone Asset Management                                        1390 Frank Hill Road            Amesbury/Hatters Point                   Unknown         Y
                                                                         Ashland, OR 97520
        Capstone Asset Management                                        1390 Frank Hill Road            Amesbury/Hatters Point                   Unknown         Y
                                                                         Ashland, OR 97520
        Carallas Holdings, Inc.                                          6205 Airport Road B 5th Floor   Fiesta USA/Stoneridge                    Unknown         Y
                                                                         Mississauga, Ontario
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B.        P. O. Box 1554                  Gilroy                                   Unknown         Y
        Sigmen & Lisa K. Sigmen Trust dated 3/3/97                       Mammoth Lakes, CA 93546
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B.        P. O. Box 1554                  Riviera - Homes for America Holdings,    Unknown         Y
        Sigmen & Lisa K. Sigmen Trust dated 3/3/97                       Mammoth Lakes, CA 93546         L.L.C.
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B.        P. O. Box 1554                  Placer Vineyards                         Unknown         Y
        Sigmen & Lisa K. Sigmen Trust dated 3/3/97                       Mammoth Lakes, CA 93546
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B.        P. O. Box 1554                  Gramercy Court Condos                    Unknown         Y
        Sigmen & Lisa K. Sigmen Trust dated 3/3/97                       Mammoth Lakes, CA 93546
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B.        P. O. Box 1554                  Bay Pompano Beach                        Unknown         Y
        Sigmen & Lisa K. Sigmen Trust dated 3/3/97                       Mammoth Lakes, CA 93546
        Carl A. Kolbert & Claudia C. Kolbert Trustees of the Kolbert     11200 Bondshire Drive           Amesbury/Hatters Point                   Unknown         Y
        Family Trust dated 4/3/03                                        Reno, NV 89511
        Carl C. Hagen, an unmarried man                                  P O Box 1267                    Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Fallon, NV 89407                L.L.C.
        Carl C. Hagen, an unmarried man                                  P O Box 1267                    Placer Vineyards 2nd                     Unknown         Y
                                                                         Fallon, NV 89407
        Carl C. Hagen, an unmarried man                                  P O Box 1267                    Cabernet                                 Unknown         Y
                                                                         Fallon, NV 89407
        Carl L. Robinson & Kathryn S. Robinson, husband & wife, as       5951 Saddle Horse Ave           Shamrock Tower, LP                       Unknown         Y
        joint tenants with right of survivorship                         Las Vegas, NV 89122
        Carla D. Neilan Trustee of the Neilan Living Trust dated         6298 Canyon Park Lane           HFA- Windham                             Unknown         Y
        01/02/04                                                         Reno, NV 89523
        Carlo J. Paradiso, an unmarried man                              10005 Villa Ridge Dr            6425 Gess, LTD                           Unknown         Y
                                                                         Las Vegas, NV 89134
        Carlos A. Trujillo, A single man                                 2818 Horseshoe Dr               HFA- Clear Lake                          Unknown         Y
                                                                         Las Vegas, NV 89120
        Carmel Winkler Trustee of the Winkler Family Trust UTD           10000 Rossbury Place            Amesbury/Hatters Point                   Unknown         Y
        3/13/86                                                          Los Angeles, CA 90064
        Carmel Winkler Trustee of the Winkler Family Trust UTD           10000 Rossbury Place            Harbor Georgetown                        Unknown         Y
        3/13/86                                                          Los Angeles, CA 90064
        Carmel Winkler Trustee of the Winkler Family Trust UTD           10000 Rossbury Place            HFA- North Yonkers                       Unknown         Y
        3/13/86                                                          Los Angeles, CA 90064
        Carmel Winkler Trustee of the Winkler Family Trust UTD           10000 Rossbury Place            Brookmere/Matteson $27,050,000           Unknown         Y
        3/13/86                                                          Los Angeles, CA 90064
        Carmen Neidig, a widow                                           3003 Lodgepole Trail            BarUSA/$15,300,000                       Unknown         Y
                                                                         South Lake Tahoe, CA 96150
        Carmen Neidig, a widow                                           3003 Lodgepole Trail            Cabernet                                 Unknown         Y
                                                                         South Lake Tahoe, CA 96150
        Carmine Spinelli & Anna Spinelli, husband & wife, as joint       6200 Forestview Drive           Hasley Canyon                            Unknown         Y
        tenants with right of survivorship                               Oak Forest, IL 60452
        Carmine Spinelli & Anna Spinelli, husband & wife, as joint       6200 Forestview Drive           Marlton Square 2nd                       Unknown         Y
        tenants with right of survivorship                               Oak Forest, IL 60452
        Carol A. Fischer Trustee of the Carol A. Fischer Trust dated     6070 Eagle Meadows Cr           Placer Vineyards                         Unknown         Y
        8/5/05                                                           Reno, NV 89509
        Carol A. Kelly, a single woman                                   6323 State Hwy 84 NE            Lerin Hills                              Unknown         Y
                                                                         Longville, MN 56655




SCHEDULES                                                                             Exhibit B-21                                                               PAGE 28
                Case 06-10725-gwz                           Doc 682-1                Entered 06/15/06 23:55:42                       Page 4 of 50



In re            USA Commercial Mortgage Company                       ,                                                                         Case No. 06-10725-LBR
                                   Debtor                                                                                                                     (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                             Description and Location of Property                                                        Property


                                Legal vesting                                       Mailing Address                      Loan Name                 Amount     Contingent
        Carol A. Kelly, a single woman                                   6323 State Hwy 84 NE            Placer Vineyards                         Unknown         Y
                                                                         Longville, MN 56655
        Carol A. Kelly, a single woman                                   6323 State Hwy 84 NE            Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Longville, MN 56655             L.L.C.
        Carol A. Kelly, a single woman                                   6323 State Hwy 84 NE            Goss Road                                Unknown         Y
                                                                         Longville, MN 56655
        Carol A. Squicci Trustee of the Carol A. Squicci Revocable Trust 2067 Central Ave                Marquis Hotel                            Unknown         Y
        dated 5/12/03                                                    Alameda, CA 94501
        Carol C. Eyre & Edward E. Eyre, Jr. Co-Trustees of the Trust A 7456 Brothers Lane                Bay Pompano Beach                        Unknown         Y
        of the 1983 Living Trust Agreement dated 8/11/83                 Washoe Valley, NV 89704
        Carol Flier, a married woman dealing with her sole & separate    20155 Porto Vita Way 1803       HFA- Riviera 2nd                         Unknown         Y
        property                                                         Aventura, FL 33180
        Carol J. Pruner Trustee of the Carol J. Pruner Trust             7350 Silver Lake Rd Apt # 11A   Freeway 101                              Unknown         Y
                                                                         Reno, NV 89506
        Carol J. Pruner Trustee of the Carol J. Pruner Trust             7350 Silver Lake Rd Apt # 11A   Marquis Hotel                            Unknown         Y
                                                                         Reno, NV 89506
        Carol J. Simcock, a single woman                                 P O Box 2932                    Lerin Hills                              Unknown         Y
                                                                         Sunnyvale, CA 94087
        Carol J. Simcock, a single woman                                 P O Box 2932                    Lerin Hills                              Unknown         Y
                                                                         Sunnyvale, CA 94087
        Carol J. Simcock, a single woman                                 P O Box 2932                    Placer Vineyards 2nd                     Unknown         Y
                                                                         Sunnyvale, CA 94087
        Carol J. Simcock, a single woman                                 P O Box 2932                    Placer Vineyards 2nd                     Unknown         Y
                                                                         Sunnyvale, CA 94087
        Carol Lefcourt, a married woman dealing with her sole and        P O Box 8543                    Gramercy Court Condos                    Unknown         Y
        separate property                                                Incline Village, NV 89452
        Carol Lefcourt, a married woman dealing with her sole and        P O Box 8543                    Gramercy Court Condos                    Unknown         Y
        separate property                                                Incline Village, NV 89452
        Carol Mortensen Trustee of the Carol Mortensen Family Trust      4847 Damon Circle               Placer Vineyards 2nd                     Unknown         Y
        dated 9/9/90                                                     Salt Lake City, UT 84117
        Carol Mortensen Trustee of the Carol Mortensen Family Trust      4847 Damon Circle               Placer Vineyards 2nd                     Unknown         Y
        dated 9/9/90                                                     Salt Lake City, UT 84117
        Carol Mortensen Trustee of the Carol Mortensen Family Trust      4847 Damon Circle               Shamrock Tower, LP                       Unknown         Y
        dated 9/9/90                                                     Salt Lake City, UT 84117
        Carol Mortensen Trustee of the Carol Mortensen Family Trust      4847 Damon Circle               Shamrock Tower, LP                       Unknown         Y
        dated 9/9/90                                                     Salt Lake City, UT 84117
        Carol Sue Dunton, a married woman dealing with her sole &        75414 Riviera                   Gramercy Court Condos                    Unknown         Y
        separate property                                                Indian Wells, CA 92210
        Carole Jaffe In Trust For Ken M. Jaffe & Amy Jaffe-Rosen         3675 N Country Club Dr # 2102   HFA- Clear Lake                          Unknown         Y
                                                                         Aventura, FL 33180
        Carolyn Rand Samuelson Trustee of the Carolyn Rand Samuelson 3933 Ocean Drive                    Amesbury/Hatters Point                   Unknown         Y
        Revocable Trust dated 11/2/95                                    Oxnard, CA 93035
        Carolyn Rand Samuelson Trustee of the Carolyn Rand Samuelson 3933 Ocean Drive                    Amesbury/Hatters Point                   Unknown         Y
        Revocable Trust dated 11/2/95                                    Oxnard, CA 93035
        Carter L. Grenz, a divorced man                                  925 Marion County 7002          Gramercy Court Condos                    Unknown         Y
                                                                         Flippin, AR 72634
        Cary Tuch & Carol Tuch, husband & wife, as joint tenants with 11445 Gerald                       Marquis Hotel                            Unknown         Y
        right of survivorship                                            Granada Hills, CA 91344
        Caspar H. Escher, Jr., an unmarried man                          1800 Whitehall Lane             HFA- Clear Lake                          Unknown         Y
                                                                         St. Helena, CA 94574
        Cassandra J. Robbins, an unmarried woman                         57 Toppler Drive                HFA- North Yonkers                       Unknown         Y
                                                                         Castle Rock, CO 80108
        Cassandra J. Robbins, an unmarried woman                         57 Toppler Drive                Fiesta Oak Valley                        Unknown         Y
                                                                         Castle Rock, CO 80108
        Cassandra J. Robbins, an unmarried woman                         57 Toppler Drive                Gateway Stone                            Unknown         Y
                                                                         Castle Rock, CO 80108
        Cassandra J. Robbins, an unmarried woman                         57 Toppler Drive                Gramercy Court Condos                    Unknown         Y
                                                                         Castle Rock, CO 80108
        Cassandra J. Robbins, an unmarried woman                         57 Toppler Drive                HFA- Clear Lake                          Unknown         Y
                                                                         Castle Rock, CO 80108




SCHEDULES                                                                            Exhibit B-21                                                                PAGE 29
                 Case 06-10725-gwz                              Doc 682-1             Entered 06/15/06 23:55:42                     Page 5 of 50



In re             USA Commercial Mortgage Company                        ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                                Description and Location of Property                                              Property


                                  Legal vesting                                      Mailing Address                    Loan Name           Amount     Contingent
        Catherine B. Stretmater Trustee of the Catherine B. Stretmater   12000 N 90th St #2006         6425 Gess, LTD                      Unknown         Y
        Revocable Trust dated 6/5/89                                     Scottsdale, AZ 85260
        Catherine D. Oppio Trustee of the Catherine D. Oppio Trust       P O Box 15                    Anchor B, LLC                       Unknown         Y
        dated 2/11/04                                                    Crystal Bay, NV 89402
        Catherine D. Oppio Trustee of the Catherine D. Oppio Trust       P O Box 15                    Bay Pompano Beach                   Unknown         Y
        dated 2/11/04                                                    Crystal Bay, NV 89402
        Catherine Garland, an unmarried woman                            318 McSkimming Road           Bay Pompano Beach                   Unknown         Y
                                                                         Aspen, CO 81611
        Catherine Garland, an unmarried woman                            318 McSkimming Road           Marquis Hotel                       Unknown         Y
                                                                         Aspen, CO 81611
        Catherine Perrone, an unmarried woman                            923 Croton Road               Bay Pompano Beach                   Unknown         Y
                                                                         Celebration, FL 34747
        Cecil E. Riordan & Barbara Riordan, husband & wife, as joint     2370 Overlook Court           Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                               Reno, NV 89509
        Celso Acosta, an unmarried man                                   9061 Black Elk Ave            Gramercy Court Condos               Unknown         Y
                                                                         Las Vegas, NV 89143
        Celso Acosta, an unmarried man                                   9061 Black Elk Ave            BarUSA/$15,300,000                  Unknown         Y
                                                                         Las Vegas, NV 89143
        Center State Beverage, Inc., a California Corporation            P O Box 877                   Gramercy Court Condos               Unknown         Y
                                                                         Templeton, CA 93465
        Chai Miller LLC                                                  2868 Redwood Street           Placer Vineyards                    Unknown         Y
                                                                         Las Vegas, NV 89146
        Chai Miller LLC                                                  P O Box 81191                 Placer Vineyards                    Unknown         Y
                                                                         Las Vegas, NV 89180
        Chai Miller LLC                                                  2868 Redwood Street           BarUSA/$15,300,000                  Unknown         Y
                                                                         Las Vegas, NV 89146
        Chai Miller LLC                                                  P O Box 81191                 BarUSA/$15,300,000                  Unknown         Y
                                                                         Las Vegas, NV 89180
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Gramercy Court Condos               Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Gramercy Court Condos               Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Placer Vineyards                    Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Placer Vineyards                    Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Marlton Square                      Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Marlton Square                      Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Margarita Annex                     Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Margarita Annex                     Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Huntsville                          Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        Huntsville                          Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        6425 Gess, LTD                      Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        6425 Gess, LTD                      Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        HFA- Clear Lake                     Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court        HFA- Clear Lake                     Unknown         Y
                                                                         Boulder City, NV 89005




SCHEDULES                                                                             Exhibit B-21                                                        PAGE 30
                Case 06-10725-gwz                            Doc 682-1               Entered 06/15/06 23:55:42                      Page 6 of 50



In re            USA Commercial Mortgage Company                       ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                  (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                              Description and Location of Property                                                    Property


                                Legal vesting                                       Mailing Address                   Loan Name                 Amount     Contingent
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Golden State Investments II              Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Golden State Investments II              Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Eagle Meadows Development                Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Eagle Meadows Development                Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Bay Pompano Beach                        Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Bay Pompano Beach                        Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Amesbury/Hatters Point                   Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Amesbury/Hatters Point                   Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Placer Vineyards 2nd                     Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Placer Vineyards 2nd                     Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       HFA- North Yonkers                       Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       HFA- North Yonkers                       Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Wasco Investments                        Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Wasco Investments                        Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Tapia Ranch                              Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Tapia Ranch                              Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Copper Sage Commerce Center, LLC         Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Copper Sage Commerce Center, LLC         Unknown         Y
                                                                         Boulder City, NV 89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Boulder City, NV 89005       L.L.C.
        Charles B. Anderson Trustee of the Charles B. Anderson Trust     211 Copper Ridge Court       Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Boulder City, NV 89005       L.L.C.
        Charles B. Dunn, IV Trustee of the Charles B. Dunn, IV Trust     17042 Norlene Way            BarUSA/$15,300,000                       Unknown         Y
        dated 8/12/05                                                    Grass Valley, CA 95949
        Charles B. Dunn, IV Trustee of the Charles B. Dunn, IV Trust     17042 Norlene Way            Gramercy Court Condos                    Unknown         Y
        dated 8/12/05                                                    Grass Valley, CA 95949
        Charles B. Dunn, IV Trustee of the Charles B. Dunn, IV Trust     17042 Norlene Way            6425 Gess, LTD                           Unknown         Y
        dated 8/12/05                                                    Grass Valley, CA 95949
        Charles B. Dunn, IV Trustee of the Charles B. Dunn, IV Trust     17042 Norlene Way            Marquis Hotel                            Unknown         Y
        dated 8/12/05                                                    Grass Valley, CA 95949
        Charles B. Plunkett Trustee of The Charles B. Plunkett Revocable 142 Cody Erin Drive          Eagle Meadows Development                Unknown         Y
        Trust DTD 10-25-94                                               Henderson, NV 89074
        Charles Bombard Trustee of the Charles Bombard 1999 Trust        1076 Mullen Ave              6425 Gess, LTD                           Unknown         Y
        dated 12/3/99                                                    Las Vegas, NV 89124
        Charles D. Hopson Trustee of the Charles D. Hopson Living        3009 Cradle Mountain         6425 Gess, LTD                           Unknown         Y
        Trust dated 2/20/96                                              Las Vegas, NV 89134
        Charles D. Hopson Trustee of the Charles D. Hopson Living        3009 Cradle Mountain         HFA- Clear Lake                          Unknown         Y
        Trust dated 2/20/96                                              Las Vegas, NV 89134
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint 6106 Sister Elsie Dr              Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                               Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint 6106 Sister Elsie Dr              Castaic Partners II, LLC                 Unknown         Y
        tenants with right of survivorship                               Tujunga, CA 91042




SCHEDULES                                                                            Exhibit B-21                                                             PAGE 31
                Case 06-10725-gwz                             Doc 682-1                Entered 06/15/06 23:55:42                         Page 7 of 50



In re            USA Commercial Mortgage Company                         ,                                                                         Case No. 06-10725-LBR
                                    Debtor                                                                                                                      (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                    Current Market Value of
                                                                                                                                                      Debtor's Interest in
                                                              Description and Location of Property                                                         Property


                                 Legal vesting                                        Mailing Address                      Loan Name                 Amount     Contingent
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042              L.L.C.
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Tapia Ranch                              Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Placer Vineyards 2nd                     Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           HFA-Clear Lake 2nd                       Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Golden State Investments II              Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           HFA- Clear Lake                          Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Huntsville                               Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint         6106 Sister Elsie Dr           Cabernet                                 Unknown         Y
        tenants with right of survivorship                                  Tujunga, CA 91042
        Charles E. Brokop, an unmarried man                                 13835 N Tatum Blvd Ste 9419    Amesbury/Hatters Point                   Unknown         Y
                                                                            Phoenix, AZ 85032
        Charles E. Huff, an unmarried man & Vana J. Huff, an unmarried 3426 Pino Circle                    Hasley Canyon                            Unknown         Y
        woman, as joint tenants with right of survivorship                  Las Vegas, NV 89121
        Charles E. Johnson & Janet P. Johnson, husband & wife, as joint 17 Front Street                    Fiesta Oak Valley                        Unknown         Y
        tenants with right of survivorship                                  Palm Coast, FL 32137
        Charles E. Johnson & Janet P. Johnson, husband & wife, as joint 17 Front Street                    Fiesta Oak Valley                        Unknown         Y
        tenants with right of survivorship                                  Palm Coast, FL 32137
        Charles E. O'Neill and Lois O'Neill, husband and wife, as joint     2340 Armstrong Ln              Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                                  Reno, NV 89509
        Charles Fox & Enid Fox Trustees of the Charles & Enid Fox           2163 Three Wood Ln             Eagle Meadows Development                Unknown         Y
        Living Trust dated 8/7/96                                           Reno, NV 89523
        Charles H Small Trustee of the Charles Henry Small Revocable 12754 Joleane Ave                     Bay Pompano Beach                        Unknown         Y
        Living Trust                                                        Yuma, AZ 85367
        Charles H Small Trustee of the Charles Henry Small Revocable 12754 Joleane Ave                     HFA- Windham                             Unknown         Y
        Living Trust                                                        Yuma, AZ 85367
        Charles Harper & Evangeline Harper, husband & wife, as joint        360 Bret Harte Ave             Marquis Hotel                            Unknown         Y
        tenants with right of survivorship                                  Reno, NV 89509
        Charles J. Abdo, a married man dealing with his sole & separate 2812 Ashby Ave                     HFA- Riviera 2nd                         Unknown         Y
        property                                                            Las Vegas, NV 89102
        Charles J. Abdo, a married man dealing with his sole & separate 2812 Ashby Ave                     HFA- Riviera 2nd                         Unknown         Y
        property                                                            Las Vegas, NV 89102
        Charles J. Abdo, M.D. Trustee of the Charles J. Abdo, M.D.          2812 Ashby Ave                 Amesbury/Hatters Point                   Unknown         Y
        Chartered PST                                                       Las Vegas, NV 89102
        Charles J. Abdo, M.D. Trustee of the Charles J. Abdo, M.D.          2812 Ashby Ave                 Amesbury/Hatters Point                   Unknown         Y
        Chartered PST                                                       Las Vegas, NV 89102
        Charles J. Abdo, M.D. Trustee of the Charles J. Abdo, M.D.          2812 Ashby Ave                 Gramercy Court Condos                    Unknown         Y
        Chartered PST                                                       Las Vegas, NV 89102
        Charles J. Abdo, M.D. Trustee of the Charles J. Abdo, M.D.          2812 Ashby Ave                 Gramercy Court Condos                    Unknown         Y
        Chartered PST                                                       Las Vegas, NV 89102
        Charles J. Boerio & Patricia N. Boerio, joint tenants with right of 1717 Damon Road                Placer Vineyards 2nd                     Unknown         Y
        survivorship                                                        Carson City, NV 89701
        Charles J. Boerio & Patricia N. Boerio, joint tenants with right of 1717 Damon Road                Riviera - Homes for America Holdings,    Unknown         Y
        survivorship                                                        Carson City, NV 89701          L.L.C.
        Charles J. Spina & Nancy Howell Spina Trustees of the Spina         960 Walker Avenue              Amesbury/Hatters Point                   Unknown         Y
        Family Trust dated 3/8/01                                           Reno, NV 89509
        Charles Jeremy Ainsworth, an unmarried man                          607 B Old Steede Hwy Apt 741   Marquis Hotel                            Unknown         Y
                                                                            Fairbanks, AK 99701
        Charles Jeremy Ainsworth, an unmarried man                          607 B Old Steede Hwy Apt 741   Eagle Meadows Development                Unknown         Y
                                                                            Fairbanks, AK 99701




SCHEDULES                                                                              Exhibit B-21                                                                PAGE 32
                Case 06-10725-gwz                            Doc 682-1                 Entered 06/15/06 23:55:42                     Page 8 of 50



In re            USA Commercial Mortgage Company                        ,                                                                  Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                              Description and Location of Property                                                 Property


                                 Legal vesting                                        Mailing Address                    Loan Name           Amount     Contingent
        Charles Kastler III & Margaret L. Kastler Trustees of the Charles 9170 Heritage Ridge Ct        Eagle Meadows Development           Unknown         Y
        Kastler III & Margaret L. Kastler Family Trust dated 8/17/89      Reno, NV 89523

        Charles Kastler III & Margaret L. Kastler Trustees of the Charles 9170 Heritage Ridge Ct        Eagle Meadows Development           Unknown         Y
        Kastler III & Margaret L. Kastler Family Trust dated 8/17/89      Reno, NV 89523

        Charles Lebron Parker & Mary Jane Parker, husband & wife, as    14470 Emerald Path              Shamrock Tower, LP                  Unknown         Y
        joint tenants with right of survivorship                        Apple Valley, MN 55124
        Charles Lebron Parker & Mary Jane Parker, husband & wife, as    14470 Emerald Path              HFA- Clear Lake                     Unknown         Y
        joint tenants with right of survivorship                        Apple Valley, MN 55124
        Charles Lebron Parker & Mary Jane Parker, husband & wife, as    14470 Emerald Path              Fiesta Oak Valley                   Unknown         Y
        joint tenants with right of survivorship                        Apple Valley, MN 55124
        Charles Lebron Parker & Mary Jane Parker, husband & wife, as    14470 Emerald Path              Wasco Investments                   Unknown         Y
        joint tenants with right of survivorship                        Apple Valley, MN 55124
        Charles Lebron Parker & Mary Jane Parker, husband & wife, as    14470 Emerald Path              Brookmere/Matteson $27,050,000      Unknown         Y
        joint tenants with right of survivorship                        Apple Valley, MN 55124
        Charles O. Sass                                                 250 River Front Dr              Fiesta Oak Valley                   Unknown         Y
                                                                        Reno, NV 89523
        Charles Pollard Jr,. a married man dealing with his sole &      31302 Mulholland Hwy            Harbor Georgetown                   Unknown         Y
        separate property                                               Malibu, CA 90265
        Charles Pollard Jr,. a married man dealing with his sole &      31302 Mulholland Hwy            HFA- Clear Lake                     Unknown         Y
        separate property                                               Malibu, CA 90265
        Charles R. Brooks and Wendy S. Brooks, husband and wife, as     1115 Kentfield Dr.              Harbor Georgetown                   Unknown         Y
        joint tenants with right of survivorship                        Salinas, CA 93901
        Charles R. Brooks and Wendy S. Brooks, husband and wife, as     1115 Kentfield Dr.              Clear Creek Plantation              Unknown         Y
        joint tenants with right of survivorship                        Salinas, CA 93901
        Charles R. Brooks and Wendy S. Brooks, husband and wife, as     1115 Kentfield Dr.              Gateway Stone                       Unknown         Y
        joint tenants with right of survivorship                        Salinas, CA 93901
        Charles S. Boggs, Trustee of the Charles S. Boggs Living Trust, 406 Pearl Street                Eagle Meadows Development           Unknown         Y
        dated 8/27/98                                                   Boulder, CO 80302
        Charles S. Cropley, an unmarried man & Christine Wrzenski, an 21286 Bertram Rd                  Amesbury/Hatters Point              Unknown         Y
        unmarried woman, as joint tenants with right of survivorship    San Jose, CA 95120
        Charles S. Cropley, an unmarried man & Christine Wrzenski, an 21286 Bertram Rd                  Marquis Hotel                       Unknown         Y
        unmarried woman, as joint tenants with right of survivorship    San Jose, CA 95120
        Charles T. Hamm & Sandra L. Hamm, husband & wife, as joint P O Box 14098                        Margarita Annex                     Unknown         Y
        tenants with right of survivorship                              South Lake Tahoe, CA 96151
        Charles T. Hamm & Sandra L. Hamm, husband & wife, as joint P O Box 14098                        Margarita Annex                     Unknown         Y
        tenants with right of survivorship                              South Lake Tahoe, CA 96151
        Charles T. Hamm & Sandra L. Hamm, husband & wife, as joint P O Box 14098                        Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                              South Lake Tahoe, CA 96151
        Charles T. Hamm & Sandra L. Hamm, husband & wife, as joint P O Box 14098                        Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                              South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Tapia Ranch                         Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Tapia Ranch                         Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Marlton Square                      Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Marlton Square                      Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Gateway Stone                       Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Gateway Stone                       Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Bay Pompano Beach                   Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          Bay Pompano Beach                   Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm P O Box 14098                          6425 Gess, LTD                      Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151




SCHEDULES                                                                              Exhibit B-21                                                        PAGE 33
                Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                     Page 9 of 50



In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                  (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm        P O Box 14098                6425 Gess, LTD                           Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm        P O Box 14098                Gilroy                                   Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm        P O Box 14098                Gilroy                                   Unknown         Y
        Trust dated 3/17/05                                             South Lake Tahoe, CA 96151
        Charles T. Mazza, an unmarried man                              634 Marracco Drive           Ashby Financial $7,200,000               Unknown         Y
                                                                        Sparks, NV 89434
        Charles W. Bowman, a single man                                 10881 Valley Drive           Amesbury/Hatters Point                   Unknown         Y
                                                                        Plymouth, CA 95669
        Charles W. Remsen & Kristen J. Remsen Trustees of the Charles 9750 Brooks Rd                 Hasley Canyon                            Unknown         Y
        W. & Kristen J. Remsen Revocable Trust dated 4/17/00            Windsor, CA 95492
        Charles W. Remsen & Kristen J. Remsen Trustees of the Charles 9750 Brooks Rd                 Placer Vineyards 2nd                     Unknown         Y
        W. & Kristen J. Remsen Revocable Trust dated 4/17/00            Windsor, CA 95492
        Charles Wilson Nibley IV and Nancy Ann Nibley, husband and 2106 Latham St                    Marlton Square                           Unknown         Y
        wife, as joint tenants with the rights of survivorship          Simi Valley, CA 93065
        Chesley R. Davies & Mary E. Davies, husband & wife, as joint    1086 Stone Arches Dr         Harbor Georgetown                        Unknown         Y
        tenants with right of survivorship                              Henderson, NV 89052
        Chesley R. Davies & Mary E. Davies, husband & wife, as joint    1086 Stone Arches Drive      Harbor Georgetown                        Unknown         Y
        tenants with right of survivorship                              Henderson, NV 89052
        Chesley R. Davies & Mary E. Davies, husband & wife, as joint    1086 Stone Arches Dr         HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Henderson, NV 89052
        Chesley R. Davies & Mary E. Davies, husband & wife, as joint    1086 Stone Arches Drive      HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Henderson, NV 89052
        Chesley R. Davies Trustee of the Chesley R. Davies, MD Chtd. 1086 Stone Arches Dr            HFA- North Yonkers                       Unknown         Y
        PSP                                                             Henderson, NV 89052
        Chesley R. Davies Trustee of the Chesley R. Davies, MD Chtd. 1086 Stone Arches Drive         HFA- North Yonkers                       Unknown         Y
        PSP                                                             Henderson, NV 89052
        Chesley R. Davies Trustee of the Chesley R. Davies, MD Chtd. 1086 Stone Arches Dr            Freeway 101                              Unknown         Y
        PSP                                                             Henderson, NV 89052
        Chesley R. Davies Trustee of the Chesley R. Davies, MD Chtd. 1086 Stone Arches Drive         Freeway 101                              Unknown         Y
        PSP                                                             Henderson, NV 89052
        Chester R. McDowell, a single man.                              2715 E Av Q-6                Marquis Hotel                            Unknown         Y
                                                                        Palmdale, CA 93550
        Chester R. McDowell, a single man.                              2715 E Av Q-6                Placer Vineyards                         Unknown         Y
                                                                        Palmdale, CA 93550
        Cheval Enterprises, LLC                                         2775 Ravazza Rd              HFA- Riviera 2nd                         Unknown         Y
                                                                        Reno, NV 89521
        Chris Dagiantis Trustee of the Chris Dagiantis Revocable Inter  Levidi Arcadias              Gramercy Court Condos                    Unknown         Y
        Vivos Trust                                                     TK, 22002
        Chris Dagiantis Trustee of the Chris Dagiantis Revocable Inter  Levidi Arcadias              Fiesta Oak Valley                        Unknown         Y
        Vivos Trust                                                     TK, 22002
        Chris F. Lapacik and Rosemary D. Lapacik, husband and wife, as 562 Los Altos Drive           Lerin Hills                              Unknown         Y
        joint tenants with the rights of survivorship                   Chula Vista, CA 91914
        Chris F. Lapacik and Rosemary D. Lapacik, husband and wife, as 562 Los Altos Drive           Lerin Hills                              Unknown         Y
        joint tenants with the rights of survivorship                   Chula Vista, CA 91914
        Chris Hendrickson, an unmarried man                             P O Box 6802                 Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Incline Village, NV 89450    L.L.C.
        Chris J. Hammond & Tara M. Hammond, husband & wife, as          619 S E Division Place       Brookmere/Matteson $27,050,000           Unknown         Y
        joint tenants with rights of survivorship                       Portland, OR 97202
        Christian Geisser & Hildegard Geisser, husband & wife, as joint 6307 Rhea Ave                HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Tarzana, CA 91335
        Christian Hansen, a single man                                  1466 Westwind Road           Gramercy Court Condos                    Unknown         Y
                                                                        Las Vegas, NV 89146
        Christian Hansen, a single man                                  1466 Westwind Road           Gramercy Court Condos                    Unknown         Y
                                                                        Las Vegas, NV 89146
        Christian Hansen, a single man                                  1466 Westwind Road           HFA- Clear Lake                          Unknown         Y
                                                                        Las Vegas, NV 89146
        Christian Hansen, a single man                                  1466 Westwind Road           HFA- Clear Lake                          Unknown         Y
                                                                        Las Vegas, NV 89146




SCHEDULES                                                                           Exhibit B-21                                                             PAGE 34
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                  Page 10 of 50



In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                 Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Christian Hansen, a single man                                 1466 Westwind Road            Marlton Square                     Unknown            Y
                                                                       Las Vegas, NV 89146
        Christian Hansen, a single man                                 1466 Westwind Road            Marlton Square                     Unknown            Y
                                                                       Las Vegas, NV 89146
        Christian Hansen, a single man                                 1466 Westwind Road            Tapia Ranch                        Unknown            Y
                                                                       Las Vegas, NV 89146
        Christian Hansen, a single man                                 1466 Westwind Road            Tapia Ranch                        Unknown            Y
                                                                       Las Vegas, NV 89146
        Christian Hansen, a single man                                 1466 Westwind Road            Bay Pompano Beach                  Unknown            Y
                                                                       Las Vegas, NV 89146
        Christian Hansen, a single man                                 1466 Westwind Road            Bay Pompano Beach                  Unknown            Y
                                                                       Las Vegas, NV 89146
        Christiane Mencini-Baker Trustee of the Christiane Mencini-    P O Box 492546                Marlton Square 2nd                 Unknown            Y
        Baker Revocable Trust                                          Los Angeles, CA 90049
        Christiane Mencini-Baker Trustee of the Christiane Mencini-    P O Box 492546                Placer Vineyards 2nd               Unknown            Y
        Baker Revocable Trust                                          Los Angeles, CA 90049
        Christiane Mencini-Baker Trustee of the Christiane Mencini-    P O Box 492546                Hasley Canyon                      Unknown            Y
        Baker Revocable Trust                                          Los Angeles, CA 90049
        Christiane Mencini-Baker Trustee of the Christiane Mencini-    P O Box 492546                Gramercy Court Condos              Unknown            Y
        Baker Revocable Trust                                          Los Angeles, CA 90049
        Christiane Skarich, a widow                                    2448 Arizona Ave #3           Marlton Square 2nd                 Unknown            Y
                                                                       Santa Monica, CA 90404
        Christina Kokkinos, as her sole & separate property            2059 32nd Street              Amesbury/Hatters Point             Unknown            Y
                                                                       Astoria, NY 11105
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                Bay Pompano Beach                  Unknown            Y
                                                                       East Dubuque, IL 61025
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                Tapia Ranch                        Unknown            Y
                                                                       East Dubuque, IL 61025
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                Placer Vineyards                   Unknown            Y
                                                                       East Dubuque, IL 61025
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                BarUSA/$15,300,000                 Unknown            Y
                                                                       East Dubuque, IL 61025
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                Fiesta USA/Stoneridge              Unknown            Y
                                                                       East Dubuque, IL 61025
        Christina M. Kehl, an unmarried woman                          5130 Dunn Road                Freeway 101                        Unknown            Y
                                                                       East Dubuque, IL 61025
        Christine E Miller Trustee of the Christine E Miller Revocable Crown Court 2                 Placer Vineyards 2nd               Unknown            Y
        Trust dated 03/05/04                                           Orinda, CA 94563
        Christine M. Quinn Trustee of the Quinn Living Trust dated     13435 Mahogany Drive          Huntsville                         Unknown            Y
        8/26/04                                                        Reno, NV 89511
        Christine M. Quinn Trustee of the Quinn Living Trust dated     13435 Mahogany Drive          6425 Gess, LTD                     Unknown            Y
        8/26/04                                                        Reno, NV 89511
        Christopher Dickinson & Patricia Dickinson, husband & wife, as 2845 Klinger Circle # 1       Bay Pompano Beach                  Unknown            Y
        joint tenants with right of survivorship                       Las Vegas, NV 89121
        Christopher Hine & Nancy D. Hine Trustees of the Hine Family 13814 Cedar Creek Ave           BarUSA/$15,300,000                 Unknown            Y
        Trust                                                          Bakersfield, CA 93314
        Christopher Hine & Nancy D. Hine Trustees of the Hine Family 13814 Cedar Creek Ave           Gramercy Court Condos              Unknown            Y
        Trust                                                          Bakersfield, CA 93314
        Christopher Hine & Nancy D. Hine Trustees of the Hine Family 13814 Cedar Creek Ave           Harbor Georgetown                  Unknown            Y
        Trust                                                          Bakersfield, CA 93314
        Christopher Hine & Nancy D. Hine Trustees of the Hine Family 13814 Cedar Creek Ave           Huntsville                         Unknown            Y
        Trust                                                          Bakersfield, CA 93314
        Christopher J. Fernandes, a single man, and Dionisio A.        4001 Oak Manor Ct             Gateway Stone                      Unknown            Y
        Fernandes, MD, a married man, as joint tenants with right of   Hayward, CA 94542
        survivorship
        Christopher M. Begnoche, an unmarried man & Francis R.         685 Moonlight Mesa Dr         Amesbury/Hatters Point             Unknown            Y
        Begnoche, as unmarried man, as joint tenants with right of     Henderson, NV 89015
        survivorship
        Church of The Movement of Spiritual Inner Awareness            3500 W Adams Blvd             Bay Pompano Beach                  Unknown            Y
                                                                       Los Angeles, CA 90018




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 35
               Case 06-10725-gwz                            Doc 682-1                 Entered 06/15/06 23:55:42                    Page 11 of 50



In re            USA Commercial Mortgage Company                        ,                                                                  Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                              Description and Location of Property                                                 Property


                                 Legal vesting                                        Mailing Address                      Loan Name         Amount     Contingent
        Church of The Movement of Spiritual Inner Awareness              3500 W Adams Blvd                HFA- North Yonkers                Unknown         Y
                                                                         Los Angeles, CA 90018
        Citizen Printing Company Inc Citizen Investment Account          1309 Webster Ave                 Marlton Square                    Unknown         Y
                                                                         Fort Collins, CO 80524
        Citrus Grove Apartments, LLC a California Company                13658 La Jolla Circle Unit 8 B   HFA-Clear Lake 2nd                Unknown         Y
                                                                         La Mirada, CA 90638
        Citrus Grove Apartments, LLC a California Company                13658 La Jolla Circle Unit 8-B   HFA-Clear Lake 2nd                Unknown         Y
                                                                         La Mirada, CA 90638
        Clair W. Potter Trustee of the Clair W. Potter Trust             2643 Richmar Drive               Amesbury/Hatters Point            Unknown         Y
                                                                         Beavercreek, OH 45434
        Clair W. Potter Trustee of the Clair W. Potter Trust             2643 Richmar Drive               Ashby Financial $7,200,000        Unknown         Y
                                                                         Beavercreek, OH 45434
        Clair W. Potter Trustee of the Clair W. Potter Trust             2643 Richmar Drive               BarUSA/$15,300,000                Unknown         Y
                                                                         Beavercreek, OH 45434
        Clair W. Potter Trustee of the Clair W. Potter Trust             2643 Richmar Drive               Gramercy Court Condos             Unknown         Y
                                                                         Beavercreek, OH 45434
        Clair W. Potter Trustee of the Clair W. Potter Trust             2643 Richmar Drive               Brookmere/Matteson $27,050,000    Unknown         Y
                                                                         Beavercreek, OH 45434
        Clara M. Cadieux & Richard L. Cadieux, wife & husband, as        1730 Terrace Heights Ln          Bay Pompano Beach                 Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89523
        Clara M. Cadieux & Richard L. Cadieux, wife & husband, as        1730 Terrace Heights Ln          Bay Pompano Beach                 Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89523
        Clara M. Cadieux, a married woman dealing with her sole &        1730 Terrace Heights Ln          6425 Gess, LTD                    Unknown         Y
        separate property                                                Reno, NV 89523
        Clara M. Cadieux, a married woman dealing with her sole &        1730 Terrace Heights Ln          6425 Gess, LTD                    Unknown         Y
        separate property                                                Reno, NV 89523
        Clark R. Bartkowski and Jean P. Bartkowski Trustees of the       P O Box 1180                     6425 Gess, LTD                    Unknown         Y
        Bartkowski Family Trust Dated 8/25/1994                          Darby, MT 59829
        Clas G. Karlberg & Ulla G. Karlberg, husband & wife, as joint    P O Box 7388                     Bay Pompano Beach                 Unknown         Y
        tenants with the right of survivorship                           Incline Village, NV 89451
        Clas G. Karlberg & Ulla G. Karlberg, husband & wife, as joint    P O Box 7388                     Marlton Square 2nd                Unknown         Y
        tenants with the right of survivorship                           Incline Village, NV 89451
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gilroy                            Unknown         Y
        Manager                                                          North Las Vegas, NV 89030
        Classic Land, LLC, a Nevada Company, Stephen Hawley              5405 Ireland St                  Gilroy                            Unknown         Y
        Manager                                                          Las Vegas, NV 89149
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gilroy                            Unknown         Y
        Manager                                                          N. Las Vegas, NV 89030
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gilroy                            Unknown         Y
        Manager                                                          N Las Vegas, NV 89030
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gramercy Court Condos             Unknown         Y
        Manager                                                          North Las Vegas, NV 89030
        Classic Land, LLC, a Nevada Company, Stephen Hawley              5405 Ireland St                  Gramercy Court Condos             Unknown         Y
        Manager                                                          Las Vegas, NV 89149
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gramercy Court Condos             Unknown         Y
        Manager                                                          N. Las Vegas, NV 89030
        Classic Land, LLC, a Nevada Company, Stephen Hawley              4075 Losee Road                  Gramercy Court Condos             Unknown         Y
        Manager                                                          N Las Vegas, NV 89030
        Classic Plumbing, a Nevada company                               4075 Losee Road                  Brookmere/Matteson $27,050,000    Unknown         Y
                                                                         North Las Vegas, NV 89030
        Classic Plumbing, a Nevada company                               5405 Ireland St                  Brookmere/Matteson $27,050,000    Unknown         Y
                                                                         Las Vegas, NV 89149
        Classic Plumbing, a Nevada company                               4075 Losee Road                  Brookmere/Matteson $27,050,000    Unknown         Y
                                                                         N. Las Vegas, NV 89030
        Classic Plumbing, a Nevada company                               4075 Losee Road                  Brookmere/Matteson $27,050,000    Unknown         Y
                                                                         N Las Vegas, NV 89030
        Clawiter Associates, LLC, a California limited liability company 2013 Camino Ramon PL             Placer Vineyards                  Unknown         Y
                                                                         Danville, CA 94526
        Clawiter Associates, LLC, a California limited liability company 2013 Camino Ramon PL             BarUSA/$15,300,000                Unknown         Y
                                                                         Danville, CA 94526




SCHEDULES                                                                              Exhibit B-21                                                        PAGE 36
               Case 06-10725-gwz                             Doc 682-1                 Entered 06/15/06 23:55:42                    Page 12 of 50



In re             USA Commercial Mortgage Company                        ,                                                                       Case No. 06-10725-LBR
                                    Debtor                                                                                                                    (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                               Description and Location of Property                                                      Property


                                 Legal vesting                                         Mailing Address                  Loan Name                  Amount     Contingent
        Clawiter Associates, LLC, a California limited liability company 2013 Camino Ramon PL            Castaic Partners II, LLC                 Unknown         Y
                                                                           Danville, CA 94526
        Clawiter Associates, LLC, a California limited liability company 2013 Camino Ramon PL            Fiesta Oak Valley                        Unknown         Y
                                                                           Danville, CA 94526
        Clawiter Associates, LLC, a California limited liability company 2013 Camino Ramon PL            Gramercy Court Condos                    Unknown         Y
                                                                           Danville, CA 94526
        Clifford D. Hagberg as Personal Representative of the Estate of 9601 Lazy River Drive            Brookmere/Matteson $27,050,000           Unknown         Y
        Florence L. Hagberg                                                Las Vegas, NV 89117
        Clifford D. Hagberg as Personal Representative of the Estate of 9601 Lazy River Drive            Brookmere/Matteson $27,050,000           Unknown         Y
        Florence L. Hagberg                                                Las Vegas, NV 89117
        Clifton H. Spindle & Verna R. Spindle, husband & wife, as joint 1332 Lone Oak Road               HFA- Clear Lake                          Unknown         Y
        tenants with right of survivorship                                 Valley View, TX 76276
        Clifton H. Spindle & Verna R. Spindle, husband & wife, as joint 1332 Lone Oak Road               Huntsville                               Unknown         Y
        tenants with right of survivorship                                 Valley View, TX 76276
        Clifton H. Spindle & Verna R. Spindle, husband & wife, as joint 1332 Lone Oak Road               Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                                 Valley View, TX 76276
        Colita Kwiatkowski & Paul Kwiatkowski, husband & wife              15380 Hamilton Street         Amesbury/Hatters Point                   Unknown         Y
                                                                           Omaha, NE 68154
        Colleen Poindexter, an unmarried woman                             60 Joann Ct.                  Fiesta Oak Valley                        Unknown         Y
                                                                           Walnut Creek, CA 94597
        Connie J. Hewitt Trustee of the Hewitt Family Trust dated 5/1/96 4017 Vista Drive                Eagle Meadows Development                Unknown         Y
                                                                           Erie, PA 16506
        Connie Mihos & Ivan Loebs, wife & husband, as joint tenants        236 Garrett Ave               Fiesta Oak Valley                        Unknown         Y
        with right of survivorship                                         Chula Vista, CA 91910
        Connie Mihos & Ivan Loebs, wife & husband, as joint tenants        236 Garrett Ave               HFA- North Yonkers                       Unknown         Y
        with right of survivorship                                         Chula Vista, CA 91910
        Connie Westbrook, an unmarried woman                               14320 Ghost Rider Dr          HFA- Clear Lake                          Unknown         Y
                                                                           Reno, NV 89511
        Connie Westbrook, an unmarried woman                               14320 Ghost Rider Dr          Wasco Investments                        Unknown         Y
                                                                           Reno, NV 89511
        Connie Westbrook, an unmarried woman                               14320 Ghost Rider Dr          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                           Reno, NV 89511
        Connie Westbrook, an unmarried woman                               14320 Ghost Rider Dr          Cabernet                                 Unknown         Y
                                                                           Reno, NV 89511
        Constantine Patarias, Trustee of the Constantine PatariasTrust dtd 4545 Dundee Drive             Amesbury/Hatters Point                   Unknown         Y
        9/04/2004                                                          Los Angeles, CA 90027
        Constantyn Chalitsios, an unmarried man                            2450 Louisiana #400-110       Gramercy Court Condos                    Unknown         Y
                                                                           Houston, TX 77006
        Corey J. Reed, Trustee of The Bushman-Elias Family Trust Dated 25 Francesca Ave                  BarUSA/$15,300,000                       Unknown         Y
        9/5/96                                                             Somerville, MA 2144
        Cornelius Buys & Helen Buys, husband & wife, as joint tenants 22 N Lake Circle                   6425 Gess, LTD                           Unknown         Y
        with right of survivorship                                         Antioch, CA 94509
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Riviera - Homes for America Holdings,    Unknown         Y
        company                                                            Las Vegas, NV 89139           L.L.C.
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Riviera - Homes for America Holdings,    Unknown         Y
        company                                                            Las Vegas, NV 89139           L.L.C.
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Opaque/Mt. Edge $7,350,000               Unknown         Y
        company                                                            Las Vegas, NV 89139
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Opaque/Mt. Edge $7,350,000               Unknown         Y
        company                                                            Las Vegas, NV 89139
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Eagle Meadows Development                Unknown         Y
        company                                                            Las Vegas, NV 89139
        Cornerstone Capital Investments, LLC, a Nevada limited liability 6050 Glowing Cottage Ct         Eagle Meadows Development                Unknown         Y
        company                                                            Las Vegas, NV 89139
        Craig Wisch, a single man                                          210 Andrew Avenue             Placer Vineyards 2nd                     Unknown         Y
                                                                           Naugatuck, CT 6770
        Craig Wisch, a single man                                          210 Andrew Avenue             Cabernet                                 Unknown         Y
                                                                           Naugatuck, CT 6770
        Crosbie B. Ronning, a single woman                                 P O Box 7804                  Margarita Annex                          Unknown         Y
                                                                           Incline Village, NV 89452




SCHEDULES                                                                               Exhibit B-21                                                             PAGE 37
               Case 06-10725-gwz                             Doc 682-1                 Entered 06/15/06 23:55:42                       Page 13 of 50



In re             USA Commercial Mortgage Company                          ,                                                                   Case No. 06-10725-LBR
                                    Debtor                                                                                                                  (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                                Description and Location of Property                                                   Property


                                 Legal vesting                                         Mailing Address                      Loan Name            Amount     Contingent
        Crosbie B. Ronning, a single woman                                 P O Box 7804                     Placer Vineyards                    Unknown         Y
                                                                           Incline Village, NV 89452
        Curtis Hattstrom & Virginia Hattstrom, husband & wife              14222 W Via Montoya              6425 Gess, LTD                      Unknown         Y
                                                                           Sun City West, AZ 85375
        Curtis Hattstrom & Virginia Hattstrom, husband & wife              14222 W Via Montoya              6425 Gess, LTD                      Unknown         Y
                                                                           Sun City West, AZ 85375
        Curtis R. Colagross and Terri L. Colagross, husband and wife, as   16227 Pasquale Rd                6425 Gess, LTD                      Unknown         Y
        joint tenants with the right of survivorship                       Nevada City, CA 95959
        Cynthia A. Winter, a married woman dealing with her sole &         618 34th Ave North               Ten-Ninety, Ltd./$4,150,000         Unknown         Y
        separate property                                                  Clinton, IA 52732
        Cynthia A. Winter, a married woman dealing with her sole &         618 34th Ave North               BarUSA/$15,300,000                  Unknown         Y
        separate property                                                  Clinton, IA 52732
        Cynthia A. Winter, a married woman dealing with her sole &         618 34th Ave North               Freeway 101                         Unknown         Y
        separate property                                                  Clinton, IA 52732
        Cynthia A. Winter, a married woman dealing with her sole &         618 34th Ave North               Placer Vineyards                    Unknown         Y
        separate property                                                  Clinton, IA 52732
        Cynthia Ann Pardee Trustee of the Cynthia Ann Pardee Trust         3395 Dove Canyon Dr              6425 Gess, LTD                      Unknown         Y
        dated 6/20/03                                                      Oxnard, CA 93036
        Cynthia Ann Pardee Trustee of the Cynthia Ann Pardee Trust         3395 Dove Canyon Dr              HFA- Clear Lake                     Unknown         Y
        dated 6/20/03                                                      Oxnard, CA 93036
        Cynthia Ann Pardee Trustee of the Cynthia Ann Pardee Trust         3395 Dove Canyon Dr              Harbor Georgetown                   Unknown         Y
        dated 6/20/03                                                      Oxnard, CA 93036
        Cynthia D. Burdige Trustee of the Cynthia D. Burdige Trust U/A     100 NW 82 Ave Ste #305           6425 Gess, LTD                      Unknown         Y
        dated 4/13-                                                        Plantation, FL 33324
        Cynthia D. Burdige Trustee of the Cynthia D. Burdige Trust U/A     100 NW 82 Ave Ste #305           Midvale Marketplace, LLC            Unknown         Y
        dated 4/13/00                                                      Plantation, FL 33324
        Cynthia D. Burdige Trustee of the Cynthia D. Burdige Trust U/A     100 NW 82 Ave Ste #305           HFA- North Yonkers                  Unknown         Y
        dated 4/13/00                                                      Plantation, FL 33324
        Cynthia D. Burdige Trustee of the Cynthia D. Burdige Trust U/A     100 NW 82 Ave Ste #305           Fiesta USA/Stoneridge               Unknown         Y
        dated 4/13/00                                                      Plantation, FL 33324
        Cynthia D. Burdige Trustee of the Cynthia D. Burdige Trust U/A     100 NW 82 Ave Ste #305           Brookmere/Matteson $27,050,000      Unknown         Y
        dated 4/13/00                                                      Plantation, FL 33324
        Cynthia Deann Dutt & Wayne A. Dutt Trustees of the C. DeAnn        2929 Harbor Cove Dr              Tapia Ranch                         Unknown         Y
        Dutt Trust                                                         Las Vegas, NV 89128
        Cynthia DeVito, a married woman                                    1040 N Lake Shore Dr Unit #17B   Gateway Stone                       Unknown         Y
                                                                           Chicago, IL 60611
        Cynthia G. Davis Trustee of the Cynthia G. Davis Living Trust      2465 Telluride Dr                Fiesta Oak Valley                   Unknown         Y
                                                                           Reno, NV 89511
        Cynthia G. Davis Trustee of the Cynthia G. Davis Living Trust      2465 Telluride Dr                HFA- North Yonkers                  Unknown         Y
                                                                           Reno, NV 89511
        Cynthia J. Avanzino, a married woman dealing with her sole &       14519 SE 13th Place              HFA- Riviera 2nd                    Unknown         Y
        separate property                                                  Bellevue, WA 98007
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  Hasley Canyon                       Unknown         Y
                                                                           Las Vegas, NV 89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  HFA- Riviera 2nd                    Unknown         Y
                                                                           Las Vegas, NV 89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  Placer Vineyards                    Unknown         Y
                                                                           Las Vegas, NV 89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  Gramercy Court Condos               Unknown         Y
                                                                           Las Vegas, NV 89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  Brookmere/Matteson $27,050,000      Unknown         Y
                                                                           Las Vegas, NV 89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust         4484 S Pecos Rd                  Copper Sage Commerce Center, LLC    Unknown         Y
                                                                           Las Vegas, NV 89121
        D & K Partners Inc., a Nevada corporation                          7293 W Mariposa Grande Ln        Marlton Square 2nd                  Unknown         Y
                                                                           Peoria, AZ 85383
        D & K Partners Inc., a Nevada corporation                          7293 W Mariposa Grande Ln        Lerin Hills                         Unknown         Y
                                                                           Peoria, AZ 85383
        D & K Partners Inc., a Nevada corporation                          7293 W Mariposa Grande Ln        Huntsville                          Unknown         Y
                                                                           Peoria, AZ 85383




SCHEDULES                                                                               Exhibit B-21                                                           PAGE 38
               Case 06-10725-gwz                           Doc 682-1               Entered 06/15/06 23:55:42                  Page 14 of 50



In re            USA Commercial Mortgage Company                        ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                 Legal vesting                                     Mailing Address                    Loan Name          Amount    Contingent
        D & K Partners Inc., a Nevada corporation                       7293 W Mariposa Grande Ln    HFA- Riviera 2nd                  Unknown            Y
                                                                        Peoria, AZ 85383
        D & K Partners Inc., a Nevada corporation                       7293 W Mariposa Grande Ln    Cabernet                          Unknown            Y
                                                                        Peoria, AZ 85383
        D & K Partners Inc., a Nevada corporation                       7293 W Mariposa Grande Ln    Goss Road                         Unknown            Y
                                                                        Peoria, AZ 85383
        D. G. Menchetti Trustee of the D. G. Menchetti LTD Pension      P O Box 7100                 HFA- North Yonkers                Unknown            Y
        Plan                                                            Incline Village, NV 89452
        D. G. Menchetti Trustee of the D. G. Menchetti LTD Pension      P O Box 7100                 HFA- North Yonkers                Unknown            Y
        Plan                                                            Incline Village, NV 89452
        D. G. Menchetti Trustee of the D. G. Menchetti LTD Pension      P O Box 7100                 Eagle Meadows Development         Unknown            Y
        Plan                                                            Incline Village, NV 89452
        D. G. Menchetti Trustee of the D. G. Menchetti LTD Pension      P O Box 7100                 Eagle Meadows Development         Unknown            Y
        Plan                                                            Incline Village, NV 89452
        D. G. Menchetti, an unmarried man                               P O Box 7100                 Marlton Square                    Unknown            Y
                                                                        Incline Village, NV 89452
        D. G. Menchetti, an unmarried man                               P O Box 7100                 Marlton Square                    Unknown            Y
                                                                        Incline Village, NV 89452
        D. G. Menchetti, an unmarried man                               P O Box 7100                 Bay Pompano Beach                 Unknown            Y
                                                                        Incline Village, NV 89452
        D. G. Menchetti, an unmarried man                               P O Box 7100                 Bay Pompano Beach                 Unknown            Y
                                                                        Incline Village, NV 89452
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Gramercy Court Condos             Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Placer Vineyards 2nd              Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Placer Vineyards                  Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Marlton Square 2nd                Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Bay Pompano Beach                 Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Marquis Hotel                     Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph   3301 Skyline Blvd            Goss Road                         Unknown            Y
        & Louise M. Doucet 1989 Trust dated 3/30/89                     Reno, NV 89509
        D. Nathan Meehan, a married man dealing with his sole &         450 Gears Rd Ste 860         6425 Gess, LTD                    Unknown            Y
        separate property                                               Houston, TX 77067
        D. Nathan Meehan, a married man dealing with his sole &         450 Gears Rd Ste 860         Marlton Square                    Unknown            Y
        separate property                                               Houston, TX 77067
        D. Nathan Meehan, a married man dealing with his sole &         450 Gears Rd Ste 860         Huntsville                        Unknown            Y
        separate property                                               Houston, TX 77067
        Dacian Connell, a single man                                    13967 W 22nd Ave             Clear Creek Plantation            Unknown            Y
                                                                        Golden, CO 80401
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         Bay Pompano Beach                 Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         Marlton Square                    Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         HFA- North Yonkers                Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         HFA- Clear Lake                   Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         HFA- Windham                      Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         Gateway Stone                     Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         Fiesta Oak Valley                 Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated     2605 Youngdale Drive         6425 Gess, LTD                    Unknown            Y
        8/19/94                                                         Las Vegas, NV 89134




SCHEDULES                                                                           Exhibit B-21                                                      PAGE 39
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                   Page 15 of 50



In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount     Contingent
        Dale J. McMullan Trustee of the McMullan Living Trust dated      2605 Youngdale Drive         Fiesta USA/Stoneridge             Unknown           Y
        8/19/94                                                          Las Vegas, NV 89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated      2605 Youngdale Drive         Brookmere/Matteson $27,050,000    Unknown           Y
        8/19/94                                                          Las Vegas, NV 89134
        Dale L. Tuttle, an unmarried man                                 6252 Chinook Way             Gramercy Court Condos             Unknown           Y
                                                                         Las Vegas, NV 89108
        Dan Nelson & Teri Nelson, husband & wife, as joint tenants with 172 W 1720 N                  Amesbury/Hatters Point            Unknown           Y
        right of survivorship                                            Orem, UT 84057
        Dana McDaniel Kanne Trustee of the Dana McDaniel Kanne           1704 Wincanton Drive         Ashby Financial $7,200,000        Unknown           Y
        Separate Property Trust dated 4/27/99                            Las Vegas, NV 89134
        Dana McDaniel Kanne Trustee of the Dana McDaniel Kanne           1704 Wincanton Drive         Gramercy Court Condos             Unknown           Y
        Separate Property Trust dated 4/27/99                            Las Vegas, NV 89134
        Dana N. Barker & Sonja J. Barker, husband & wife, as joint       4 Hunter Drive               Wasco Investments                 Unknown           Y
        tenants with right of survivorship                               Bow, NH 3304
        Daniel B. Lisek, Claire Lisek & Gayle Harkins Trustees of the    729 Garys Way                HFA- North Yonkers                Unknown           Y
        Lisek Family Trust dated 1/29/92                                 Carson City, NV 89701
        Daniel B. Lisek, Claire Lisek & Gayle Harkins Trustees of the    729 Garys Way                Lerin Hills                       Unknown           Y
        Lisek Family Trust dated 1/29/92                                 Carson City, NV 89701
        Daniel B. Lisek, Claire Lisek & Gayle Harkins Trustees of the    729 Garys Way                Placer Vineyards 2nd              Unknown           Y
        Lisek Family Trust dated 1/29/92                                 Carson City, NV 89701
        Daniel B. Lisek, Claire Lisek & Gayle Harkins Trustees of the    729 Garys Way                Brookmere/Matteson $27,050,000    Unknown           Y
        Lisek Family Trust dated 1/29/92                                 Carson City, NV 89701
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      Marlton Square 2nd                Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      Marlton Square 2nd                Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      HFA- Clear Lake                   Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      HFA- Clear Lake                   Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      Bay Pompano Beach                 Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman P O Box 4134                      Bay Pompano Beach                 Unknown           Y
        Living Trust dated 11/4/04                                       Incline Village, NV 89450
        Daniel C. Barcia, a married man dealing with his sole & separate 1600 Picket Court            BarUSA/$15,300,000                Unknown           Y
        property                                                         Reno, NV 89521
        Daniel C. Barcia, a married man dealing with his sole & separate 1600 Picket Court            Bay Pompano Beach                 Unknown           Y
        property                                                         Reno, NV 89521
        Daniel C. Barcia, a married man dealing with his sole & separate 1600 Picket Court            Fiesta Oak Valley                 Unknown           Y
        property                                                         Reno, NV 89521
        Daniel C. Barcia, a married man dealing with his sole & separate 1600 Picket Court            HFA- Clear Lake                   Unknown           Y
        property                                                         Reno, NV 89521
        Daniel C. Barcia, a married man dealing with his sole & separate 1600 Picket Court            Marquis Hotel                     Unknown           Y
        property                                                         Reno, NV 89521
        Daniel Carlton & Takeko Carlton Trustees for the Daniel O.       4697 Hooktree Road           Tapia Ranch                       Unknown           Y
        Carlton & Takeko Carlton Revocable Trust dated 4/30/97           Twentynine Palms, CA 92277
        Daniel Carlton & Takeko Carlton Trustees for the Daniel O.       4697 Hooktree Road           Eagle Meadows Development         Unknown           Y
        Carlton & Takeko Carlton Revocable Trust dated 4/30/97           Twentynine Palms, CA 92277
        Daniel Carlton & Takeko Carlton Trustees for the Daniel O.       4697 Hooktree Road           Amesbury/Hatters Point            Unknown           Y
        Carlton & Takeko Carlton Revocable Trust dated 4/30/97           Twentynine Palms, CA 92277
        Daniel Carlton & Takeko Carlton Trustees for the Daniel O.       4697 Hooktree Road           Brookmere/Matteson $27,050,000    Unknown           Y
        Carlton & Takeko Carlton Revocable Trust dated 4/30/97           Twentynine Palms, CA 92277
        Daniel Carlton, a married man dealing with his sole & separate   390 Corvair Drive            Brookmere/Matteson $27,050,000    Unknown           Y
        property & Zora N. Carlton, a widow                              Lake Havasu City, AZ 86406
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 125 Elysian Drive                Fiesta Oak Valley                 Unknown           Y
        11/1/92                                                          Sedona, AZ 86336
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 125 Elysian Drive                Gateway Stone                     Unknown           Y
        11/1/92                                                          Sedona, AZ 86336
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 125 Elysian Drive                Gramercy Court Condos             Unknown           Y
        11/1/92                                                          Sedona, AZ 86336




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 40
               Case 06-10725-gwz                            Doc 682-1                 Entered 06/15/06 23:55:42                     Page 16 of 50



In re            USA Commercial Mortgage Company                         ,                                                                 Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                              Description and Location of Property                                                 Property


                                 Legal vesting                                        Mailing Address                     Loan Name          Amount     Contingent
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 125 Elysian Drive                    HFA- Clear Lake                   Unknown         Y
        11/1/92                                                            Sedona, AZ 86336
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 125 Elysian Drive                    Brookmere/Matteson $27,050,000    Unknown         Y
        11/1/92                                                            Sedona, AZ 86336
        Daniel J. Kehl, a married man dealing with his sole & separate     421 South Lumina               Ashby Financial $7,200,000        Unknown         Y
        property                                                           Wrightsville Beach, NC 28480
        Daniel J. Kehl, a married man dealing with his sole & separate     421 South Lumina               Huntsville                        Unknown         Y
        property                                                           Wrightsville Beach, NC 28480
        Daniel J. Kehl, a married man dealing with his sole & separate     421 South Lumina               Tapia Ranch                       Unknown         Y
        property                                                           Wrightsville Beach, NC 28480
        Daniel J. Kehl, a married man dealing with his sole & separate     421 South Lumina               Ten-Ninety, Ltd./$4,150,000       Unknown         Y
        property                                                           Wrightsville Beach, NC 28480
        Daniel Jenkins and Lori J. Jenkins, husband and wife, as joint     1071 S Carson St.              Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Carson City, NV 89701
        Daniel K. Fix & Barbara J. Fix Trustees of the Daniel K. Fix &     113 Pebble Beach Drive         Fiesta Oak Valley                 Unknown         Y
        Barbara J. Fix Family Trust                                        Trophy Club, TX 76262
        Daniel K. Fix & Barbara J. Fix Trustees of the Daniel K. Fix &     113 Pebble Beach Drive         HFA- Clear Lake                   Unknown         Y
        Barbara J. Fix Family Trust                                        Trophy Club, TX 76262
        Daniel L. Everett & Sandra M. Everett, husband & wife, as joint 921 Crystal Court                 Huntsville                        Unknown         Y
        tenants with right of survivorship                                 Foster City, CA 94404
        Daniel L. Pereslete Trustee of the Daniel L. Pereslete Trust dated 805 Cline Street               BarUSA/$15,300,000                Unknown         Y
        8/4/04                                                             Las Vegas, NV 89145
        Daniel Meyers, a single man                                        3800 S Decatur Blvd # 71       Placer Vineyards 2nd              Unknown         Y
                                                                           Las Vegas, NV 89103
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Gilroy                            Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Gilroy                            Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Golden State Investments II       Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Golden State Investments II       Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Marquis Hotel                     Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Marquis Hotel                     Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Shamrock Tower, LP                Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel P O Box 7869                      Shamrock Tower, LP                Unknown         Y
        & Virginia Salerno Family Trust dated 8/9/89                       Incline Village, NV 89452
        Daniel R. Halseth & Sandra K Halseth Trustees of the Halseth       23 Molas Drive                 Bay Pompano Beach                 Unknown         Y
        Family Trust restated 4/21/00                                      Durango, CO 81301
        Daniel R. Halseth & Sandra K Halseth Trustees of the Halseth       23 Molas Drive                 Gateway Stone                     Unknown         Y
        Family Trust restated 4/21/00                                      Durango, CO 81301
        Daniel R. Jenkins Trustee of the Evelyn W. Jenkins Trust           1692 County Rd Ste C           Bay Pompano Beach                 Unknown         Y
                                                                           Minden, NV 89423
        Daniel R. Smith & Diann L. Smith, husband & wife, as joint         3531 Canter Drive              Brookmere/Matteson $27,050,000    Unknown         Y
        tenants with right of survivorship                                 N Las Vegas, NV 89032
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint          1363 W Stony Run Pl            6425 Gess, LTD                    Unknown         Y
        tenants with right of survivorship                                 Oro Valley, AZ 85755




SCHEDULES                                                                              Exhibit B-21                                                        PAGE 41
               Case 06-10725-gwz                            Doc 682-1             Entered 06/15/06 23:55:42                   Page 17 of 50



In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                              Description and Location of Property                                            Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            HFA- Clear Lake                   Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            HFA- Clear Lake                   Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            HFA- Clear Lake                   Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Gramercy Court Condos             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Gramercy Court Condos             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Gramercy Court Condos             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Fiesta USA/Stoneridge             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Fiesta USA/Stoneridge             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Fiesta USA/Stoneridge             Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Ashby Financial $7,200,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Ashby Financial $7,200,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Ashby Financial $7,200,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Opaque/Mt. Edge $7,350,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Opaque/Mt. Edge $7,350,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Opaque/Mt. Edge $7,350,000        Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Brookmere/Matteson $27,050,000    Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Brookmere/Matteson $27,050,000    Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint     1363 W Stony Run Pl            Brookmere/Matteson $27,050,000    Unknown            Y
        tenants with right of survivorship                            Oro Valley, AZ 85755
        Daniel Tabas                                                  915 Delaware Avenue            Colt Gateway                      Unknown            Y
                                                                      Philadelphia, PA 19123
        Daniel Uriarte & Alice Uriarte Trustees of the Daniel Uriarte 2049 Avella Dr                 Ashby Financial $7,200,000        Unknown            Y
        Family Trust dated 10/9/90                                    Sparks, NV 89434
        Darlene Ashdown & Vincent N. Greene, husband & wife, as joint P O Box 1144                   Marquis Hotel                     Unknown            Y
        tenants with right of survivorship                            Sonora, CA 95370
        Darlene Ashdown & Vincent N. Greene, husband & wife, as joint P O Box 1144                   Gramercy Court Condos             Unknown            Y
        tenants with right of survivorship                            Sonora, CA 95370
        Darlene Ashdown & Vincent N. Greene, husband & wife, as joint P O Box 1144                   Gateway Stone                     Unknown            Y
        tenants with right of survivorship                            Sonora, CA 95370
        Darlene Ashdown & Vincent N. Greene, husband & wife, as joint P O Box 1144                   BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                            Sonora, CA 95370
        Darlene Hammond Trustee of the Dar Living Trust dated 2/12/03 308 La Rue Court               6425 Gess, LTD                    Unknown            Y
                                                                      Las Vegas, NV 89145
        Darlene Hammond Trustee of the Dar Living Trust dated 2/12/03 308 La Rue Court               Placer Vineyards                  Unknown            Y
                                                                      Las Vegas, NV 89145
        Darlene Hammond Trustee of the Dar Living Trust dated 2/12/03 308 La Rue Court               Brookmere/Matteson $27,050,000    Unknown            Y
                                                                      Las Vegas, NV 89145
        Darlene M. Turner, an unmarried woman                         2028 1/2 " I " Street          Hasley Canyon                     Unknown            Y
                                                                      Sparks, NV 89431
        Daryl D.Thompson Trustee of the Thompson 1993 Trust dated     2204 Point Rock Lane           Fiesta Oak Valley                 Unknown            Y
        1/26/93                                                       Las Vegas, NV 89134
        Daryl D.Thompson Trustee of the Thompson 1993 Trust dated     2204 Point Rock Lane           Ten-Ninety, Ltd./$4,150,000       Unknown            Y
        1/26/93                                                       Las Vegas, NV 89134




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 42
               Case 06-10725-gwz                           Doc 682-1             Entered 06/15/06 23:55:42                   Page 18 of 50



In re            USA Commercial Mortgage Company                        ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                                (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                             Description and Location of Property                                                   Property


                                Legal vesting                                    Mailing Address                     Loan Name                Amount     Contingent
        Daryl D.Thompson Trustee of the Thompson 1993 Trust dated    2204 Point Rock Lane           Tapia Ranch                              Unknown         Y
        1/26/93                                                      Las Vegas, NV 89134
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl     1243 Country Club Dr           Amesbury/Hatters Point                   Unknown         Y
        Blanck & Yvonne Blanck Trust dated 3/23/94                   Laughlin, NV 89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl     1243 Country Club Dr           Gramercy Court Condos                    Unknown         Y
        Blanck & Yvonne Blanck Trust dated 3/23/94                   Laughlin, NV 89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl     1243 Country Club Dr           HFA- North Yonkers                       Unknown         Y
        Blanck & Yvonne Blanck Trust dated 3/23/94                   Laughlin, NV 89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl     1243 Country Club Dr           Opaque/Mt. Edge $7,350,000               Unknown         Y
        Blanck & Yvonne Blanck Trust dated 3/23/94                   Laughlin, NV 89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl     1243 Country Club Dr           Brookmere/Matteson $27,050,000           Unknown         Y
        Blanck & Yvonne Blanck Trust dated 3/23/94                   Laughlin, NV 89029
        David A. Kingman, a married man dealing with his sole and    P O Box 209                    Margarita Annex                          Unknown         Y
        separate property Acct # 1                                   Glenbrook, NV 89413
        David A. Kingman, a married man dealing with his sole and    P O Box 209                    Margarita Annex                          Unknown         Y
        separate property Acct # 1                                   Glenbrook , NV 89413
        David A. Kingman, a married man dealing with his sole and    P O Box 209                    Margarita Annex                          Unknown         Y
        separate property Acct # 1                                   Glenbrook, NV 89413
        David A. Mulkey Trustee of the Christopher L. Mulkey 1998    2860 Augusta Drive             Opaque/Mt. Edge $7,350,000               Unknown         Y
        Irrevocable Trust                                            Las Vegas, NV 89109
        David A. Palmer Trustee UA 2/13/90 for the benefit of The    1601 Benchley Court            Gramercy Court Condos                    Unknown         Y
        Palmer Family Trust                                          Henderson, NV 89052
        David A. Souza & Elizabeth M. Souza, husband & wife, as joint542 Socorro Ct                 Fiesta Oak Valley                        Unknown         Y
        tenants with right of survivorship                           Reno, NV 89511
        David A. Souza & Elizabeth M. Souza, husband & wife, as joint542 Socorro Ct                 HFA- Windham                             Unknown         Y
        tenants with right of survivorship                           Reno, NV 89511
        David A. Weaver, an unmarried man                            30 Palm Springs Court          6425 Gess, LTD                           Unknown         Y
                                                                     Sparks, NV 89436
        David A. Weaver, an unmarried man                            30 Palm Springs Court          Riviera - Homes for America Holdings,    Unknown         Y
                                                                     Sparks, NV 89436               L.L.C.
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             HFA- North Yonkers                       Unknown         Y
        the benefit of Emily J. Zook (a minor)                       Escondido, CA 92029
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             HFA- North Yonkers                       Unknown         Y
        the benefit of Emily J. Zook (a minor)                       Escondido, CA 92029
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             Tapia Ranch                              Unknown         Y
        the benefit of Emily J. Zook (a minor)                       Escondido, CA 92029
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             Tapia Ranch                              Unknown         Y
        the benefit of Emily J. Zook (a minor)                       Escondido, CA 92029
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             Tapia Ranch                              Unknown         Y
        the benefit of Kathryn E. Zook (a minor)                     Escondido, CA 92029
        David A. Zook Trustee of the Zook Revocable Living Trust for 911 S Andreasen Dr             Tapia Ranch                              Unknown         Y
        the benefit of Kathryn E. Zook (a minor)                     Escondido, CA 92029
        David B. Chaffin, MD and Renee A. Chaffin, Trustees of the   1855 Manzanita Circle          HFA- Clear Lake                          Unknown         Y
        David B. & Renee A. Chaffin Family Trust dated 2/27/02       Reno, NV 89509
        David B. Chaffin, MD and Renee A. Chaffin, Trustees of the   1855 Manzanita Circle          Margarita Annex                          Unknown         Y
        David B. & Renee A. Chaffin Family Trust dated 2/27/02       Reno, NV 89509
        David B. Doutt Sr. and Johnine M. Doutt, husband and wife as 1121 Columbia Street           Marlton Square                           Unknown         Y
        joint tenants with the right of survivorship                 Houston, TX 77008
        David B. Greenberg Trustee of the D.B. Greenberg Trust U/D/T 4867 Elkcreek Trail            6425 Gess, LTD                           Unknown         Y
        7/20/98                                                      Reno, NV 89509
        David B. McDougall & Barbara K. McDougall, husband & wife, 13095 Hillside Dr                Placer Vineyards                         Unknown         Y
        as joint tenants with the right of survivorship              Truckee, CA 96161
        David Barker & Lisa Barker, husband & wife, as joint tenants 9 Sullivan Drive               Tapia Ranch                              Unknown         Y
        with right of survivorship                                   Bow, NH 3304
        David Barker & Lisa Barker, husband & wife, as joint tenants 9 Sullivan Drive               Gilroy                                   Unknown         Y
        with right of survivorship                                   Bow, NH 3304
        David Barker & Lisa Barker, husband & wife, as joint tenants 9 Sullivan Drive               Harbor Georgetown                        Unknown         Y
        with right of survivorship                                   Bow, NH 3304
        David C. Coulson & Maria V. Ardila-Coulson, husband & wife, 2050 Blue Spruce Rd             HFA- North Yonkers                       Unknown         Y
        as joint tenants with right of survivorship                  Reno, NV 89511




SCHEDULES                                                                         Exhibit B-21                                                              PAGE 43
               Case 06-10725-gwz                          Doc 682-1               Entered 06/15/06 23:55:42                   Page 19 of 50



In re            USA Commercial Mortgage Company                     ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                 (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                            Description and Location of Property                                                    Property


                                Legal vesting                                     Mailing Address                   Loan Name                 Amount     Contingent
        David C. Coulson & Maria V. Ardila-Coulson, husband & wife, 2050 Blue Spruce Rd             HFA- North Yonkers                       Unknown         Y
        as joint tenants with right of survivorship                      Reno, NV 89511
        David C. Wahl and Margaret A. Wahl, husband and wife, as joint P O Box 8012                 Gateway Stone                            Unknown         Y
        tenants with the right of survivorship                           Mammoth Lakes, CA 93546
        David C. Wahl and Margaret A. Wahl, husband and wife, as joint P O Box 8012                 Gateway Stone                            Unknown         Y
        tenants with the right of survivorship                           Mammoth Lakes, CA 93546
        David C. Wahl, a married man dealing with his sole and separate P O Box 8012                Bay Pompano Beach                        Unknown         Y
        property                                                         Mammoth Lakes, CA 93546
        David C. Wahl, a married man dealing with his sole and separate P O Box 8012                Bay Pompano Beach                        Unknown         Y
        property                                                         Mammoth Lakes, CA 93546
        David C. Wahl, a married man dealing with his sole and separate P O Box 8012                Golden State Investments II              Unknown         Y
        property                                                         Mammoth Lakes, CA 93546
        David C. Wahl, a married man dealing with his sole and separate P O Box 8012                Golden State Investments II              Unknown         Y
        property                                                         Mammoth Lakes, CA 93546
        David D. Scillian, a single man                                  4240 Arnold Way            Ten-Ninety, Ltd./$4,150,000              Unknown         Y
                                                                         Mather, CA 95655
        David D. Scillian, a single man                                  4240 Arnold Way            Ten-Ninety, Ltd./$4,150,000              Unknown         Y
                                                                         Mather, CA 95655
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125        L.L.C.
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125        L.L.C.
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125        L.L.C.
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125        L.L.C.
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Marlton Square 2nd                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Marlton Square 2nd                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Marlton Square 2nd                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Marlton Square 2nd                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           BarUSA/$15,300,000                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           BarUSA/$15,300,000                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           BarUSA/$15,300,000                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           BarUSA/$15,300,000                       Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Anchor B, LLC                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Anchor B, LLC                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Anchor B, LLC                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Anchor B, LLC                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Hasley Canyon                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Hasley Canyon                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Hasley Canyon                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David E. Derby & Patricia J. Derby, husband & wife, as joint     6223 Buffalo Run           Hasley Canyon                            Unknown         Y
        tenants with the right of survivorship                           Littleton, CO 80125
        David F. Eldridge and Elfriede R. Fujitani, husband and wife, as P O Box 946                Gateway Stone                            Unknown         Y
        joint tenants with the right of survivorship                     Crystal Bay, NV 89402




SCHEDULES                                                                          Exhibit B-21                                                             PAGE 44
               Case 06-10725-gwz                            Doc 682-1                Entered 06/15/06 23:55:42                    Page 20 of 50



In re             USA Commercial Mortgage Company                       ,                                                                        Case No. 06-10725-LBR
                                      Debtor                                                                                                                  (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                              Description and Location of Property                                                       Property


                                 Legal vesting                                       Mailing Address                      Loan Name                Amount     Contingent
        David Fossati, a single man                                       P O Box 1435                   BarUSA/$15,300,000                       Unknown         Y
                                                                          Longview, WA 98632
        David Fossati, a single man                                       P O Box 1435                   HFA- Clear Lake                          Unknown         Y
                                                                          Longview, WA 98632
        David Fossati, a single man                                       P O Box 1435                   HFA- Riviera 2nd                         Unknown         Y
                                                                          Longview, WA 98632
        David Fossati, a single man                                       P O Box 1435                   Brookmere/Matteson $27,050,000           Unknown         Y
                                                                          Longview, WA 98632
        David G. Bremner Trustee of the David G. Bremner Living Trust 2870 NW Kline Street               Brookmere/Matteson $27,050,000           Unknown         Y
        dated 8/18/94                                                     Roseburg, OR 97470
        David G. Bremner Trustee of the David G. Bremner Living Trust 2870 NW Kline Street               Brookmere/Matteson $27,050,000           Unknown         Y
        dated 8/18/94                                                     Roseburg, OR 97470
        David G. Livingston & Erlinda M. Livingston, husband & wife, 1673 Key Colony Drive               Amesbury/Hatters Point                   Unknown         Y
        as joint tenants with right of survivorship                       Las Vegas, NV 89156
        David Gray Sterling & Mary Jane Sterling Trustees of the Sterling 8170 S Eastern Ave Box #4-44   Riviera - Homes for America Holdings,    Unknown         Y
        Living Trust dated 02/02/00                                       Las Vegas, NV 89123            L.L.C.
        David Gray Sterling & Mary Jane Sterling Trustees of the Sterling 8170 S Eastern Ave Box #4-44   Huntsville                               Unknown         Y
        Living Trust dated 02/02/00                                       Las Vegas, NV 89123
        David Gray Sterling & Mary Jane Sterling Trustees of the Sterling 8170 S Eastern Ave Box #4-44   Placer Vineyards 2nd                     Unknown         Y
        Living Trust dated 02/02/00                                       Las Vegas, NV 89123
        David H. Thompson & Kathryn Thompson Trustees of the              3145 W Torino Ave              Marlton Square                           Unknown         Y
        Thompson Family Trust dated 5/21/92                               Las Vegas, NV 89139
        David J. Albiol, a single man                                     P O Box 22007                  Amesbury/Hatters Point                   Unknown         Y
                                                                          Carmel, CA 93922
        David J. Albiol, a single man                                     P O Box 22007                  Bay Pompano Beach                        Unknown         Y
                                                                          Carmel, CA 93922
        David J. Conklin, an unmarried man                                8883 Rio Grande Falls Ave      Eagle Meadows Development                Unknown         Y
                                                                          Las Vegas , NV 89178
        David J. Merzanis & Roberta June Merzanis, husband & wife, as 124 S Royal Ascot Dr               Amesbury/Hatters Point                   Unknown         Y
        joint tenants with right of survivorship                          Las Vegas, NV 89144
        David J. Tammadge, an unmarried man                               7292 Horner Street             Bay Pompano Beach                        Unknown         Y
                                                                          San Diego, CA 92120
        David Joyce, a married man dealing with his sole & separate       7465 Silver King Drive         Fiesta Oak Valley                        Unknown         Y
        property                                                          Sparks, NV 89436
        David Joyce, a married man dealing with his sole & separate       7465 Silver King Drive         Hasley Canyon                            Unknown         Y
        property                                                          Sparks, NV 89436
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Riviera - Homes for America Holdings,    Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375        L.L.C.
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Shamrock Tower, LP                       Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Placer Vineyards 2nd                     Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Marquis Hotel                            Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Marlton Square 2nd                       Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Marlton Square                           Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                HFA- Riviera 2nd                         Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                HFA- North Yonkers                       Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Hasley Canyon                            Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Gilroy                                   Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                Amesbury/Hatters Point                   Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave                6425 Gess, LTD                           Unknown         Y
        Revocable Trust under agreement dated 12/9/99                     Sun City West, AZ 85375




SCHEDULES                                                                             Exhibit B-21                                                               PAGE 45
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                  Page 21 of 50



In re            USA Commercial Mortgage Company                      ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                            Description and Location of Property                                                Property


                                Legal vesting                                      Mailing Address                   Loan Name            Amount     Contingent
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave            Tapia Ranch                         Unknown          Y
        Revocable Trust under agreement dated 12/9/99                   Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave            Lerin Hills                         Unknown          Y
        Revocable Trust under agreement dated 12/9/99                   Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave            Copper Sage Commerce Center, LLC    Unknown          Y
        Revocable Trust under agreement dated 12/9/99                   Sun City West, AZ 85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family 19223 N 132nd Ave            Clear Creek Plantation              Unknown          Y
        Revocable Trust under agreement dated 12/9/99                   Sun City West, AZ 85375
        David Krynzel, an unmarried man                                 357 Evening Side Ave         Brookmere/Matteson $27,050,000      Unknown          Y
                                                                        Henderson, NV 89012
        David L. Gross Trustee of the David L. Gross Family Trust dated 895 On The Green             Ten-Ninety, Ltd./$4,150,000         Unknown          Y
        12/4/94                                                         Biloxi, MS 39532
        David L. Zwarg & Cara D. Zwarg, husband & wife, as joint        1391 Newport Ave             Fiesta Oak Valley                   Unknown          Y
        tenants with right of survivorship                              Arroyo Grande, CA 93420
        David M. Blood, a single man                                    140 Brownstone Drive         Eagle Meadows Development           Unknown          Y
                                                                        Mooresville, NC 28117
        David M. Eastman & Ann D. Eastman Trustees of the David M. 474 Beardsley Circle              Bay Pompano Beach                   Unknown          Y
        & Ann D. Eastman Family Living Trust                            Henderson, NV 89052
        David M. Eby and Patricia D. Eby, husband and wife, as joint    3358 Old Hwy #191            Bay Pompano Beach                   Unknown          Y
        tenants with the right of survivorship                          Island Park, ID 83429
        David M. Greenblatt, an unmarried man transfer on death to Karl 880 Buffwood Ave             HFA- North Yonkers                  Unknown          Y
        Greenblatt                                                      Las Vegas, NV 89123
        David M. Greenblatt, an unmarried man transfer on death to Karl 880 Buffwood Ave             Bay Pompano Beach                   Unknown          Y
        Greenblatt                                                      Las Vegas, NV 89123
        David M. Greenblatt, an unmarried man transfer on death to Karl 880 Buffwood Ave             Brookmere/Matteson $27,050,000      Unknown          Y
        Greenblatt                                                      Las Vegas, NV 89123
        David M. Jacobson & Cristina Jacobson Trustees of the Jacobson 12219 Oakview Way             Fiesta Oak Valley                   Unknown          Y
        Family Trust dated 2/13/97                                      San Diego, CA 92128
        David M. Olds & Sally W. Olds, husband & wife, as joint tenants 25 N Washington St           6425 Gess, LTD                      Unknown          Y
        with right of survivorship                                      Port Washington, NY 11050
        David M. Olds & Sally W. Olds, husband & wife, as joint tenants 25 N Washington St           HFA- Clear Lake                     Unknown          Y
        with right of survivorship                                      Port Washington, NY 11050
        David M. Olds & Sally W. Olds, husband & wife, as joint tenants 25 N Washington St           Shamrock Tower, LP                  Unknown          Y
        with right of survivorship                                      Port Washington, NY 11050
        David M. Thatcher, a single man                                 P O Box 37                   Marquis Hotel                       Unknown          Y
                                                                        Sedalia, CO 80135
        David M. Thatcher, a single man                                 P O Box 37                   Wasco Investments                   Unknown          Y
                                                                        Sedalia, CO 80135
        David M. Thatcher, a single man                                 P O Box 37                   Margarita Annex                     Unknown          Y
                                                                        Sedalia, CO 80135
        David M. Thatcher, a single man                                 P O Box 37                   Gramercy Court Condos               Unknown          Y
                                                                        Sedalia, CO 80135
        David M. Thatcher, a single man                                 P O Box 37                   Fiesta Oak Valley                   Unknown          Y
                                                                        Sedalia, CO 80135
        David Mulkey Trustee of the John D. Mulkey 1998 Irrevocable 2860 Augusta Drive               Opaque/Mt. Edge $7,350,000          Unknown          Y
        Trust                                                           Las Vegas, NV 89109
        David Mulkey Trustee of the John D. Mulkey 1998 Irrevocable 2860 Augusta Drive               Bay Pompano Beach                   Unknown          Y
        Trust                                                           Las Vegas, NV 89109
        David P. Betteridge, a single man                               977 W Hano Circle            Gateway Stone                       Unknown          Y
                                                                        Ivins, UT 84738
        David P. Betteridge, a single man                               977 W Hano Circle            HFA- Clear Lake                     Unknown          Y
                                                                        Ivins, UT 84738
        David P. Betteridge, a single man                               977 W Hano Circle            Fiesta USA/Stoneridge               Unknown          Y
                                                                        Ivins, UT 84738
        David P. Betteridge, a single man                               977 W Hano Circle            Bay Pompano Beach                   Unknown          Y
                                                                        Ivins, UT 84738
        David P. Betteridge, a single man                               977 W Hano Circle            Amesbury/Hatters Point              Unknown          Y
                                                                        Ivins, UT 84738
        David Pumphrey & Patricia Pumphrey Trustees of the Pumphrey 10800 Sand Hollow Ct             Hasley Canyon                       Unknown          Y
        Family Trust dated 11/8/89                                      Reno, NV 89521




SCHEDULES                                                                           Exhibit B-21                                                        PAGE 46
               Case 06-10725-gwz                            Doc 682-1             Entered 06/15/06 23:55:42                     Page 22 of 50



In re            USA Commercial Mortgage Company                          ,                                                                    Case No. 06-10725-LBR
                                    Debtor                                                                                                                  (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                    Mailing Address                       Loan Name                Amount     Contingent
        David Pumphrey & Patricia Pumphrey Trustees of the Pumphrey     10800 Sand Hollow Ct           Brookmere/Matteson $27,050,000           Unknown         Y
        Family Trust dated 11/8/89                                      Reno, NV 89521
        David R. Fuller & Monica Fuller Trustees of the David R. Fuller 955 Mullen                     HFA- Windham                             Unknown         Y
        & Monica D. Fuller Trust                                        Las Vegas, NV 89124
        David R. Fuller & Monica Fuller Trustees of the David R. Fuller 955 Mullen                     Placer Vineyards                         Unknown         Y
        & Monica D. Fuller Trust                                        Las Vegas, NV 89124
        David R. Fuller & Monica Fuller Trustees of the David R. Fuller 955 Mullen                     Gramercy Court Condos                    Unknown         Y
        & Monica D. Fuller Trust                                        Las Vegas, NV 89124
        David R. Hays and Sue Hays, Trustees of the Hays Revocable      361 E Delamar Drive            Marlton Square                           Unknown         Y
        Trust                                                           Henderson, NV 89015
        David R. McPherson & Susan McPherson, husband & wife, as        P O Box 126                    HFA- Clear Lake                          Unknown         Y
        joint tenants with right of survivorship                        Sturgis, SD 57785
        David R. Pritchett and Donna J. Pritchett, husband and wife, as 15613 N Greenway Hayden Loop   Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with the rights of survivorship                   Scottsdale, AZ 85260           L.L.C.
        David R. Wilson, an unmarried man                               320 Sunset Dr                  6425 Gess, LTD                           Unknown         Y
                                                                        Reno, NV 89509
        David R. Wilson, an unmarried man                               320 Sunset Dr                  HFA- North Yonkers                       Unknown         Y
                                                                        Reno, NV 89509
        David Reichel a single man                                      21191 Jasmines Way # 111       BarUSA/$15,300,000                       Unknown         Y
                                                                        Lake Forest, CA 92630
        David Reichel a single man                                      21191 Jasmines Way # 111       Marquis Hotel                            Unknown         Y
                                                                        Lake Forest, CA 92630
        David Rosner Trustee of the David Rosner Revocable Trust dated 71 Trinidad Drive               Marlton Square                           Unknown         Y
        01/05/2005                                                      Tiburon, CA 94920
        David Rosner Trustee of the David Rosner Revocable Trust dated 71 Trinidad Drive               HFA- North Yonkers                       Unknown         Y
        01/05/2005                                                      Tiburon, CA 94920
        David Rosner Trustee of the David Rosner Revocable Trust dated 71 Trinidad Drive               Fiesta Oak Valley                        Unknown         Y
        01/05/2005                                                      Tiburon, CA 94920
        David Rosner Trustee of the David Rosner Revocable Trust dated 71 Trinidad Drive               Amesbury/Hatters Point                   Unknown         Y
        01/05/2005                                                      Tiburon, CA 94920
        David Rosner Trustee of the David Rosner Revocable Trust dated 71 Trinidad Drive               Bay Pompano Beach                        Unknown         Y
        01/05/2005                                                      Tiburon, CA 94920
        David Rubio & Patricia L. Rubio, husband & wife, as joint       870 Locust Avenue              BarUSA/$15,300,000                       Unknown         Y
        tenants with right of survivorship                              Boulder, CO 80304
        David S. Anderson and Sarah Battey-King, husband and wife, as 530 S Magnolia Ln                Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with the rights of survivorship                   Denver, CO 80224               L.L.C.
        David S. Cadwallader & Alyce E. Cadwallader Trustees of the     14305 Wintu Way                Amesbury/Hatters Point                   Unknown         Y
        Cadwallader 2001 Trust                                          Redding, CA 96003
        David S. Cadwallader & Alyce E. Cadwallader Trustees of the     14305 Wintu Way                Bay Pompano Beach                        Unknown         Y
        Cadwallader 2001 Trust                                          Redding, CA 96003
        David Sailon & Joan Sailon, husband & wife, as joint tenants    2436 Cliffwood Dr              Gramercy Court Condos                    Unknown         Y
        with right of survivorship                                      Henderson, NV 89074
        David Sailon & Joan Sailon, husband & wife, as joint tenants    2436 Cliffwood Dr              HFA- Clear Lake                          Unknown         Y
        with right of survivorship                                      Henderson, NV 89074
        David Stoebling Trustee of the Stoebling Family Trust           3568 E Russell Rd Ste D        Fiesta Oak Valley                        Unknown         Y
        075400958                                                       Las Vegas, NV 89120
        David Stoebling Trustee of the Stoebling Family Trust           3568 E Russell Rd Ste D        Fiesta Oak Valley                        Unknown         Y
        075400958                                                       Las Vegas, NV 89120
        David W. Knobel, a married man dealing with his sole & separate 8919 Challis Hill Lane         Amesbury/Hatters Point                   Unknown         Y
        property                                                        Charlotte, NC 28226
        David W. Schroeder, a single man                                864 Granville Ave 1            HFA- Clear Lake                          Unknown         Y
                                                                        Los Angeles, CA 90049
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint 21929 N 79th Place                Gramercy Court Condos                    Unknown         Y
        tenants with right of survivorship                              Scottsdale, AZ 85255
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint 21929 N 79th Place                HFA- Clear Lake                          Unknown         Y
        tenants with right of survivorship                              Scottsdale, AZ 85255
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint 21929 N 79th Place                HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Scottsdale, AZ 85255
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint 21929 N 79th Place                Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                              Scottsdale, AZ 85255




SCHEDULES                                                                          Exhibit B-21                                                                PAGE 47
               Case 06-10725-gwz                           Doc 682-1                Entered 06/15/06 23:55:42                   Page 23 of 50



In re            USA Commercial Mortgage Company                       ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                             Description and Location of Property                                                 Property


                                Legal vesting                                        Mailing Address                    Loan Name           Amount     Contingent
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint     21929 N 79th Place            Brookmere/Matteson $27,050,000      Unknown         Y
        tenants with right of survivorship                               Scottsdale, AZ 85255
        Davis Investments, a Nevada partnership                          3100 Ashby Avenue             Bay Pompano Beach                   Unknown         Y
                                                                         Las Vegas, NV 89102
        Davis Investments, a Nevada partnership                          3100 Ashby Avenue             Gateway Stone                       Unknown         Y
                                                                         Las Vegas, NV 89102
        Davis Investments, a Nevada partnership                          3100 Ashby Avenue             6425 Gess, LTD                      Unknown         Y
                                                                         Las Vegas, NV 89102
        Davis Investments, a Nevada partnership                          3100 Ashby Avenue             Ashby Financial $7,200,000          Unknown         Y
                                                                         Las Vegas, NV 89102
        Davis Investments, a Nevada partnership                          3100 Ashby Avenue             Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89102
        Davis Kindred & Kathleen Kindred Trustees of the Kindred         1203 S Marsh Avenue           Amesbury/Hatters Point              Unknown         Y
        Family Trust dated 9/19/96                                       Reno, NV 89509
        DCGT FBO Claude M. Penchina Roth IRA, Account #13909452 74 Rue De Sevres                       Marlton Square                      Unknown         Y
                                                                         Paris, France 75007
        De Vera Cline, a single woman                                    1860 Papago Lane              HFA- Windham                        Unknown         Y
                                                                         Las Vegas, NV 89109
        De Vera Cline, a single woman                                    1860 Papago Lane              Eagle Meadows Development           Unknown         Y
                                                                         Las Vegas, NV 89109
        Deal Investment Club, LLC, Vivian Tobias, Manager                1090 Elberon Avenue           Marlton Square                      Unknown         Y
                                                                         Long Branch, NJ 7740
        Dean Christianson & Karen Christianson, husband & wife, as       11975 N Labyrinth Drive       HFA- Riviera 2nd                    Unknown         Y
        joint tenants with right of survivorship                         Oro Valley, AZ 85737
        Dean F. Weible & Ardis Weible Co-TTEEs of the Weible 1981 6314 W Tara Ave                      Copper Sage Commerce Center, LLC    Unknown         Y
        Trust dated 6/30/81                                              Las Vegas, NV 89146
        Dean Valentino & Nora Valentino, husband & wife, as joint        15445 Ventura Blvd Ste 364    Marlton Square                      Unknown         Y
        tenants with right of survivorship                               Sherman Oaks, CA 91403
        Dean Watson, a married man dealing with his sole & separate      P O Box 2690                  Placer Vineyards                    Unknown         Y
        property                                                         Fort Bragg, CA 95437
        Deane Albright & Casey Persing Trustees of the Albright Persing 1025 Ridgeview Dr              Ashby Financial $7,200,000          Unknown         Y
        & Associates Profit Sharing Plan                                 Reno, NV 89509
        Deane Albright & Casey Persing Trustees of the Albright Persing 1025 Ridgeview Dr              Fiesta Oak Valley                   Unknown         Y
        & Associates Profit Sharing Plan                                 Reno, NV 89509
        Deanna Stein, a married woman dealing with her sole & separate 1426 Hometown Ave               Amesbury/Hatters Point              Unknown         Y
        property                                                         Henderson, NV 89074
        Deanna Stein, a married woman dealing with her sole & separate 1426 Hometown Ave               Amesbury/Hatters Point              Unknown         Y
        property                                                         Henderson, NV 89074
        Deborah A. Daniel, A single woman                                248 S Vista del Monte         Lerin Hills                         Unknown         Y
                                                                         Anaheim Hills, CA 92807
        Deborah A. Daniel, A single woman                                248 S Vista del Monte         Gateway Stone                       Unknown         Y
                                                                         Anaheim Hills, CA 92807
        Deborah F. Eifert, a married woman, and Kimberly M. Kulasa, a 3889 Eagle Point Drive           Bay Pompano Beach                   Unknown         Y
        divorced woman, as joint tenants with the rights of survivorship Beavercreek, OH 45430
        Deborah H. Nogaim, an unmarried woman                            1149 Pincay Drive             Bay Pompano Beach                   Unknown         Y
                                                                         Henderson, NV 89015
        Debra A. Sierra, an unmarried woman                              42866 Fontainebleau Park Ln   BarUSA/$15,300,000                  Unknown         Y
                                                                         Fremont, CA 94538
        Debra Ann Winemiller, a married woman dealing with her sole & P O Box 66157                    BarUSA/$15,300,000                  Unknown         Y
        separate property                                                Houston, TX 77266
        Debra Ann Winemiller, a married woman dealing with her sole & P O Box 66157                    Gramercy Court Condos               Unknown         Y
        separate property                                                Houston, TX 77266
        Debra Ann Winemiller, a married woman dealing with her sole & P O Box 66157                    Placer Vineyards                    Unknown         Y
        separate property                                                Houston, TX 77266
        Deette Carter Trustee of the Deette Carter Revocable Trust dated 9232 Sailing Water Ave        Opaque/Mt. Edge $7,350,000          Unknown         Y
        1/3/01                                                           Las Vegas, NV 89147
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr          HFA- Windham                        Unknown         Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive       HFA- Windham                        Unknown         Y
                                                                         Las Vegas, NV 89134




SCHEDULES                                                                            Exhibit B-21                                                         PAGE 48
               Case 06-10725-gwz                              Doc 682-1               Entered 06/15/06 23:55:42                    Page 24 of 50



In re             USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                                Description and Location of Property                                             Property


                                  Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Marlton Square                    Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Marlton Square                    Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Gramercy Court Condos             Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Gramercy Court Condos             Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Fiesta Oak Valley                 Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Fiesta Oak Valley                 Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Eagle Meadows Development         Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Eagle Meadows Development         Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Bay Pompano Beach                 Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Bay Pompano Beach                 Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Amesbury/Hatters Point            Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Amesbury/Hatters Point            Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Fiesta USA/Stoneridge             Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Fiesta USA/Stoneridge             Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Dr           Brookmere/Matteson $27,050,000    Unknown          Y
                                                                         Las Vegas, NV 89134
        DeHart/Hooks, LP a Nevada limited partnership                    2737 Billy Casper Drive        Brookmere/Matteson $27,050,000    Unknown          Y
                                                                         Las Vegas, NV 89134
        Delana D. Arnold, a married woman dealing with her sole &        General Delivery               Eagle Meadows Development         Unknown          Y
        separate property                                                Utila, Bay Islands
        Delana D. Arnold, a married woman dealing with her sole &        General Delivery               Placer Vineyards 2nd              Unknown          Y
        separate property                                                Utila, Bay Islands
        Delana D. Arnold, a married woman dealing with her sole &        General Delivery               Tapia Ranch                       Unknown          Y
        separate property                                                Utila, Bay Islands
        Delana D. Arnold, a married woman dealing with her sole &        General Delivery               Gateway Stone                     Unknown          Y
        separate property                                                Utila, Bay Islands
        Delbert C. Case, a single man                                    P O Box 4639                   Amesbury/Hatters Point            Unknown          Y
                                                                         Incline Village, NV 89450
        Delbert C. Case, a single man                                    P O Box 4639                   Castaic Partners II, LLC          Unknown          Y
                                                                         Incline Village, NV 89450
        Delbert C. Case, a single man                                    P O Box 4639                   HFA- Windham                      Unknown          Y
                                                                         Incline Village, NV 89450
        Delbert C. Case, a single man                                    P O Box 4639                   Wasco Investments                 Unknown          Y
                                                                         Incline Village, NV 89450
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             HFA- North Yonkers                Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             Tapia Ranch                       Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             Marlton Square                    Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             HFA- Clear Lake                   Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             HFA- Windham                      Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr             Freeway 101                       Unknown          Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255




SCHEDULES                                                                             Exhibit B-21                                                       PAGE 49
               Case 06-10725-gwz                             Doc 682-1               Entered 06/15/06 23:55:42                  Page 25 of 50



In re             USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr            Bay Pompano Beach                 Unknown           Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr            BarUSA/$15,300,000                Unknown           Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr            6425 Gess, LTD                    Unknown           Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the   8027 E Williams Dr            Marquis Hotel                     Unknown           Y
        Johnston Estate Revocable Trust dated 5/17/94                    Scottsdale, AZ 85255
        Delbert Watkins & Mary Ann Watkins Trustees of the Watkins       265 E Farris Avenue           Hasley Canyon                     Unknown           Y
        Family Trust dated 7/24/92                                       Las Vegas, NV 89123
        Delbert Watkins & Mary Ann Watkins Trustees of the Watkins       265 E Farris Avenue           HFA- North Yonkers                Unknown           Y
        Family Trust dated 7/24/92                                       Las Vegas, NV 89123
        Delbert Watkins & Mary Ann Watkins Trustees of the Watkins       265 E Farris Avenue           6425 Gess, LTD                    Unknown           Y
        Family Trust dated 7/24/92                                       Las Vegas, NV 89123
        Delbert Watkins & Mary Ann Watkins Trustees of the Watkins       265 E Farris Avenue           Gramercy Court Condos             Unknown           Y
        Family Trust dated 7/24/92                                       Las Vegas, NV 89123
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Fiesta Oak Valley                 Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Hasley Canyon                     Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            HFA- North Yonkers                Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Huntsville                        Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Lerin Hills                       Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Marquis Hotel                     Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Shamrock Tower, LP                Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Tapia Ranch                       Unknown           Y
                                                                         Oakland, CA 94611
        Delwin C. Holt, an unmarried man                                 6606 Evergreen Ave            Cabernet                          Unknown           Y
                                                                         Oakland, CA 94611
        Dena M. Brook, an unmarried woman                                7949 Terrace Rock Way # 201   HFA- Riviera 2nd                  Unknown           Y
                                                                         Las Vegas, NV 89128
        Denise A. Murphy, a single woman                                 410 E 17th Avenue             Eagle Meadows Development         Unknown           Y
                                                                         Escondido, CA 92025
        Denise A. Murphy, a single woman                                 410 E 17th Avenue             Placer Vineyards                  Unknown           Y
                                                                         Escondido, CA 92025
        Denise A. Murphy, a single woman                                 410 E 17th Avenue             Brookmere/Matteson $27,050,000    Unknown           Y
                                                                         Escondido, CA 92025
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Harbor Georgetown                 Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Hasley Canyon                     Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Gramercy Court Condos             Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Gateway Stone                     Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   BarUSA/$15,300,000                Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Amesbury/Hatters Point            Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   6425 Gess, LTD                    Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Lerin Hills                       Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust   5 Salvatore                   Freeway 101                       Unknown           Y
        under agreement dated 2/28/03                                    Ladera Ranch, CA 92694




SCHEDULES                                                                             Exhibit B-21                                                      PAGE 50
                Case 06-10725-gwz                               Doc 682-1                Entered 06/15/06 23:55:42                  Page 26 of 50



In re             USA Commercial Mortgage Company                            ,                                                              Case No. 06-10725-LBR
                                      Debtor                                                                                                             (If known)




                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                      EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                                  Description and Location of Property                                              Property


                                   Legal vesting                                         Mailing Address                    Loan Name         Amount     Contingent
        Denise L. Barzan, a married woman dealing with her sole &            2508 Van Hoeks Circle         Fiesta Oak Valley                 Unknown         Y
        separate property & Barbara Snelson, a married woman dealing         Modesto, CA 95356
        with her sole & separate property, as joint tenants with the right
        of survivorship
        Dennis A. DeVito, a married man                               17071 W Dixie Hwy                    Bay Pompano Beach                 Unknown         Y
                                                                      Miami, FL 33160
        Dennis A. DeVito, a married man                               17071 W Dixie Hwy                    Eagle Meadows Development         Unknown         Y
                                                                      Miami, FL 33160
        Dennis A. DeVito, a married man                               17071 W Dixie Hwy                    HFA- Clear Lake                   Unknown         Y
                                                                      Miami, FL 33160
        Dennis A. DeVito, a married man                               17071 W Dixie Hwy                    Margarita Annex                   Unknown         Y
                                                                      Miami, FL 33160
        Dennis Duesing & Cherie Duesing Trustees of the Duesing 1994 P O Box 2898                          Marlton Square                    Unknown         Y
        Trust                                                         Pahrump, NV 89041
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Lerin Hills                       Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Lerin Hills                       Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Lerin Hills                       Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Opaque/Mt. Edge $7,350,000        Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Opaque/Mt. Edge $7,350,000        Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Opaque/Mt. Edge $7,350,000        Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Amesbury/Hatters Point            Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Amesbury/Hatters Point            Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Amesbury/Hatters Point            Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            BarUSA/$15,300,000                Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            BarUSA/$15,300,000                Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           BarUSA/$15,300,000                Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Hasley Canyon                     Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Hasley Canyon                     Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Hasley Canyon                     Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Fiesta Oak Valley                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Fiesta Oak Valley                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Fiesta Oak Valley                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Bay Pompano Beach                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Bay Pompano Beach                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 NE 38th Ct Apt #1803           Bay Pompano Beach                 Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Brookmere/Matteson $27,050,000    Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust 20155 Porto Vita Way 1803            Brookmere/Matteson $27,050,000    Unknown         Y
        dated 1/21/98                                                 Aventura, FL 33180




SCHEDULES                                                                                 Exhibit B-21                                                      PAGE 51
               Case 06-10725-gwz                              Doc 682-1              Entered 06/15/06 23:55:42                  Page 27 of 50



In re             USA Commercial Mortgage Company                        ,                                                                     Case No. 06-10725-LBR
                                     Debtor                                                                                                                 (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                                Description and Location of Property                                                   Property


                                  Legal vesting                                      Mailing Address                   Loan Name                 Amount     Contingent
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust    20155 NE 38th Ct Apt #1803    Brookmere/Matteson $27,050,000           Unknown         Y
        dated 1/21/98                                                    Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- Riviera 2nd                         Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- Riviera 2nd                         Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    HFA- Riviera 2nd                         Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Huntsville                               Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Huntsville                               Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Huntsville                               Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Lerin Hills                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Lerin Hills                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Lerin Hills                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Margarita Annex                          Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Margarita Annex                          Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Margarita Annex                          Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Marlton Square 2nd                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Marlton Square 2nd                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Marlton Square 2nd                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- North Yonkers                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- North Yonkers                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    HFA- North Yonkers                       Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180            L.L.C.
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180            L.L.C.
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180            L.L.C.
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Marquis Hotel                            Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Marquis Hotel                            Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Marquis Hotel                            Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Tapia Ranch                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Tapia Ranch                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Tapia Ranch                              Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Placer Vineyards 2nd                     Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Placer Vineyards 2nd                     Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180




SCHEDULES                                                                             Exhibit B-21                                                             PAGE 52
               Case 06-10725-gwz                              Doc 682-1              Entered 06/15/06 23:55:42                  Page 28 of 50



In re             USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                          (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                                Description and Location of Property                                            Property


                                  Legal vesting                                      Mailing Address                   Loan Name          Amount     Contingent
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Placer Vineyards 2nd              Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     BarUSA/$15,300,000                Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     BarUSA/$15,300,000                Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    BarUSA/$15,300,000                Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- Clear Lake                   Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     HFA- Clear Lake                   Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    HFA- Clear Lake                   Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Amesbury/Hatters Point            Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Amesbury/Hatters Point            Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Amesbury/Hatters Point            Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Opaque/Mt. Edge $7,350,000        Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Opaque/Mt. Edge $7,350,000        Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Opaque/Mt. Edge $7,350,000        Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Bay Pompano Beach                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Bay Pompano Beach                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Bay Pompano Beach                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Hasley Canyon                     Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Hasley Canyon                     Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Hasley Canyon                     Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Eagle Meadows Development         Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Eagle Meadows Development         Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Eagle Meadows Development         Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Fiesta Oak Valley                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Fiesta Oak Valley                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Fiesta Oak Valley                 Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Brookmere/Matteson $27,050,000    Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Brookmere/Matteson $27,050,000    Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Brookmere/Matteson $27,050,000    Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Goss Road                         Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 Porto Vita Way 1803     Goss Road                         Unknown           Y
        Trust dated 6/29/87                                              Aventura, FL 33180




SCHEDULES                                                                             Exhibit B-21                                                      PAGE 53
               Case 06-10725-gwz                             Doc 682-1               Entered 06/15/06 23:55:42                    Page 29 of 50



In re             USA Commercial Mortgage Company                        ,                                                                     Case No. 06-10725-LBR
                                    Debtor                                                                                                                  (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                               Description and Location of Property                                                    Property


                                 Legal vesting                                       Mailing Address                   Loan Name                 Amount     Contingent
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit   20155 NE 38th Ct Apt #1803    Goss Road                                Unknown         Y
        Trust dated 6/29/87                                              Aventura, FL 33180
        Dennis G. Lack & Linda J. Lack Co-Trustees of The Dennis &       17654 Yellow Pine Ave         Marquis Hotel                            Unknown         Y
        Linda Lack Family Trust dated August 23, 2005                    Shasta Lake, CA 96019
        Dennis G. Stanek, a single man                                   8456 Pacific Springs Ave      HFA- Riviera 2nd                         Unknown         Y
                                                                         Las Vegas, NV 89117
        Dennis J. Dalton & Barbara Dalton, husband & wife, as joint      P O Box 402                   Huntsville                               Unknown         Y
        tenants with right of survivorship                               Hatch, UT 84735
        Dennis J. Dalton & Barbara Dalton, husband & wife, as joint      P O Box 402                   Huntsville                               Unknown         Y
        tenants with right of survivorship                               Hatch, UT 84735
        Dennis J. O'Hare & Irene R. O'Hare Trustees of the Irene R.      4844 E Eden Drive             Amesbury/Hatters Point                   Unknown         Y
        O'Hare Trust dated 7/28/88                                       Cave Creek, AZ 85331
        Dennis J. Ward & Patricia A. Ward Trustees of the Ward Trust     1928 Windward Pt              6425 Gess, LTD                           Unknown         Y
        dated 5/21/96                                                    Byron, CA 94514
        Dennis L. London Trustee of the London Trust dated 9/20/99       301 W Leslie St # 58          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                         Pahrump, NV 89060
        Dennis M. Chegwin and Vicki L. Chegwin, Trustees of the          78530 Arapahoe Dr.            Midvale Marketplace, LLC                 Unknown         Y
        Chegwin 1989 Revocable Trust dated 4/13/89                       Indian Wells, CA 92210
        Dennis M. Greco & Gloria J. Greco, husband & wife, as joint      2515 Perryville Dr            Placer Vineyards 2nd                     Unknown         Y
        tenants with right of survivorship                               Reno, NV 89521
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 HFA- North Yonkers                       Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Placer Vineyards                         Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Opaque/Mt. Edge $7,350,000               Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Golden State Investments II              Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Midvale Marketplace, LLC                 Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Shamrock Tower, LP                       Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 HFA- Windham                             Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Gramercy Court Condos                    Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Gateway Stone                            Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 6425 Gess, LTD                           Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Hasley Canyon                            Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Clear Creek Plantation                   Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Raggi, a married man dealing with his sole & separate     P O Box 10475                 Copper Sage Commerce Center, LLC         Unknown         Y
        property                                                         Zephyr Cove, NV 89448
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint     1312 Jackie Ln                Margarita Annex                          Unknown         Y
        tenants with right of survivorship                               Minden, NV 89423
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint     1312 Jackie Ln                6425 Gess, LTD                           Unknown         Y
        tenants with right of survivorship                               Minden, NV 89423
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint     1312 Jackie Ln                Bay Pompano Beach                        Unknown         Y
        tenants with right of survivorship                               Minden, NV 89423
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint     1312 Jackie Ln                Gateway Stone                            Unknown         Y
        tenants with right of survivorship                               Minden, NV 89423
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint     1312 Jackie Ln                HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                               Minden, NV 89423
        Dennis W. Boegel, a married man, and Cynthia Reed, a married     113 Silver Aspen Crt          Amesbury/Hatters Point                   Unknown         Y
        woman, as joint tenants with the right of survivorship           Galt, CA 95632
        Derby Investors, LLC                                             6223 Buffalo Run              Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Littleton, CO 80125           L.L.C.




SCHEDULES                                                                             Exhibit B-21                                                             PAGE 54
               Case 06-10725-gwz                            Doc 682-1                Entered 06/15/06 23:55:42                    Page 30 of 50



In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Derby Investors, LLC                                              6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        Derby Investors, LLC                                              6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        Derby Investors, LLC                                              6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        Derby Investors, LLC                                              6223 Buffalo Run             Placer Vineyards 2nd                     Unknown         Y
                                                                          Littleton, CO 80125
        Derby Investors, LLC                                              6223 Buffalo Run             Placer Vineyards 2nd                     Unknown         Y
                                                                          Littleton, CO 80125
        Derby Investors, LLC                                              6223 Buffalo Run             Placer Vineyards 2nd                     Unknown         Y
                                                                          Littleton, CO 80125
        Derby Investors, LLC                                              6223 Buffalo Run             Placer Vineyards 2nd                     Unknown         Y
                                                                          Littleton, CO 80125
        Derrick Spatorico & Laurie Spatorico, joint tenants with right of 47 Vineyard Hill             Amesbury/Hatters Point                   Unknown         Y
        survivorship                                                      Fairport, NY 14450
        Diana E. Battle, a married woman dealing with her sole &          214 Wayland St               BarUSA/$15,300,000                       Unknown         Y
        separate property                                                 San Francisco, CA 94134
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              Fiesta USA/Stoneridge                    Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              HFA- Clear Lake                          Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              Gateway Stone                            Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              Bay Pompano Beach                        Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              Amesbury/Hatters Point                   Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & 977 W Hano Circle              Gramercy Court Condos                    Unknown         Y
        Diana F. Weiland Trust                                            Ivins, UT 84738
        Diana Forde, TTEE of the Michelle Revocable Trust dated           4956 Ridge Drive #83         Amesbury/Hatters Point                   Unknown         Y
        05/03/02                                                          Las Vegas, NV 89103
        Diana Forde, TTEE of the Michelle Revocable Trust dated           4956 Ridge Drive #83         Tapia Ranch                              Unknown         Y
        05/03/02                                                          Las Vegas, NV 89103
        Diane M. Fruth, Trustee of the Diane M. Fruth Revocable Living 3363 Rolan Court                Midvale Marketplace, LLC                 Unknown         Y
        Trust dated 10/22/01                                              Las Vegas, NV 89121
        Dick Wiechers Trustee of the Wiechers Family Trust                136 Bernoulli Street         HFA- North Yonkers                       Unknown         Y
                                                                          Reno, NV 89506
        Dina Ladd, a single woman                                         355 Mogul Mountain Dr        Gramercy Court Condos                    Unknown         Y
                                                                          Reno, NV 89523
        Dina Ladd, a single woman                                         355 Mogul Mountain Dr        HFA- North Yonkers                       Unknown         Y
                                                                          Reno, NV 89523
        Dina Ladd, a single woman                                         355 Mogul Mountain Dr        Castaic Partners II, LLC                 Unknown         Y
                                                                          Reno, NV 89523
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust      1333 Keene Rd Rte 3          BarUSA/$15,300,000                       Unknown         Y
                                                                          Ladysmith, BC
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust      1333 Keene Rd Rte 3          Bay Pompano Beach                        Unknown         Y
                                                                          Ladysmith, BC
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust      1333 Keene Rd Rte 3          HFA- North Yonkers                       Unknown         Y
                                                                          Ladysmith, BC
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust      1333 Keene Rd Rte 3          Marlton Square                           Unknown         Y
                                                                          Ladysmith, BC
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust      1333 Keene Rd Rte 3          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                          Ladysmith, BC
        Dolores Larragueta Trustee of The Harold Larragueta Family        244 Castellana South         Opaque/Mt. Edge $7,350,000               Unknown         Y
        Trust dated 12/24/86                                              Palm Desert, CA 92260
        Dolores M. Hart, Trustee of the Hart Family Trust dated 8/30/99 P O Box 442                    Tapia Ranch                              Unknown         Y
                                                                          Genoa, NV 89411
        Dominique Naylon, an unmarried woman                              P O Box 2                    Anchor B, LLC                            Unknown         Y
                                                                          Topaz, CA 96133




SCHEDULES                                                                             Exhibit B-21                                                             PAGE 55
                Case 06-10725-gwz                                Doc 682-1            Entered 06/15/06 23:55:42                  Page 31 of 50



In re             USA Commercial Mortgage Company                         ,                                                            Case No. 06-10725-LBR
                                     Debtor                                                                                                         (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                                 Description and Location of Property                                          Property


                                  Legal vesting                                       Mailing Address                   Loan Name         Amount    Contingent
        Dominique Naylon, an unmarried woman                              P O Box 2                     Gramercy Court Condos           Unknown            Y
                                                                          Topaz, CA 96133
        Dominique Naylon, an unmarried woman                              P O Box 2                     Wasco Investments               Unknown            Y
                                                                          Topaz, CA 96133
        Don A. Stiles Trustee of the Stiles Trust dated 4/2/96            1708 Arrow Wood Dr            BarUSA/$15,300,000              Unknown            Y
                                                                          Reno, NV 89521
        Don A. Stiles Trustee of the Stiles Trust dated 4/2/96            1708 Arrow Wood Dr            Gramercy Court Condos           Unknown            Y
                                                                          Reno, NV 89521
        Don Bruce & Kim Bruce Trustees of the Bruce Living Trust          1761 Montelena Court          BarUSA/$15,300,000              Unknown            Y
        dated 9/27/01                                                     Carson City, NV 89703
        Don D. Meyer, an unmarried man & Dennis E. Hein, an               3425 E Russell Road 247       Placer Vineyards                Unknown            Y
        unmarried man, as joint tenants with right of survivorship        Las Vegas, NV 89120
        Don D. Meyer, an unmarried man & Dennis E. Hein, an               3425 E Russell Road 247       Lerin Hills                     Unknown            Y
        unmarried man, as joint tenants with right of survivorship        Las Vegas, NV 89120
        Don F. Carrier & Sara L. Carrier Trustees of the Carrier Family   3175 Greensburg Circle        Bay Pompano Beach               Unknown            Y
        Trust dated 8/9/91                                                Reno, NV 89509
        Don F. Carrier & Sara L. Carrier Trustees of the Carrier Family   3175 Greensburg Circle        Placer Vineyards                Unknown            Y
        Trust dated 8/9/91                                                Reno, NV 89509
        Don P. Marshall Trustee of the Don P. Marshall Trust dated        221 Chiquita Road             Gramercy Court Condos           Unknown            Y
        7/18/95                                                           Healdsburg, CA 95448
        Don P. Marshall Trustee of the Don P. Marshall Trust dated        221 Chiquita Road             Tapia Ranch                     Unknown            Y
        7/18/95                                                           Healdsburg, CA 95448
        Don P. Marshall Trustee of the Don P. Marshall Trust dated        221 Chiquita Road             Amesbury/Hatters Point          Unknown            Y
        7/18/95                                                           Healdsburg, CA 95448
        Don P. Marshall Trustee of the Don P. Marshall Trust dated        221 Chiquita Road             Huntsville                      Unknown            Y
        7/18/95                                                           Healdsburg, CA 95448
        Don P. Marshall Trustee of the Don P. Marshall Trust dated        221 Chiquita Road             HFA- North Yonkers              Unknown            Y
        7/18/95                                                           Healdsburg, CA 95448
        Donald Swezey & Beverly W. Swezey Trustee of the Donald           3666 Cherokee Drive           Gramercy Court Condos           Unknown            Y
        Swezey & Beverly W. Swezey Trust dated 2/20/01                    Carson City, NV 89705
        Donald A. Gandolfo & Margaret D. Gandolfo, husband & wife,        1724 Arrow Wood Drive         BarUSA/$15,300,000              Unknown            Y
        as joint tenants with the right of survivorship                   Reno, NV 89521
        Donald A. Gandolfo & Margaret D. Gandolfo, husband & wife,        1724 Arrow Wood Drive         Wasco Investments               Unknown            Y
        as joint tenants with the right of survivorship                   Reno, NV 89521
        Donald A. Herrmann & Nancy E. Herrmann, husband & wife, as        15212 Stinson Dr              HFA- Windham                    Unknown            Y
        joint tenants with right of survivorship                          Grass Valley, CA 95949
        Donald A. Herrmann & Nancy E. Herrmann, husband & wife, as        15212 Stinson Dr              Margarita Annex                 Unknown            Y
        joint tenants with right of survivorship                          Grass Valley, CA 95949
        Donald A. Herrmann & Nancy E. Herrmann, husband & wife, as        15212 Stinson Dr              Gramercy Court Condos           Unknown            Y
        joint tenants with right of survivorship                          Grass Valley, CA 95949
        Donald Besemer, an unmarried man                                  11417 Red Dog Road            Gateway Stone                   Unknown            Y
                                                                          Nevada City, CA 95959
        Donald Briney Trustee of the Briney Family Trust                  16757 Hillside Drive          Anchor B, LLC                   Unknown            Y
                                                                          Chino Hill, CA 91709
        Donald Briney Trustee of the Briney Family Trust                  16757 Hillside Drive          Anchor B, LLC                   Unknown            Y
                                                                          Chino Hill, CA 91709
        Donald C. Dunbar and Wanda Dunbar Trustees of the Dunbar          18124 Wedge Pkwy #153         Marlton Square 2nd              Unknown            Y
        Revocable Living Trust dated 11/21/1998                           Reno, NV 89511
        Donald C. Dunbar and Wanda Dunbar Trustees of the Dunbar          18124 Wedge Pkwy # 153        Marlton Square 2nd              Unknown            Y
        Revocable Living Trust dated 11/21/1998                           Reno, NV 89511
        Donald Dean Burger & Peggy T. Burger Trustees of the Burger       2790 S Torrey Pines Dr        Eagle Meadows Development       Unknown            Y
        1981 Trust                                                        Las Vegas, NV 89146
        Donald E. Briney Trustee of the Briney Family Exemption Trust     16757 Hillside Drive          Gramercy Court Condos           Unknown            Y
        dated 11/5/82                                                     Chino Hill, CA 91709
        Donald E. Briney Trustee of the Briney Family Exemption Trust     16757 Hillside Drive          Gramercy Court Condos           Unknown            Y
        dated 11/5/82                                                     Chino Hill, CA 91709
        Donald E. Briney Trustee of the Briney Family Exemption Trust     16757 Hillside Drive          Gateway Stone                   Unknown            Y
        dated 11/5/82                                                     Chino Hill, CA 91709
        Donald E. Briney Trustee of the Briney Family Exemption Trust     16757 Hillside Drive          Gateway Stone                   Unknown            Y
        dated 11/5/82                                                     Chino Hill, CA 91709




SCHEDULES                                                                             Exhibit B-21                                                     PAGE 56
               Case 06-10725-gwz                             Doc 682-1                Entered 06/15/06 23:55:42                  Page 32 of 50



In re             USA Commercial Mortgage Company                          ,                                                           Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                        Mailing Address                   Loan Name         Amount    Contingent
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  BarUSA/$15,300,000              Unknown            Y
        Trust                                                              Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  BarUSA/$15,300,000              Unknown            Y
        Trust                                                              Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  HFA- Riviera 2nd                Unknown            Y
        Trust                                                              Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  HFA- Riviera 2nd                Unknown            Y
        Trust                                                              Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  Gilroy                          Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  Gilroy                          Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  HFA- North Yonkers              Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  HFA- North Yonkers              Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  Wasco Investments               Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Burt & Connie L. Cejmer Trustees of the Burt Family      P O Box 158                  Wasco Investments               Unknown            Y
        Trust #2                                                           Camptonville, CA 95922
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Fiesta Oak Valley               Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72635
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Fiesta Oak Valley               Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72653
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Gramercy Court Condos           Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72635
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Gramercy Court Condos           Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72653
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Placer Vineyards                Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72635
        Donald E. Redmon & Jaylyle Redmon Trustees of the Donald E.        51 Sanlo Lane                Placer Vineyards                Unknown            Y
        Redmon & Jaylyle Redmon Family Trust dated 10/31/95                Mountain Home, AR 72653
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint        417 West St                  Gilroy                          Unknown            Y
        tenants with right of survivorship                                 Wellsville, MO 63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint        417 West St                  HFA- Clear Lake                 Unknown            Y
        tenants with right of survivorship                                 Wellsville, MO 63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint        417 West St                  Bay Pompano Beach               Unknown            Y
        tenants with right of survivorship                                 Wellsville, MO 63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint        417 West St                  Amesbury/Hatters Point          Unknown            Y
        tenants with right of survivorship                                 Wellsville, MO 63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint        417 West St                  Placer Vineyards                Unknown            Y
        tenants with right of survivorship                                 Wellsville, MO 63384
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Opaque/Mt. Edge $7,350,000      Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Marquis Hotel                   Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Marlton Square 2nd              Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Margarita Annex                 Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Amesbury/Hatters Point          Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Fiesta Oak Valley               Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable   4381 W Hidden Valley         Cabernet                        Unknown            Y
        Living Trust                                                       Reno, NV 89502
        Donald Frey & Barbara Frey Trustees of The Frey Family Trust       926 W 3450 S                 Eagle Meadows Development       Unknown            Y
                                                                           Hurricane, UT 84737
        Donald Frey & Barbara Frey Trustees of The Frey Family Trust       926 W 3450 S                 Opaque/Mt. Edge $7,350,000      Unknown            Y
                                                                           Hurricane, UT 84737




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 57
               Case 06-10725-gwz                          Doc 682-1               Entered 06/15/06 23:55:42                   Page 33 of 50



In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Donald H. Forbes & Raquel R. Forbes Trustees of the Forbes     2199 Tiger Willow Dr          Fiesta Oak Valley                 Unknown            Y
        Revocable Trust dated 9/18/03                                  Henderson, NV 89012
        Donald H. Kwiatkowski & Sandra L. Kwiatkowski, husband &       15710 Dawson Creek Drive      Marlton Square                    Unknown            Y
        wife, as joint tenants with right of survivorship              Monument, CO 80132
        Donald H. Pinsker, an unmarried man                            8650 W Verde Way              Clear Creek Plantation            Unknown            Y
                                                                       Las Vegas, NV 89149
        Donald H. Pinsker, an unmarried man                            8650 W Verde Way              6425 Gess, LTD                    Unknown            Y
                                                                       Las Vegas, NV 89149
        Donald H. Pinsker, an unmarried man                            8650 W Verde Way              Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89149
        Donald H. Pinsker, an unmarried man                            8650 W Verde Way              Bay Pompano Beach                 Unknown            Y
                                                                       Las Vegas, NV 89149
        Donald H. Pinsker, an unmarried man                            8650 W Verde Way              Fiesta USA/Stoneridge             Unknown            Y
                                                                       Las Vegas, NV 89149
        Donald L. Hess, an unmarried man & Kay J. Hart, an unmarried   914 Shore Crest Rd            Fiesta Oak Valley                 Unknown            Y
        woman, as joint tenants with right of survivorship             Carlsbad, CA 92009
        Donald L. Hess, an unmarried man & Kay J. Hart, an unmarried   914 Shore Crest Rd            Fiesta Oak Valley                 Unknown            Y
        woman, as joint tenants with right of survivorship             Carlsbad, CA 92009
        Donald L. Hess, an unmarried man & Kay J. Hart, an unmarried   914 Shore Crest Rd.           Fiesta Oak Valley                 Unknown            Y
        woman, as joint tenants with right of survivorship             Carlsbad, CA 92009
        Donald M. Berman & Janice I. Berman Trustees of the Donald     3775 Clover Way               Amesbury/Hatters Point            Unknown            Y
        M. & Janice I. Berman 1996 Revocable Trust                     Reno, NV 89509
        Donald M. Driscoll and Nikki M. Driscoll, Co-Trustees of the   2928 Aqualine Court           Gramercy Court Condos             Unknown            Y
        Driscoll Family Trust Agreement dated March 15, 2005           Las Vegas, NV 89117
        Donald M. Smith & Frances L. Smith Trustees of the Donald M.   18875 Live Oak Rd             HFA- Riviera 2nd                  Unknown            Y
        Smith & Frances L. Smith Revocable Trust dated 7/26/93         Red Bluff, CA 96080
        Donald M. Smith & Frances L. Smith Trustees of the Donald M.   18875 Live Oak Rd             Opaque/Mt. Edge $7,350,000        Unknown            Y
        Smith & Frances L. Smith Revocable Trust dated 7/26/93         Red Bluff, CA 96080
        Donald M. Smith & Frances L. Smith Trustees of the Donald M.   18875 Live Oak Rd             Marlton Square 2nd                Unknown            Y
        Smith & Frances L. Smith Revocable Trust dated 7/26/93         Red Bluff, CA 96080
        Donald M. Smith & Frances L. Smith Trustees of the Donald M.   18875 Live Oak Rd             Marquis Hotel                     Unknown            Y
        Smith & Frances L. Smith Revocable Trust dated 7/26/93         Red Bluff, CA 96080
        Donald P. Clark Trustee of the Donald P. Clark Family Trust    305 W Moana Lane              Tapia Ranch                       Unknown            Y
        dated 10/25/94                                                 Reno, NV 89509
        Donald P. Clark Trustee of the Donald P. Clark Family Trust    305 W Moana Lane              HFA- Clear Lake                   Unknown            Y
        dated 10/25/94                                                 Reno, NV 89509
        Donald P. Clark Trustee of the Donald P. Clark Family Trust    305 W Moana Lane              Gateway Stone                     Unknown            Y
        dated 10/25/94                                                 Reno, NV 89509
        Donald P. Clark Trustee of the Donald P. Clark Family Trust    305 W Moana Lane              Anchor B, LLC                     Unknown            Y
        dated 10/25/94                                                 Reno, NV 89509
        Donald P. Clark Trustee of the Donald P. Clark Family Trust    305 W Moana Lane              Bay Pompano Beach                 Unknown            Y
        dated 10/25/94                                                 Reno, NV 89509
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Gramercy Court Condos             Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Tapia Ranch                       Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Marlton Square                    Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Harbor Georgetown                 Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Freeway 101                       Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Eagle Meadows Development         Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Bay Pompano Beach                 Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Ashby Financial $7,200,000        Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald    7145 Beverly Glen Ave         Amesbury/Hatters Point            Unknown            Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79   Las Vegas, NV 89110




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 58
               Case 06-10725-gwz                           Doc 682-1                Entered 06/15/06 23:55:42                        Page 34 of 50



In re            USA Commercial Mortgage Company                       ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                               (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                             Description and Location of Property                                                  Property


                                Legal vesting                                       Mailing Address                         Loan Name        Amount     Contingent
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald 7145 Beverly Glen Ave                   HFA- North Yonkers              Unknown         Y
        S. Tomlin & Dorothy R. Tomlin Revocable Trust dated 10/24/79 Las Vegas, NV 89110
        Donald T. Flood & Betty R. Flood Trustees of the Flood Family 3312 S McCarran Blvd. Ste 276         Placer Vineyards                Unknown         Y
        Trust dated 12/24/85                                             Reno, NV 89502
        Donald V. Twichell and Michelle Twichell, husband and wife, as 5385 Cross Creek Ln                  Gramercy Court Condos           Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89511
        Donald W. Brehm, a married man dealing with his sole &           16540 Daily Avenue                 Amesbury/Hatters Point          Unknown         Y
        separate property                                                Fountain Valley, CA 92708
        Donald W. Brehm, a married man dealing with his sole &           16540 Daily Avenue                 Placer Vineyards 2nd            Unknown         Y
        separate property                                                Fountain Valley, CA 92708
        Donald W. Cook Trustee of the Donald W. Cook Trust               2505 Anthem Village Dr Ste E-463   6425 Gess, LTD                  Unknown         Y
                                                                         Henderson, NV 89052
        Donald W. Cook Trustee of the Donald W. Cook Trust               2505 Anthem Village Dr Ste E-463   Marquis Hotel                   Unknown         Y
                                                                         Henderson, NV 89052
        Donald W. Cook Trustee of the Donald W. Cook Trust               2505 Anthem Village Dr Ste E-463   Gramercy Court Condos           Unknown         Y
                                                                         Henderson, NV 89052
        Donald W. Cook Trustee of the Donald W. Cook Trust               2505 Anthem Village Dr Ste E-463   Fiesta Oak Valley               Unknown         Y
                                                                         Henderson, NV 89052
        Donald W. Spring and Evelyn Mae Spring, husband and wife, as 3153 Canyon Oaks Terrace               Wasco Investments               Unknown         Y
        joint tenants with the right of survivorship                     Chico, CA 95928
        Donna Dunn Trustee of the Donna Dunn Trust dated 08/12/05        17042 Norlene Way                  Marquis Hotel                   Unknown         Y
                                                                         Grass Valley, CA 95949
        Donna J. Brooks, a single woman                                  5555 N Ocean Blvd # 12             Amesbury/Hatters Point          Unknown         Y
                                                                         Ft Lauderdale, FL 33308
        Donna J. Brooks, a single woman                                  5555 N Ocean Blvd # 12             Bay Pompano Beach               Unknown         Y
                                                                         Ft Lauderdale, FL 33308
        Donna J. Brooks, a single woman                                  5555 N Ocean Blvd # 12             Lerin Hills                     Unknown         Y
                                                                         Ft Lauderdale, FL 33308
        Donna J. Hellwinkel, a married woman dealing with her sole & 4555 Saddlehorn Drive                  Ashby Financial $7,200,000      Unknown         Y
        separate property                                                Reno, NV 89511
        Donna Lou Denny Trustee of The Denny 1983 Marital Trust          4350 Sleepy Hollow Dr              Gramercy Court Condos           Unknown         Y
        dated 2/14/83                                                    Reno, NV 89502
        Donna Lou Denny Trustee of The Denny 1983 Marital Trust          4350 Sleepy Hollow Dr              Placer Vineyards                Unknown         Y
        dated 2/14/83                                                    Reno, NV 89502
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Margarita Annex                 Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Placer Vineyards 2nd            Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Lerin Hills                     Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     HFA- Riviera 2nd                Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Hasley Canyon                   Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Amesbury/Hatters Point          Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     6425 Gess, LTD                  Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family 5860 Lausanne Drive                     Cabernet                        Unknown         Y
        Trust                                                            Reno, NV 89511
        Donna M. Elias Successor Trustee of the Elias Family Trust dated 900 Wilbur May Pkwy #1401          HFA- North Yonkers              Unknown         Y
        5/19/04                                                          Reno, NV 89521
        Donna M. Elias Successor Trustee of the Elias Family Trust dated 900 Wilbur May Pkwy #1401          Ten-Ninety, Ltd./$4,150,000     Unknown         Y
        5/19/04                                                          Reno, NV 89521
        Donna Webb, a single woman                                       500 N Estrella Pkwy Ste B2-405     Placer Vineyards                Unknown         Y
                                                                         Goodyear, AZ 85338
        Dora R. Schutte, an unmarried woman                              116 Country Club Drive             Wasco Investments               Unknown         Y
                                                                         Jerome, ID 83338
        Doris D. Thatcher, an unmarried woman                            508 Eastgate Ct                    Marquis Hotel                   Unknown         Y
                                                                         Grand Junction, CO 81501




SCHEDULES                                                                            Exhibit B-21                                                          PAGE 59
               Case 06-10725-gwz                                Doc 682-1               Entered 06/15/06 23:55:42                  Page 35 of 50



In re             USA Commercial Mortgage Company                         ,                                                                       Case No. 06-10725-LBR
                                    Debtor                                                                                                                     (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                   Current Market Value of
                                                                                                                                                     Debtor's Interest in
                                                                Description and Location of Property                                                      Property


                                 Legal vesting                                          Mailing Address                    Loan Name                Amount     Contingent
        Doris E. Winter, Trustee of The Doris E. Winter Trust               2855 Olie Ann Place           Eagle Meadows Development                Unknown         Y
                                                                            Enumclaw, WA 98022
        Dorothea K Kraft, a unmarried woman                                 1010 Barnegat Lane            Bay Pompano Beach                        Unknown         Y
                                                                            Mantoloking, NJ 8738
        Dorothy Ellis, a single woman                                       2700 Otter Creek Ct #102      Fiesta Oak Valley                        Unknown         Y
                                                                            Las Vegas, NV 89117
        Dorothy J. Shope, a married woman dealing with her sole and         2833 Maryland Hills Dr        Bay Pompano Beach                        Unknown         Y
        separate property                                                   Henderson, NV 89052
        Douglas C. Sharp and Margaret Sharp, husband and wife, as joint 3128 E University Ave             HFA-Clear Lake 2nd                       Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89121
        Douglas C. Sharp and Margaret Sharp, husband and wife, as joint 3128 E University Ave             Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                                  Las Vegas, NV 89121           L.L.C.
        Douglas Carson Trustee of the Douglas W. Carson Trust               HC 34 Box 34153               Placer Vineyards                         Unknown         Y
                                                                            Ely, NV 89301
        Douglas Gregg Schulze & Doreen L. Schulze, husband & wife, as P O Box 788                         Marlton Square                           Unknown         Y
        joint tenants with right of survivorship                            Pipestone, MN 56164
        Douglas Gregg Schulze & Doreen L. Schulze, husband & wife, as P O Box 788                         HFA- Clear Lake                          Unknown         Y
        joint tenants with right of survivorship                            Pipestone, MN 56164
        Douglas Ho Trustee of the Douglas Ho GST Exempt Trust               P O Box 9025                  Amesbury/Hatters Point                   Unknown         Y
                                                                            Incline Village, NV 89452
        Douglas Littrell & Joani Littrell, husband & wife, as joint tenants 953 Bridgeport Way            HFA- North Yonkers                       Unknown         Y
        with right of survivorship                                          Rio Vista, CA 94571
        Douglas Littrell & Joani Littrell, husband & wife, as joint tenants 953 Bridgeport Way            Marquis Hotel                            Unknown         Y
        with right of survivorship                                          Rio Vista, CA 94571
        Douglas Littrell & Joani Littrell, husband & wife, as joint tenants 953 Bridgeport Way            BarUSA/$15,300,000                       Unknown         Y
        with right of survivorship                                          Rio Vista, CA 94571
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                HFA- North Yonkers                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              HFA- North Yonkers                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                BarUSA/$15,300,000                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              BarUSA/$15,300,000                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Lerin Hills                              Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Lerin Hills                              Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Marlton Square 2nd                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Marlton Square 2nd                       Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Hasley Canyon                            Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Hasley Canyon                            Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Fiesta USA/Stoneridge                    Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Fiesta USA/Stoneridge                    Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Bay Pompano Beach                        Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Bay Pompano Beach                        Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         1990 S Roop St                Fiesta Oak Valley                        Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter         5389 Conte Drive              Fiesta Oak Valley                        Unknown         Y
        Family 1994 Trust                                                   Carson City, NV 89701
        Douglas O'Herron & Nancy O'Herron Trustees of the Douglas & 5316 Byron Nelson Lane                Placer Vineyards                         Unknown         Y
        Nancy O'Herron Revocable Trust dated 4/2/02                         Las Vegas, NV 89149




SCHEDULES                                                                                Exhibit B-21                                                             PAGE 60
               Case 06-10725-gwz                           Doc 682-1               Entered 06/15/06 23:55:42                   Page 36 of 50



In re            USA Commercial Mortgage Company                      ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                  (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                             Description and Location of Property                                                     Property


                                Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Douglas O'Herron & Nancy O'Herron Trustees of the Douglas & 5316 Byron Nelson Lane            Marlton Square                           Unknown         Y
        Nancy O'Herron Revocable Trust dated 4/2/02                     Las Vegas, NV 89149
        Douglas O'Herron & Nancy O'Herron Trustees of the Douglas & 5316 Byron Nelson Lane            Gramercy Court Condos                    Unknown         Y
        Nancy O'Herron Revocable Trust dated 4/2/02                     Las Vegas, NV 89149
        Douglas S. Graham and Valerie L. Graham husband and wife as P O Box 276                       Eagle Meadows Development                Unknown         Y
        joint tenants, with rights of survivorship                      Cambria , CA 93428
        Douglas Tichenor & Susan Tichenor, husband & wife, as joint     6190 Jensen Street            HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89149
        Douglas Tichenor & Susan Tichenor, husband & wife, as joint     6190 Jensen Street            Tapia Ranch                              Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89149
        Douglas Tichenor & Susan Tichenor, husband & wife, as joint     6190 Jensen Street            Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89149
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family 7820 Settlers Ridge Lane      Fiesta Oak Valley                        Unknown         Y
        Trust dated 11-19-04                                            Las Vegas, NV 89145
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family 7820 Settlers Ridge Lane      Bay Pompano Beach                        Unknown         Y
        Trust dated 11-19-04                                            Las Vegas, NV 89145
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family 7820 Settlers Ridge Lane      Amesbury/Hatters Point                   Unknown         Y
        Trust dated 11-19-04                                            Las Vegas, NV 89145
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family 7820 Settlers Ridge Lane      Brookmere/Matteson $27,050,000           Unknown         Y
        Trust dated 11-19-04                                            Las Vegas, NV 89145
        Dr. Carole Talan, an unmarried woman                            1299 kingsbury Grade          Gateway Stone                            Unknown         Y
                                                                        Gardnerville, NV 89460
        Dr. Dale L. Westerhout, DDS, Trustee of the Dale L. Westerhout, 1 Charmaine Court             Riviera - Homes for America Holdings,    Unknown         Y
        DDS, Living Trust                                               Novato, CA 94949              L.L.C.
        Dr. Dale L. Westerhout, DDS, Trustee of the Dale L. Westerhout, 1 Charmaine Ct                Riviera - Homes for America Holdings,    Unknown         Y
        DDS, Living Trust                                               Novato, CA 94949              L.L.C.
        Dr. Dale L. Westerhout, DDS, Trustee of the Dale L. Westerhout, 1 Charmaine Court             Eagle Meadows Development                Unknown         Y
        DDS, Living Trust                                               Novato, CA 94949
        Dr. Dale L. Westerhout, DDS, Trustee of the Dale L. Westerhout, 1 Charmaine Ct                Eagle Meadows Development                Unknown         Y
        DDS, Living Trust                                               Novato, CA 94949
        Dr. Damon Paul Walton & Rebecca Jean Walton, husband &          19901 Timbered Estates Lane   Gateway Stone                            Unknown         Y
        wife, as joint tenants with right of survivorship               Carlinville, IL 62626
        Dr. Damon Paul Walton & Rebecca Jean Walton, husband &          19901 Timbered Estates Lane   Gateway Stone                            Unknown         Y
        wife, as joint tenants with right of survivorship               Carlinville, IL 62626
        Dr. Damon Paul Walton & Rebecca Jean Walton, husband &          19901 Timbered Estates Lane   HFA- North Yonkers                       Unknown         Y
        wife, as joint tenants with right of survivorship               Carlinville, IL 62626
        Dr. Damon Paul Walton & Rebecca Jean Walton, husband &          19901 Timbered Estates Lane   HFA- North Yonkers                       Unknown         Y
        wife, as joint tenants with right of survivorship               Carlinville, IL 62626
        Dr. Dana D. Keith, DDS a married man dealing with his sole and 6603 Rannoch Rd                Marlton Square                           Unknown         Y
        separate property                                               Bethesda, MD 20817
        Dr. David R. Enrico & Dr. Bonny K. Enrico, husband & wife, as 2072 Almyra Road                6425 Gess, LTD                           Unknown         Y
        joint tenants with right of survivorship                        Sparta, TN 38583
        Dr. David R. Enrico & Dr. Bonny K. Enrico, husband & wife, as 2072 Almyra Road                HFA- Clear Lake                          Unknown         Y
        joint tenants with right of survivorship                        Sparta, TN 38583
        Dr. David R. Enrico & Dr. Bonny K. Enrico, husband & wife, as 2072 Almyra Road                Margarita Annex                          Unknown         Y
        joint tenants with right of survivorship                        Sparta, TN 38583
        Dr. Dennis G. Campton Trustee of the Dennis G. Campton, MD 5741 Ken's Place                   Bay Pompano Beach                        Unknown         Y
        PSP dated 3/16/72                                               Pahrump, NV 89060
        Dr. Gary L. Kantor Trustee for the benefit of Kantor Nephrology 2816 Vista Del Sol            Marlton Square                           Unknown         Y
        Consultants Ltd. 401 (K) Profit Sharing Plan                    Las Vegas, NV 89120
        Dr. Gary L. Kantor Trustee for the benefit of Kantor Nephrology 1750 E Desert Inn Rd #200     Marlton Square                           Unknown         Y
        Consultants Ltd. 401 (K) Profit Sharing Plan                    Las Vegas, NV 89109
        Dr. Gary L. Kantor Trustee for the benefit of Kantor Nephrology 2816 Vista Del Sol            Marlton Square                           Unknown         Y
        Consultants Ltd. 401 (K) Profit Sharing Plan                    Las Vegas, NV 89120
        Dr. Gary L. Kantor, a married man dealing with his sole and     2816 Vista Del Sol            Marlton Square                           Unknown         Y
        separate property                                               Las Vegas, NV 89120
        Dr. Gary L. Kantor, a married man dealing with his sole and     1750 E Desert Inn Rd #200     Marlton Square                           Unknown         Y
        separate property                                               Las Vegas, NV 89109
        Dr. Gary L. Kantor, a married man dealing with his sole and     2816 Vista Del Sol            Marlton Square                           Unknown         Y
        separate property                                               Las Vegas, NV 89120




SCHEDULES                                                                           Exhibit B-21                                                              PAGE 61
               Case 06-10725-gwz                              Doc 682-1                Entered 06/15/06 23:55:42                  Page 37 of 50



In re             USA Commercial Mortgage Company                          ,                                                                     Case No. 06-10725-LBR
                                     Debtor                                                                                                                   (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                                Description and Location of Property                                                     Property


                                  Legal vesting                                        Mailing Address                   Loan Name                 Amount     Contingent
        Dr. Gary L. Kantor, an unmarried man                               2816 Vista Del Sol            6425 Gess, LTD                           Unknown         Y
                                                                           Las Vegas, NV 89120
        Dr. Gary L. Kantor, an unmarried man                               1750 E Desert Inn Rd #200     6425 Gess, LTD                           Unknown         Y
                                                                           Las Vegas, NV 89109
        Dr. Gary L. Kantor, an unmarried man                               2816 Vista Del Sol            6425 Gess, LTD                           Unknown         Y
                                                                           Las Vegas, NV 89120
        Dr. Henry C. Ayoub, a single man                                   1537 Tonada Way               Gramercy Court Condos                    Unknown         Y
                                                                           Las Vegas, NV 89117
        Dr. Henry C. Ayoub, a single man                                   1537 Tonada Way               Gramercy Court Condos                    Unknown         Y
                                                                           Las Vegas, NV 89117
        Dr. James & Tracy Murphy, Trustees of The Murphy Family            13005 Thunderbolt Dr          Cabernet                                 Unknown         Y
        Trust                                                              Reno, NV 89551
        Dr. Joselito Tan Burgos Jr. a single man                           30080 Oak Ave                 Amesbury/Hatters Point                   Unknown         Y
                                                                           Aitkin, MN 56431
        Dr. Joselito Tan Burgos Jr. a single man                           30080 Oak Ave                 Placer Vineyards                         Unknown         Y
                                                                           Aitkin, MN 56431
        Dr. Joselito Tan Burgos Jr. a single man                           30080 Oak Ave                 Placer Vineyards 2nd                     Unknown         Y
                                                                           Aitkin, MN 56431
        Dr. Lawrence M. Janus, MD & Nancy Janus Trustees of the            1950 Hidden Meadows Dr        Shamrock Tower, LP                       Unknown         Y
        Janus Trust dated 5/11/84                                          Reno, NV 89502
        Dr. Melody A. Pfingsten, an unmarried woman and Crystal            43613 Southerland Way         Marlton Square 2nd                       Unknown         Y
        Wittich, an unmarried woman, as joint tenants with the rights of   Fremont, CA 94539
        survivorship
        Dr. Russell Gordon Tilley Millar Trustee of the R.G.T. Millar      923 Ceres Road                BarUSA/$15,300,000                       Unknown         Y
        Trust dated 6-28-1988                                              Palm Springs, CA 92262
        Dr. Russell Gordon Tilley Millar Trustee of the R.G.T. Millar      923 Ceres Road                Bay Pompano Beach                        Unknown         Y
        Trust dated 6-28-1988                                              Palm Springs, CA 92262
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Lerin Hills                              Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd      Lerin Hills                              Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Lerin Hills                              Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood , FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     HFA-Clear Lake 2nd                       Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd      HFA-Clear Lake 2nd                       Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     HFA-Clear Lake 2nd                       Unknown         Y
        wife, as joint tenants with right of survivorship Acct.#2          Longwood , FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Hasley Canyon                            Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd      Hasley Canyon                            Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Hasley Canyon                            Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood , FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Riviera - Homes for America Holdings,    Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779            L.L.C.
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd      Riviera - Homes for America Holdings,    Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779            L.L.C.
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Riviera - Homes for America Holdings,    Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood , FL 32779           L.L.C.
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Lerin Hills                              Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd      Lerin Hills                              Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood, FL 32779
        Dr. Stanley Alexander and Florence Alexander, husband and          812 Sweetwater Club Blvd.     Lerin Hills                              Unknown         Y
        wife, as joint tenants with the rights of survivorship             Longwood , FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust       812 Sweetwater Club Blvd.     Placer Vineyards                         Unknown         Y
                                                                           Longwood, FL 32779




SCHEDULES                                                                               Exhibit B-21                                                             PAGE 62
               Case 06-10725-gwz                            Doc 682-1             Entered 06/15/06 23:55:42                     Page 38 of 50



In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                    Mailing Address                     Loan Name           Amount    Contingent
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd     Placer Vineyards                   Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    Placer Vineyards                   Unknown            Y
                                                                        Longwood , FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    Marquis Hotel                      Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd     Marquis Hotel                      Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    Marquis Hotel                      Unknown            Y
                                                                        Longwood , FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    HFA- North Yonkers                 Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd     HFA- North Yonkers                 Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    HFA- North Yonkers                 Unknown            Y
                                                                        Longwood , FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    Brookmere/Matteson $27,050,000     Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd     Brookmere/Matteson $27,050,000     Unknown            Y
                                                                        Longwood, FL 32779
        Dr. Stanley Alexander Trustee of the Stanley Alexander Trust    812 Sweetwater Club Blvd.    Brookmere/Matteson $27,050,000     Unknown            Y
                                                                        Longwood , FL 32779
        Dr. William L. Scheer and Mary L. Scheer trustees of The        206 Rainbow Canyon Blvd      BarUSA/$15,300,000                 Unknown            Y
        William L. Scheer and Mary L. Scheer Revocable Living Trust     Las Vegas, NV 89124
        Draper Family LLLP, a Colorado Partnership, Douglas W. Draper 53 Moss Way                    Marlton Square                     Unknown            Y
        and Leann T. Draper, General Partners                           Golden, CO 80401
        Drew Peterson & Amy Peterson, husband & wife, as joint tenants 802 Los Tavis Way             Wasco Investments                  Unknown            Y
        with right of survivorship                                      Boulder City, NV 89005
        Drs. Raymond J. Clay, Jr. & Joan Marie Clay, husband & wife, as 2794 Vista View Drive        Gateway Stone                      Unknown            Y
        joint tenants with right of survivorship                        Lewisville, TX 75067
        Drs. Raymond J. Clay, Jr. & Joan Marie Clay, husband & wife, as 2794 Vista View Drive        HFA- North Yonkers                 Unknown            Y
        joint tenants with right of survivorship                        Lewisville, TX 75067
        Duane B. Roberts, a single man                                  1200 Lakeshore Ave Apt 4F    HFA- Windham                       Unknown            Y
                                                                        Oakland, CA 94606
        Duane Steward and Diane J. Steward, husband and wife, as joint 600 Muirfield Court           6425 Gess, LTD                     Unknown            Y
        tenants with the right of survivorship                          Modesto, CA 95356
        Duane Steward and Diane J. Steward, husband and wife, as joint 600 Muirfield Court           Gateway Stone                      Unknown            Y
        tenants with the right of survivorship                          Modesto, CA 95356
        Duane Steward and Diane J. Steward, husband and wife, as joint 600 Muirfield Court           Marlton Square                     Unknown            Y
        tenants with the right of survivorship                          Modesto, CA 95356
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Midvale Marketplace, LLC           Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Midvale Marketplace, LLC           Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Midvale Marketplace, LLC           Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Debra L. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Gramercy Court Condos              Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP       774 Mays Blvd #10 PMB 186    Bundy Canyon $1,050,000            Unknown            Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451




SCHEDULES                                                                          Exhibit B-21                                                        PAGE 63
               Case 06-10725-gwz                          Doc 682-1               Entered 06/15/06 23:55:42                      Page 39 of 50



In re            USA Commercial Mortgage Company                     ,                                                                 Case No. 06-10725-LBR
                                  Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                       Loan Name        Amount     Contingent
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP      774 Mays Blvd #10 PMB 186       Bundy Canyon $1,050,000          Unknown           Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451
        Duane U. Deverill Trustee of the Nevada Freedom Corp. PSP      774 Mays Blvd #10 PMB 186       Bundy Canyon $1,050,000          Unknown           Y
        dated 10/1/90 AMD 9/1/95 For the Benefit of Duane U. Deverill Incline Village, NV 89451
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley CT              6425 Gess, LTD                   Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              6425 Gess, LTD                   Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              6425 Gess, LTD                   Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley CT              Freeway 101                      Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Freeway 101                      Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Freeway 101                      Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley CT              Marquis Hotel                    Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Marquis Hotel                    Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Marquis Hotel                    Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley CT              Placer Vineyards                 Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Placer Vineyards                 Unknown           Y
                                                                       Reno, NV 89502
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA 5426 Hidden Valley Ct              Placer Vineyards                 Unknown           Y
                                                                       Reno, NV 89502
        Dwayne H. Deutscher and Michelle T. Deutscher, husband and     5430 Fenton Way                 Gramercy Court Condos            Unknown           Y
        wife, as joint tenants with the right of survivorship          Granite Bay, CA 95746
        Dwight J. Yoder & Nancy E. Yoder Trustees of the Yoder Family 24 Santa Catalina Drive          Lerin Hills                      Unknown           Y
        Trust dated 10/25/00                                           Rancho Palos Verdes, CA 90275
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Eagle Meadows Development        Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Eagle Meadows Development        Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Eagle Meadows Development        Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gateway Stone                    Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gateway Stone                    Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gateway Stone                    Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gramercy Court Condos            Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gramercy Court Condos            Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff Trustees of the Harouff 5680 Ruffian Road                 Gramercy Court Condos            Unknown           Y
        Charitable Remainder Trust 9/5/96                              Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff, joint tenants with right 5680 Ruffian Road               Marlton Square                   Unknown           Y
        of survivorship                                                Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff, joint tenants with right 5680 Ruffian Road               Marlton Square                   Unknown           Y
        of survivorship                                                Las Vegas, NV 89149
        Dwight W. Harouff & Mary Ann Harouff, joint tenants with right 5680 Ruffian Road               Marlton Square                   Unknown           Y
        of survivorship                                                Las Vegas, NV 89149
        E. C. Yegen a married man dealing with his sole & separate     P O Box 4900                    Bay Pompano Beach                Unknown           Y
        property                                                       Casper, WY 82604
        E. Christian Nelson & Dan F. Nelson Co-Trustees of The Reva    172 W 1720 N                    Amesbury/Hatters Point           Unknown           Y
        H. Nelson Family Trust                                         Orem, UT 84057




SCHEDULES                                                                          Exhibit B-21                                                        PAGE 64
               Case 06-10725-gwz                           Doc 682-1               Entered 06/15/06 23:55:42                     Page 40 of 50



In re            USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        E. Grace Marston Trustee of the Marston Family Trust dated       12441 Road 44                HFA- North Yonkers                Unknown           Y
        8/13/93                                                          Mancos, CO 81328
        E. Grace Marston Trustee of the Marston Family Trust dated       12441 Road 44                Midvale Marketplace, LLC          Unknown           Y
        8/13/93                                                          Mancos, CO 81328
        E. Grace Marston Trustee of the Marston Family Trust dated       12441 Road 44                Eagle Meadows Development         Unknown           Y
        8/13/93                                                          Mancos, CO 81328
        E. June Smith Trustee of the Todd & E. June Smith Family Trust   2796 Misty View Way          Placer Vineyards 2nd              Unknown           Y
                                                                         Sierra Vista, AZ 85650
        E. June Smith Trustee of the Todd & E. June Smith Family Trust 2796 Misty View Way            Placer Vineyards 2nd              Unknown           Y
                                                                         Sierra Vista, AZ 85650
        E. June Smith Trustee of the Todd & E. June Smith Family Trust 2796 Misty View Way            HFA- Riviera 2nd                  Unknown           Y
                                                                         Sierra Vista, AZ 85650
        E. June Smith Trustee of the Todd & E. June Smith Family Trust 2796 Misty View Way            HFA- Riviera 2nd                  Unknown           Y
                                                                         Sierra Vista, AZ 85650
        Earl Hauserman & Bette Hauserman, Husband and wife as joint 201 International Dr #752         Eagle Meadows Development         Unknown           Y
        tenants with right of survivorship                               Cape Canaveral, FL 32920
        Earl Hauserman & Bette Hauserman, Husband and wife as joint 201 International Dr # 752        Eagle Meadows Development         Unknown           Y
        tenants with right of survivorship                               Cape Canaveral, FL 32920
        Earl Hauserman & Bette Hauserman, Husband and wife as joint 201 International Dr #752         Gramercy Court Condos             Unknown           Y
        tenants with right of survivorship                               Cape Canaveral, FL 32920
        Earl Hauserman & Bette Hauserman, Husband and wife as joint 201 International Dr # 752        Gramercy Court Condos             Unknown           Y
        tenants with right of survivorship                               Cape Canaveral, FL 32920
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Marquis Hotel                     Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Placer Vineyards                  Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Shamrock Tower, LP                Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Midvale Marketplace, LLC          Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Margarita Annex                   Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Gramercy Court Condos             Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                6425 Gess, LTD                    Unknown           Y
        property                                                         Reno, NV 89510
        Earl Howsley, Jr. a married man dealing with his sole & separate P O Box 11044                Amesbury/Hatters Point            Unknown           Y
        property                                                         Reno, NV 89510
        Earl Wigert Trustee of The Earl Wigert & Dorothy Wigert 1994 3115 Merrill Drive               Marquis Hotel                     Unknown           Y
        Revocable Trust                                                  Torrance, CA 90503
        Early R. Christian & Phyllis R. Christian, husband & wife, as    313 Torrey Pines Drive       Amesbury/Hatters Point            Unknown           Y
        joint tenants with right of survivorship                         Dayton, NV 89403
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried 115 S Deer Run Road              Placer Vineyards                  Unknown           Y
        woman, as joint tenants with right of survivorship               Carson City, NV 89701
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried 115 S Deer Run Road              HFA- Riviera 2nd                  Unknown           Y
        woman, as joint tenants with right of survivorship               Carson City, NV 89701
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried 115 S Deer Run Road              Bay Pompano Beach                 Unknown           Y
        woman, as joint tenants with right of survivorship               Carson City, NV 89701
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried 115 S Deer Run Road              Golden State Investments II       Unknown           Y
        woman, as joint tenants with right of survivorship               Carson City, NV 89701
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried 115 S Deer Run Road              Goss Road                         Unknown           Y
        woman, as joint tenants with right of survivorship               Carson City, NV 89701
        Edmound J. Joyce & Robin Joyce, husband & wife, as joint         316 Stellars Jay Drive       HFA- North Yonkers                Unknown           Y
        tenants with right of survivorship                               Highlands Ranch, CO 80129
        Edmund G. Gaylord and Betty Boese, husband and wife as joint 4202 Harbor Blvd                 HFA-Clear Lake 2nd                Unknown           Y
        tenants with the right of survivorship                           Port Charlotte, FL 33952
        Edmund G. Gaylord and Betty Boese, husband and wife as joint 4202 Harbor Blvd                 Marlton Square                    Unknown           Y
        tenants with the right of survivorship                           Port Charlotte, FL 33952




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 65
               Case 06-10725-gwz                           Doc 682-1               Entered 06/15/06 23:55:42                    Page 41 of 50



In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                  Loan Name           Amount     Contingent
        Edna P. Wilson, a married woman dealing with her sole &          512 Linden Ave               Placer Vineyards                  Unknown           Y
        separate property & Sloan D. Wilson, an unmarried man, as joint Grass Valley, CA 95945
        tenants with the right of survivorship
        Edward D. Earl and Marceline Earl, husband and wife, as joint    121 W Highland Dr            Bay Pompano Beach                 Unknown           Y
        tenants with the right of survivorship                           Henderson, NV 89015
        Edward D. Earl and Marceline Earl, husband and wife, as joint    121 W Highland Dr            Bay Pompano Beach                 Unknown           Y
        tenants with the right of survivorship                           Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Huntsville                        Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Huntsville                        Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Harbor Georgetown                 Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Harbor Georgetown                 Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Wasco Investments                 Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Wasco Investments                 Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Tapia Ranch                       Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Tapia Ranch                       Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Margarita Annex                   Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Margarita Annex                   Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            BarUSA/$15,300,000                Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            BarUSA/$15,300,000                Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            HFA- North Yonkers                Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            HFA- North Yonkers                Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Gramercy Court Condos             Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Gramercy Court Condos             Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Golden State Investments II       Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Golden State Investments II       Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            HFA- Windham                      Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            HFA- Windham                      Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Brookmere/Matteson $27,050,000    Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Brookmere/Matteson $27,050,000    Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Clear Creek Plantation            Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, a married man dealing with his sole and separate 121 W Highland Dr            Clear Creek Plantation            Unknown           Y
        property                                                         Henderson, NV 89015
        Edward D. Earl, an unmarried man & Marci Maxwell, an             121 W Highland Dr            Amesbury/Hatters Point            Unknown           Y
        unmarried woman                                                  Henderson, NV 89015
        Edward D. Lynch, a single man                                    3917 Parkview Terrace        Placer Vineyards                  Unknown           Y
                                                                         Riverside, CA 92501




SCHEDULES                                                                           Exhibit B-21                                                       PAGE 66
               Case 06-10725-gwz                         Doc 682-1              Entered 06/15/06 23:55:42                   Page 42 of 50



In re            USA Commercial Mortgage Company                    ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                (If known)




                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                            EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                          Description and Location of Property                                                     Property


                               Legal vesting                                     Mailing Address                 Loan Name                   Amount     Contingent
        Edward G. Loughlin                                            2636 Golden Sands Dr         Amesbury/Hatters Point                   Unknown         Y
                                                                      Las Vegas, NV 89128
        Edward G. Loughlin                                            2636 Golden Sands Drive      Amesbury/Hatters Point                   Unknown         Y
                                                                      Las Vegas, NV 89128
        Edward G. Loughlin, an unmarried man & Thelma E. Guevara, an 2636 Golden Sands Dr          Placer Vineyards                         Unknown         Y
        unmarried woman, as joint tenants with right of survivorship  Las Vegas, NV 89128
        Edward G. Loughlin, an unmarried man & Thelma E. Guevara, an 2636 Golden Sands Drive       Placer Vineyards                         Unknown         Y
        unmarried woman, as joint tenants with right of survivorship  Las Vegas, NV 89128
        Edward H. Kim, an unmarried man                               2101 W. Warm Springs #3814   Fiesta Oak Valley                        Unknown         Y
                                                                      Henderson, NV 89014
        Edward H. Kim, an unmarried man                               2101 W. Warm Springs #3814   Placer Vineyards                         Unknown         Y
                                                                      Henderson, NV 89014
        Edward J. Panyrek & Joan Panyrek, Grantors and/or Trustees of 1636 Kregel Ave              6425 Gess, LTD                           Unknown         Y
        the Edward & Joan Panyrek Trust dated August 11, 2005         Muskegon, MI 49442
        Edward J. Panyrek & Joan Panyrek, Grantors and/or Trustees of 1636 Kregel Ave              BarUSA/$15,300,000                       Unknown         Y
        the Edward & Joan Panyrek Trust dated August 11, 2005         Muskegon, MI 49442
        Edward J. Quinn & Darlene A. Quinn, husband & wife, as joint 660 NW Brookhaven Dr          Bay Pompano Beach                        Unknown         Y
        tenants with right of survivorship                            Lee's Summit, MO 64081
        Edward J. Quinn & Darlene A. Quinn, husband & wife, as joint 660 NW Brookhaven Dr          Freeway 101                              Unknown         Y
        tenants with right of survivorship                            Lee's Summit, MO 64081
        Edward J. Quinn & Darlene A. Quinn, husband & wife, as joint 660 NW Brookhaven Dr          Gilroy                                   Unknown         Y
        tenants with right of survivorship                            Lee's Summit, MO 64081
        Edward Kline and Leah Kline Trustees of the Edward Kline & 9932 Arbuckle Drive             Margarita Annex                          Unknown         Y
        Leah Kline Family Trust dated 7/9/91                          Las Vegas, NV 89134
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of 164 Shorett Drive                Freeway 101                              Unknown         Y
        The Schoonover Family Trust dated 2/23/04                     Friday Harbor, WA 98250
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of 164 Shorett Drive                Riviera - Homes for America Holdings,    Unknown         Y
        The Schoonover Family Trust dated 2/23/04                     Friday Harbor, WA 98250      L.L.C.
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of 164 Shorett Drive                Marlton Square 2nd                       Unknown         Y
        The Schoonover Family Trust dated 2/23/04                     Friday Harbor, WA 98250
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of 164 Shorett Drive                Bay Pompano Beach                        Unknown         Y
        The Schoonover Family Trust dated 2/23/04                     Friday Harbor, WA 98250
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of 164 Shorett Drive                Lerin Hills                              Unknown         Y
        The Schoonover Family Trust dated 2/23/04                     Friday Harbor, WA 98250
        Edward O. High, an unmarried man                              1413 Pelican Bay Trail       Shamrock Tower, LP                       Unknown         Y
                                                                      Winter Park, FL 32792
        Edward Ramos & Jacqueline Ramos Trustees of the Edward &      2330 Ridge Field Trail       Placer Vineyards 2nd                     Unknown         Y
        Jacqueline Ramos Family Trust dated 3/9/95                    Reno, NV 89523
        Edward Ramos & Jacqueline Ramos Trustees of the Edward &      2330 Ridge Field Trail       6425 Gess, LTD                           Unknown         Y
        Jacqueline Ramos Family Trust dated 3/9/95                    Reno, NV 89523
        Edward Roldan and Stephanie K. Roldan, husband and wife as    2816 Brianwood Court         Fiesta Oak Valley                        Unknown         Y
        joint tenants with the right of survivorship                  Las Vegas, NV 89134
        Edward Roldan and Stephanie K. Roldan, husband and wife as    1128 Brookline Circle        Fiesta Oak Valley                        Unknown         Y
        joint tenants with the right of survivorship                  Roseville, CA 95747
        Edward Roldan and Stephanie K. Roldan, husband and wife as    1128 Brookline Circle        BarUSA/$15,300,000                       Unknown         Y
        joint tenants with the right of survivorship                  Roseville, CA 95747
        Edward S. Debolt & Sharron DeBolt Trustees of the DeBolt      5650 Forest Circle           Placer Vineyards                         Unknown         Y
        Living Trust dated 7/30/01                                    Reno, NV 89511
        Edward Schreiber & Sally Schreiber Trustees of the Schreiber  9713 Geiger Peak Court       Placer Vineyards                         Unknown         Y
        Family Trust                                                  Las Vegas, NV 89148
        Edward Schreiber & Sally Schreiber Trustees of the Schreiber  9713 Geiger Peak Court       Wasco Investments                        Unknown         Y
        Family Trust                                                  Las Vegas, NV 89148
        Edward W. Homfeld, an unmarried man                           2515 N Atlantic Blvd         Lerin Hills                              Unknown         Y
                                                                      Fort Lauderdale, FL 33305
        Edward W. Homfeld, an unmarried man                           2515 N Atlantic Blvd         Lerin Hills                              Unknown         Y
                                                                      Ft Lauderdale, FL 33305
        Edward W. Homfeld, an unmarried man                           2515 N Atlantic Blvd         Eagle Meadows Development                Unknown         Y
                                                                      Fort Lauderdale, FL 33305
        Edward W. Homfeld, an unmarried man                           2515 N Atlantic Blvd         Eagle Meadows Development                Unknown         Y
                                                                      Ft Lauderdale, FL 33305




SCHEDULES                                                                        Exhibit B-21                                                              PAGE 67
               Case 06-10725-gwz                           Doc 682-1                Entered 06/15/06 23:55:42                      Page 43 of 50



In re            USA Commercial Mortgage Company                       ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                             Description and Location of Property                                                    Property


                                Legal vesting                                       Mailing Address                        Loan Name           Amount     Contingent
        Edward W. Homfeld, an unmarried man                               2515 N Atlantic Blvd            Gateway Stone                       Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Edward W. Homfeld, an unmarried man                               2515 N Atlantic Blvd            Gateway Stone                       Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Edwin C. Hansen & Rachel M. Hansen, joint tenants with right of 2549 Shettler Road                HFA- Clear Lake                     Unknown         Y
        survivorship                                                      Muskegon, MI 49444
        Edwin Isenberg, a married man dealing with his sole and separate 952 Las Lomas Avenue             Marlton Square                      Unknown         Y
        property                                                          Pacific Palisades, CA 90272
        Edwin L. Foreman and Dianne E. Foreman, Trustees of The           10109 Shenandoah Drive          HFA- North Yonkers                  Unknown         Y
        Edwin and Dianne Foreman Trust                                    Santee, CA 92071
        Edwin L. Foreman and Dianne E. Foreman, Trustees of The           10109 Shenandoah Drive          HFA-Clear Lake 2nd                  Unknown         Y
        Edwin and Dianne Foreman Trust                                    Santee, CA 92071
        Edwin L. Foreman and Dianne E. Foreman, Trustees of The           10109 Shenandoah Drive          Marlton Square 2nd                  Unknown         Y
        Edwin and Dianne Foreman Trust                                    Santee, CA 92071
        Edwin L. Foreman and Dianne E. Foreman, Trustees of The           10109 Shenandoah Drive          Gramercy Court Condos               Unknown         Y
        Edwin and Dianne Foreman Trust                                    Santee, CA 92071
        Edwin L. Hausler, Jr., Trustee for the Edwin Lowell Hausler, Jr. 4521 Pisa Dr                     Gilroy                              Unknown         Y
        Living Trust dated 1/3/92                                         Reno, NV 89509
        Edwin L. Hausler, Jr., Trustee for the Edwin Lowell Hausler, Jr. 4521 Pisa Dr                     Placer Vineyards                    Unknown         Y
        Living Trust dated 1/3/92                                         Reno, NV 89509
        Edwin L. Hausler, Jr., Trustee for the Edwin Lowell Hausler, Jr. 4521 Pisa Dr                     HFA- Clear Lake                     Unknown         Y
        Living Trust dated 1/3/92                                         Reno, NV 89509
        Edwin L. Hausler, Jr., Trustee for the Edwin Lowell Hausler, Jr. 4521 Pisa Dr                     Gramercy Court Condos               Unknown         Y
        Living Trust dated 1/3/92                                         Reno, NV 89509
        Edwin L. Perez, an unmarried man                                  806 N Hudson Avenue             Amesbury/Hatters Point              Unknown         Y
                                                                          Los Angeles, CA 90038
        Edwin L. Snelson & Barbara Snelson, husband & wife, as joint      2601 Konynenburg Lane           Fiesta Oak Valley                   Unknown         Y
        tenants with right of survivorship                                Modesto, CA 95356
        Edwin Perez & Antonia Perez, husband & wife, as joint tenants 806 N. Hudson Ave                   Placer Vineyards                    Unknown         Y
        with right of survivorship                                        Hollywood, CA 90038
        Egils N. Grieze, a married man dealing with his sole and separate 10811 Zoeller Ct.               Bay Pompano Beach                   Unknown         Y
        property                                                          Reno, NV 89511
        Eileen V. O'Sullivan, an unmarried woman                          730 E Probert Rd                Amesbury/Hatters Point              Unknown         Y
                                                                          Shelton, WA 98584
        Elaine M. Leitner and Craig A. Leitner, husband and wife, as      7226 Heatherwood Dr.            Marquis Hotel                       Unknown         Y
        joint tenants with right of survivorship                          Reno, NV 89523
        Elaine Mullin Trustee for the benefit of Elaine P. Mullin Trust   3115 Merrill Dr #37             6425 Gess, LTD                      Unknown         Y
        dated 8/6/90                                                      Torrance, CA 90503
        Elaine Mullin Trustee for the benefit of Elaine P. Mullin Trust   3115 Merrill Dr #37             Placer Vineyards                    Unknown         Y
        dated 8/6/90                                                      Torrance, CA 90503
        Elan Rael Gordon, an unmarried man                                80 Carlton Park Ave             Gramercy Court Condos               Unknown         Y
                                                                          London,
        Elan Reddell Trustee of the Elan Reddell Revocable Living Trust 6770 Hawaii Kai Dr #1006          Placer Vineyards                    Unknown         Y
        dated 8/4/03                                                      Honolulu, HI 96825
        Elan Reddell Trustee of the Elan Reddell Revocable Living Trust 6770 Hawaii Kai Dr #1006          Bay Pompano Beach                   Unknown         Y
        dated 8/4/03                                                      Honolulu, HI 96825
        Elan Reddell Trustee of the Elan Reddell Revocable Living Trust 6770 Hawaii Kai Dr #1006          HFA- North Yonkers                  Unknown         Y
        dated 8/4/03                                                      Honolulu, HI 96825
        Eldon N. Smith or his successor as Trustee under agreement with 370 N Pfeifferhorn Drive          Copper Sage Commerce Center, LLC    Unknown         Y
        Eldon and Caroly Smith Trust dated the 7th day of July 2005       Alpine, UT 84004
        Eleanor A. Couch Trustor and Trustee of the Eleanor Ada Couch 805 Cline Street                    BarUSA/$15,300,000                  Unknown         Y
        Trust Dtd 12/29/2005                                              Las Vegas, NV 89128
        Eleanor L. Rogers Trustee of the Eleanor L. Rogers 1991           22 Lopez Avenue                 Marlton Square                      Unknown         Y
        Revocable Living Trust dated 7/3/91                               San Francisco, CA 94116
        Eleanor L. Rogers Trustee of the Eleanor L. Rogers 1991           22 Lopez Avenue                 HFA- Clear Lake                     Unknown         Y
        Revocable Living Trust dated 7/3/91                               San Francisco, CA 94116
        Eleanor Newton, TTEE, The Eleanor A. Newton Family Trust          3320 Thorndale Road             Eagle Meadows Development           Unknown         Y
        dtd 4/27/1995                                                     Pasadena, CA 91107
        Eleanor Varelli                                                   1212 N Lake Shore Dr Apt 23CN   Margarita Annex                     Unknown         Y
                                                                          Chicago, IL 60610




SCHEDULES                                                                            Exhibit B-21                                                            PAGE 68
               Case 06-10725-gwz                           Doc 682-1                Entered 06/15/06 23:55:42                    Page 44 of 50



In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                             Description and Location of Property                                                Property


                                Legal vesting                                       Mailing Address                      Loan Name         Amount     Contingent
        Elio A. Chiappe and Geraldine N. Chiappe, Trustees of The      P O Box 7288                     Gateway Stone                     Unknown         Y
        Chiappe Family Trust dated 1/22/96                             Carmel, CA 93921
        Elizabeth Florence Brown, an unmarried woman & Janie                                            Brookmere/Matteson $27,050,000    Unknown         Y
        Tammadge, a married woman dealing with her sole & separate
        property
        Elizabeth J. Annin Trustee of Annin Family Trust                 17430 Parthenia St             HFA- Windham                      Unknown         Y
                                                                         Northridge, CA 91325
        Elizabeth J. Annin Trustee of Annin Family Trust                 17430 Parthenia St             Bay Pompano Beach                 Unknown         Y
                                                                         Northridge, CA 91325
        Elizabeth J. Annin Trustee of Annin Family Trust                 17430 Parthenia St             Fiesta Oak Valley                 Unknown         Y
                                                                         Northridge, CA 91325
        Elizabeth P. Dokken-Baxter Trustee of the Elizabeth P. Dokken 386 Marsh Road                    Gramercy Court Condos             Unknown         Y
        Trust dated 1/27/93                                              Carson City, NV 89701
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Marlton Square 2nd                Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Placer Vineyards                  Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Margarita Annex                   Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Hasley Canyon                     Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Eagle Meadows Development         Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              BarUSA/$15,300,000                Unknown         Y
                                                                         San Francisco, CA 94109
        Elizabeth Stryks Shaw, a single woman                            1545 Broadway 308              Cabernet                          Unknown         Y
                                                                         San Francisco, CA 94109
        Ella M. Lehrer, a married woman dealing with her sole and        350 Paseo de Playa Unit 319    Eagle Meadows Development         Unknown         Y
        separate property                                                Ventura, CA 93001
        Ellen B. Adams, Transfer on Death to Denise S. Adams             2876 Forest Grove Dr           Marquis Hotel                     Unknown         Y
                                                                         Henderson, NV 89052
        Ellen D. Dauscher in trust for Carleigh Joy, Alexandra Zoe and   P. O. Box 10031                Marlton Square                    Unknown         Y
        Julian Grace Dauscher                                            Zephyr Cove, NV 89448
        Ellen Karatzaferis, an unmarried woman                           3748 Colonial Drive            Marlton Square 2nd                Unknown         Y
                                                                         Las Vegas, NV 89121
        Ellen Mary Lynch Trustee of Ellen Mary Lynch Trust dated         69-411 Ramon Rd #223           Ashby Financial $7,200,000        Unknown         Y
        7/6/1998                                                         Cathedral City, CA 92234
        Ellen V. Dustman and Oliver Henry, husband and wife as joint     440 Calhoun Street             Margarita Annex                   Unknown         Y
        tenants with the right of survivorship                           Port Townsand, WA 98368
        Ellen V. Dustman and Oliver Henry, husband and wife as joint     440 Calhoun Street             Gramercy Court Condos             Unknown         Y
        tenants with the right of survivorship                           Port Townsand, WA 98368
        Elmer Eugene Gilbert, Jr., a married man dealing with his sole & 81590 Chenel Road              Placer Vineyards                  Unknown         Y
        separate property                                                Folsom, LA 70437
        Elmer Eugene Gilbert, Jr., a married man dealing with his sole & 81590 Chenel Road              6425 Gess, LTD                    Unknown         Y
        separate property                                                Folsom, LA 70437
        Elmer Eugene Gilbert, Jr., a married man dealing with his sole & 81590 Chenel Road              Bay Pompano Beach                 Unknown         Y
        separate property                                                Folsom, LA 70437
        Emery T. Smith & Mary C. Smith, husband & wife, as joint         2899 Hatteras Way              HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                               Naples, FL 34119
        Emery T. Smith & Mary C. Smith, husband & wife, as joint         2899 Hatteras Way              Placer Vineyards                  Unknown         Y
        tenants with right of survivorship                               Naples, FL 34119
        Emil D. Incrocci & Therese A. Incrocci, husband & wife, as joint 1065 W Barrymore Dr            Gramercy Court Condos             Unknown         Y
        tenants with right of survivorship                               Meridian, ID 83642
        Emil Reynolds & Anna Reynolds, husband & wife                    982 East County Rd 350 South   Amesbury/Hatters Point            Unknown         Y
                                                                         Greencastle, IN 46135
        Emil Reynolds & Anna Reynolds, husband & wife                    982 East County Rd 350 South   HFA- Clear Lake                   Unknown         Y
                                                                         Greencastle, IN 46135
        Emilio J. Angeli & Christine E. Angeli, husband & wife, as joint 9675 Irvine Bay Ct             Amesbury/Hatters Point            Unknown         Y
        tenants with right of survivorship                               Las Vegas, NV 89147




SCHEDULES                                                                            Exhibit B-21                                                        PAGE 69
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                     Page 45 of 50



In re            USA Commercial Mortgage Company                      ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                  (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                            Description and Location of Property                                                      Property


                                Legal vesting                                      Mailing Address                     Loan Name                Amount     Contingent
        Emily P. Lee, an unmarried woman                                 2223 25th Ave                HFA- Windham                             Unknown         Y
                                                                         San Francisco, CA 94116
        Equity Trust Company Custodian For the Benefit of the Fred G. 4014 45th St Ct NW              HFA- Clear Lake                          Unknown         Y
        Neufeld IRA                                                      Gig Harbor, WA 98335
        Equity Trust Company Custodian For the Benefit of the Fred G. 4014 45th St Ct NW              Brookmere/Matteson $27,050,000           Unknown         Y
        Neufeld IRA                                                      Gig Harbor, WA 98335
        Eric B. Freedus and Linda P. Freedus, husband and wife, as joint 5008 Nighthawk Way           Marlton Square                           Unknown         Y
        tenants with the right of survivorship                           Oceanside, CA 92056
        Eric B. Freedus and Linda P. Freedus, husband and wife, as joint 5008 Nighthawk Way           Placer Vineyards                         Unknown         Y
        tenants with the right of survivorship                           Oceanside, CA 92056
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           Castaic Partners II, LLC                 Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           Fiesta Oak Valley                        Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           Golden State Investments II              Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           Gramercy Court Condos                    Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           HFA- Clear Lake                          Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           Huntsville                               Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit    3640 Fairway Drive           6425 Gess, LTD                           Unknown         Y
        Sharing Plan                                                     Cameron Park, CA 95682
        Eric J. Schmitt and Valerie L. Schmitt, Trustees of The Schmitt 5941 Brassie Circle           Placer Vineyards                         Unknown         Y
        Trust                                                            Huntington Beach, CA 92649
        Eric Lynn Lester and Cassie Lester, husband and wife, as Joint   500 W Goldfield Ave          Gramercy Court Condos                    Unknown         Y
        Tenants with Right of Survivorship                               Yerington, NV 89447
        Eric N. Cartagena, Trustee, of The Eric Noel Cartagena Trust     P O Box 60742                Riviera - Homes for America Holdings,    Unknown         Y
                                                                         San Diego, CA 92166          L.L.C.
        Eric N. Cartagena, Trustee, of The Eric Noel Cartagena Trust     P O Box 60742                Tapia Ranch                              Unknown         Y
                                                                         San Diego, CA 92166
        Eric S. Perlman, an unmarried man                                P O Box 8636                 Castaic Partners II, LLC                 Unknown         Y
                                                                         Truckee, CA 96162
        Eric S. Perlman, an unmarried man                                P O Box 8636                 Fiesta Oak Valley                        Unknown         Y
                                                                         Truckee, CA 96162
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint PO Box 5130                  BarUSA/$15,300,000                       Unknown         Y
        tenants with right of survivorship                               Reno, NV 89513
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint PO Box 5130                  Placer Vineyards 2nd                     Unknown         Y
        tenants with right of survivorship                               Reno, NV 89513
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint PO Box 5130                  Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                               Reno, NV 89513
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint PO Box 5130                  Golden State Investments II              Unknown         Y
        tenants with right of survivorship                               Reno, NV 89513
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint PO Box 5130                  HFA- Riviera 2nd                         Unknown         Y
        tenants with right of survivorship                               Reno, NV 89513
        Erika Davis, a married woman dealing with her sole & separate 6201 E Lake Mead Blvd C111      Hasley Canyon                            Unknown         Y
        property                                                         Las Vegas, NV 89156
        Erika Muchenberger Trustee of the Erika Muchenberger             8121 Retriever Ave.          Huntsville                               Unknown         Y
        Revocable Trust dated 11/21/03                                   Las Vegas, NV 89147
        Erin E. MacDonald Trustee of the Erin E. MacDonald Revocable 9521 Tournament Canyon Dr        Marlton Square                           Unknown         Y
        Living Trust                                                     Las Vegas, NV 89144
        Erin Sullivan & Jean Sullivan                                    30 Palm Springs Court        Amesbury/Hatters Point                   Unknown         Y
                                                                         Sparks, NV 89436
        Ernest J. Keller, Jr. and Helen Keller, Trustees of the Keller   15265 Rosina Pl              HFA- North Yonkers                       Unknown         Y
        Family Trust dated 9/16/05                                       Waldorf, MD 20601
        Ernest J. Moore, an unmarried man                                2028 I St                    Amesbury/Hatters Point                   Unknown         Y
                                                                         Sparks, NV 89431
        Ernest J. Moore, an unmarried man                                2028 I St                    Hasley Canyon                            Unknown         Y
                                                                         Sparks, NV 89431




SCHEDULES                                                                           Exhibit B-21                                                              PAGE 70
               Case 06-10725-gwz                         Doc 682-1               Entered 06/15/06 23:55:42                   Page 46 of 50



In re            USA Commercial Mortgage Company                     ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                 (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                           Description and Location of Property                                                     Property


                               Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Ernest W. Downing & Eva M. Downing, husband & wife, as joint 811 NE 157th Avenue            Marquis Hotel                            Unknown         Y
        tenants with right of survivorship                           Portland, OR 97230
        Ernest W. Libman Trustee of the Ernest W. Libman & Cleone    1709 Glenview Drive            Amesbury/Hatters Point                   Unknown         Y
        Libman Family Trust dated 3/11/93                            Las Vegas, NV 89134
        Ernest W. Libman Trustee of the Ernest W. Libman & Cleone    1709 Glenview Dr               Amesbury/Hatters Point                   Unknown         Y
        Libman Family Trust dated 3/11/93                            Las Vegas, NV 89134
        Ernest W. Libman Trustee of the Ernest W. Libman & Cleone    1709 Glenview Drive            Tapia Ranch                              Unknown         Y
        Libman Family Trust dated 3/11/93                            Las Vegas, NV 89134
        Ernest W. Libman Trustee of the Ernest W. Libman & Cleone    1709 Glenview Dr               Tapia Ranch                              Unknown         Y
        Libman Family Trust dated 3/11/93                            Las Vegas, NV 89134
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Cabernet                                 Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 6425 Gess, LTD                           Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Gramercy Court Condos                    Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Harbor Georgetown                        Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 HFA-Clear Lake 2nd                       Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 HFA- North Yonkers                       Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Lerin Hills                              Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Marlton Square 2nd                       Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Marquis Hotel                            Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Placer Vineyards                         Unknown         Y
        dated 9/23/96                                                Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust    P.O. Box 19035                 Riviera - Homes for America Holdings,    Unknown         Y
        dated 9/23/96                                                Jean, NV 89019                 L.L.C.
        Erven J. Nelson & Frankie J. Nelson Trustees of the Erven J. 9032 N. Cheyenne Way           Marlton Square                           Unknown         Y
        Nelson & Frankie J. Nelson Trust                             Park City, UT 84098
        Erven J. Nelson & Frankie J. Nelson Trustees of the Erven J. 9032 N. Cheyenne Way           Riviera - Homes for America Holdings,    Unknown         Y
        Nelson & Frankie J. Nelson Trust                             Park City, UT 84098            L.L.C.
        Erven J. Nelson Trustee of the Erven J. Nelson LTD PSP dated 9032 N. Cheyenne Way           Gilroy                                   Unknown         Y
        10/31/72                                                     Park city, UT 84098
        Erven J. Nelson Trustee of the Erven J. Nelson LTD PSP dated 9032 N. Cheyenne Way           Clear Creek Plantation                   Unknown         Y
        10/31/72                                                     Park city, UT 84098
        Ethel C. Bonaldi-Rausch                                      10708 Brinkwood Ave            Amesbury/Hatters Point                   Unknown         Y
                                                                     Las Vegas, NV 89134
        Eugene C. Wiehe Trustee of the Eugene C. Wiehe Trust dated   17031 Cerise Avenue            Eagle Meadows Development                Unknown         Y
        10/31/85                                                     Torrance, CA 90504
        Eugene C. Wiehe Trustee of the Eugene C. Wiehe Trust dated   17031 Cerise Avenue            HFA- North Yonkers                       Unknown         Y
        10/31/85                                                     Torrance, CA 90504
        Eugene C. Wiehe Trustee of the Eugene C. Wiehe Trust dated   17031 Cerise Avenue            Marlton Square                           Unknown         Y
        10/31/85                                                     Torrance, CA 90504
        Eugene M. Langworthy and Maria C. Langworthy Trustees of the 1482 Residence Club Ct.        Shamrock Tower, LP                       Unknown         Y
        Eugene and Maria Langworthy Revocable Living Trust dated     Redmond, OR 97756
        4/1/1999
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.    20 Skyline Circle              Bay Pompano Beach                        Unknown         Y
        Cady & Sandra L. Cady Trust dated 9/24/85                    Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.    20 Skyline Circle              Marquis Hotel                            Unknown         Y
        Cady & Sandra L. Cady Trust dated 9/24/85                    Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.    20 Skyline Circle              HFA- North Yonkers                       Unknown         Y
        Cady & Sandra L. Cady Trust dated 9/24/85                    Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.    20 Skyline Circle              HFA- Windham                             Unknown         Y
        Cady & Sandra L. Cady Trust dated 9/24/85                    Reno, NV 89509




SCHEDULES                                                                         Exhibit B-21                                                              PAGE 71
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                  Page 47 of 50



In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.      20 Skyline Circle             Gramercy Court Condos             Unknown            Y
        Cady & Sandra L. Cady Trust dated 9/24/85                      Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.      20 Skyline Circle             Gateway Stone                     Unknown            Y
        Cady & Sandra L. Cady Trust dated 9/24/85                      Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.      20 Skyline Circle             Anchor B, LLC                     Unknown            Y
        Cady & Sandra L. Cady Trust dated 9/24/85                      Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.      20 Skyline Circle             Amesbury/Hatters Point            Unknown            Y
        Cady & Sandra L. Cady Trust dated 9/24/85                      Reno, NV 89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W.      20 Skyline Circle             Gilroy                            Unknown            Y
        Cady & Sandra L. Cady Trust dated 9/24/85                      Reno, NV 89509
        Evalyn C. Taylor Trustee of the Evalyn C. Taylor Separate      1908 Rolling Dunes Ct         HFA- Clear Lake                   Unknown            Y
        Property Trust dated 2/17/87                                   Las Vegas, NV 89117
        Evalyn C. Taylor Trustee of the Evalyn C. Taylor Separate      1908 Rolling Dunes Ct         6425 Gess, LTD                    Unknown            Y
        Property Trust dated 2/17/87                                   Las Vegas, NV 89117
        Evan J. Madow D.C. Trustee of the Evan J. Madow D.C. Trust     7500 Bryan Dairy Rd Ste A     6425 Gess, LTD                    Unknown            Y
                                                                       Largo, FL 33777
        Evelyn A. Calhoun, an unmarried woman transferable on death to 369 FM 2848                   Placer Vineyards                  Unknown            Y
        Dale E. Calhoun                                                Valley View, TX 76272
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Tapia Ranch                       Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Tapia Ranch                       Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Marquis Hotel                     Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Marquis Hotel                     Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Marlton Square                    Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives  220 First Street #3           Marlton Square                    Unknown            Y
        Bypass Trust dated 1/6/93                                      Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Tapia Ranch                       Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Tapia Ranch                       Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Ten-Ninety, Ltd./$4,150,000       Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Ten-Ninety, Ltd./$4,150,000       Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Placer Vineyards                  Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Placer Vineyards                  Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Bay Pompano Beach                 Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives   220 First Street #3           Bay Pompano Beach                 Unknown            Y
        QTIP Trust                                                     Seal Beach, CA 90740
        Evelyn Asher Sheerin Trustee for the benefit of The Chris H.   549 Ruby Lane                 Marlton Square                    Unknown            Y
        Sheein (deceased) & Evelyn Asher Sheerin 1984 Trust dated      Carson City, NV 89706
        5/31/84
        Evelyn Asher Sheerin Trustee for the benefit of The Chris H.   549 Ruby Lane                 Marlton Square                    Unknown            Y
        Sheein (deceased) & Evelyn Asher Sheerin 1984 Trust dated      Carson City, NV 89706
        5/31/84
        Evelyn Asher Sheerin Trustee of the Chris and Evelyn Sheerin   549 Ruby Lane                 Marlton Square                    Unknown            Y
        1990 Trust                                                     Carson City, NV 89706
        Evelyn Asher Sheerin Trustee of the Chris and Evelyn Sheerin   549 Ruby Lane                 Marlton Square                    Unknown            Y
        1990 Trust                                                     Carson City, NV 89706
        Evelyn E. Pulley Trustee of the Pulley Revocable Trust dated   404 Paramount Lane            Harbor Georgetown                 Unknown            Y
        12/20/00                                                       Birmingham, AL 35226
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn 4330 Mt Gate Dr                Opaque/Mt. Edge $7,350,000        Unknown            Y
        G. Canepa Trust dated 9/19/00                                  Reno, NV 89509




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 72
               Case 06-10725-gwz                          Doc 682-1                Entered 06/15/06 23:55:42                  Page 48 of 50



In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn 4330 Mt Gate Dr                Placer Vineyards 2nd              Unknown            Y
        G. Canepa Trust dated 9/19/00                                  Reno, NV 89509
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn 4330 Mt Gate Dr                Hasley Canyon                     Unknown            Y
        G. Canepa Trust dated 9/19/00                                  Reno, NV 89509
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn 4330 Mt Gate Dr                Cabernet                          Unknown            Y
        G. Canepa Trust dated 9/19/00                                  Reno, NV 89509
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn 4330 Mt Gate Dr                Clear Creek Plantation            Unknown            Y
        G. Canepa Trust dated 9/19/00                                  Reno, NV 89509
        Evelyn Kitt, a single woman                                    2128 Eaglepath Circle         Gramercy Court Condos             Unknown            Y
                                                                       Henderson, NV 89074
        Evelyn Kitt, a single woman                                    2128 Eaglepath Circle         Harbor Georgetown                 Unknown            Y
                                                                       Henderson, NV 89074
        Evelyn Kitt, a single woman                                    2128 Eaglepath Circle         Margarita Annex                   Unknown            Y
                                                                       Henderson, NV 89074
        Evelyn M. Scholl, a widow & Victor M. Shappell, an unmarried P O Box 54309                   Amesbury/Hatters Point            Unknown            Y
        man, as joint tenants with right of survivorship               Phoenix, AZ 85078
        Evelyn Matonovich Trustee of the Matonovich Family Trust       29 Pheasant Ridge Dr          Gramercy Court Condos             Unknown            Y
        dated 5/16/73 (KWA310590)                                      Henderson, NV 89014
        Evelyn Matonovich Trustee of the Matonovich Family Trust       29 Pheasant Ridge Dr          Gramercy Court Condos             Unknown            Y
        dated 5/16/73 (KWA310590)                                      Henderson, NV 89014
        Evelyn Matonovich Trustee of the Matonovich Marital Trust      29 Pheasant Ridge Dr          Gramercy Court Condos             Unknown            Y
        UAD 1/25/77                                                    Henderson, NV 89014
        Evelyn Matonovich Trustee of the Matonovich Marital Trust      29 Pheasant Ridge Dr          Gramercy Court Condos             Unknown            Y
        UAD 1/25/77                                                    Henderson, NV 89014
        Everett F. Grotzinger & Frances E. Grotzinger, husband & wife, 3105 Castlewood Dr            Amesbury/Hatters Point            Unknown            Y
        as joint tenants with right of survivorship                    Las Vegas, NV 89102
        Everett H. Johnston Trustee of the Everett H. Johnston Family  P O Box 3605                  Eagle Meadows Development         Unknown            Y
        Trust dated 1/24/90                                            Incline Village, NV 89450
        Everett H. Johnston Trustee of the Everett H. Johnston Family  P O Box 3605                  HFA- Clear Lake                   Unknown            Y
        Trust dated 1/24/90                                            Incline Village, NV 89450
        Everett H. Johnston Trustee of the Everett H. Johnston Family  P O Box 3605                  HFA- North Yonkers                Unknown            Y
        Trust dated 1/24/90                                            Incline Village, NV 89450
        Everett H. Johnston Trustee of the Everett H. Johnston Family  P O Box 3605                  Placer Vineyards                  Unknown            Y
        Trust dated 1/24/90                                            Incline Village, NV 89450
        Evie Dean Trustee of the Evie Dean 2000 Trust dated 12/12/00   29 Pheasant Ridge Dr          Gramercy Court Condos             Unknown            Y
                                                                       Henderson, NV 89014
        Evie Dean Trustee of the Evie Dean 2000 Trust dated 12/12/00   71 Silverado Ranch            Gramercy Court Condos             Unknown            Y
                                                                       Las Vegas, NV 89125
        Evie Dean Trustee of the Evie Dean 2000 Trust dated 12/12/00   29 Pheasant Ridge Dr          HFA- North Yonkers                Unknown            Y
                                                                       Henderson, NV 89014
        Evie Dean Trustee of the Evie Dean 2000 Trust dated 12/12/00   71 Silverado Ranch            HFA- North Yonkers                Unknown            Y
                                                                       Las Vegas, NV 89125
        Evie Simon & Ruby Simon, unmarried women                       8728 Castle View Ave          Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89129
        Evo Zepponi and Billie Zepponi, Trustees of The Evo E. Zepponi 14385 W Morning Star Trail    6425 Gess, LTD                    Unknown            Y
        and Billie D. Zepponi Family Trust Under Agreement Dated       Surprise, AZ 85374
        2/9/1993
        Evo Zepponi and Billie Zepponi, Trustees of The Evo E. Zepponi 14385 W Morning Star Trail    BarUSA/$15,300,000                Unknown            Y
        and Billie D. Zepponi Family Trust Under Agreement Dated       Surprise, AZ 85374
        2/9/1993
        Evo Zepponi and Billie Zepponi, Trustees of The Evo E. Zepponi 14385 W Morning Star Trail    Eagle Meadows Development         Unknown            Y
        and Billie D. Zepponi Family Trust Under Agreement Dated       Surprise, AZ 85374
        2/9/1993
        Evo Zepponi and Billie Zepponi, Trustees of The Evo E. Zepponi 14385 W Morning Star Trail    Gramercy Court Condos             Unknown            Y
        and Billie D. Zepponi Family Trust Under Agreement Dated       Surprise, AZ 85374
        2/9/1993
        Evo Zepponi and Billie Zepponi, Trustees of The Evo E. Zepponi 14385 W Morning Star Trail    Marlton Square                    Unknown            Y
        and Billie D. Zepponi Family Trust Under Agreement Dated       Surprise, AZ 85374
        2/9/1993




SCHEDULES                                                                           Exhibit B-21                                                      PAGE 73
                Case 06-10725-gwz                           Doc 682-1               Entered 06/15/06 23:55:42                    Page 49 of 50



In re              USA Commercial Mortgage Company                      ,                                                                       Case No. 06-10725-LBR
                                       Debtor                                                                                                                (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                                Description and Location of Property                                                    Property


                                     Legal vesting                                  Mailing Address                      Loan Name                Amount     Contingent
        F. R. Inc. DBA Bombard Electric, a Nevada corporation           3570 W Post Rd                  Tapia Ranch                              Unknown         Y
                                                                        Las Vegas, NV 89118
        F. R. Inc. DBA Bombard Electric, a Nevada corporation           2742 Carina Way                 Tapia Ranch                              Unknown         Y
                                                                        Henderson, NV 89052
        F. Roy MacKintosh Trustee of the Great Basin Foundation For     7350 Lakeside Dr                Hasley Canyon                            Unknown         Y
        Biomedical Research                                             Reno, NV 89511
        Falkenborg Family LLC, a California limited liability company   727 Third Ave                   Tapia Ranch                              Unknown         Y
                                                                        Chula Vista , CA 91910
        Falkenborg Family LLC, a California limited liability company   727 Third Ave                   Tapia Ranch                              Unknown         Y
                                                                        Chula Vista, CA 91910
        Farrah M. Hobbs Trustee of the Farrah M. Hobbs Revocable        3010 Parchment Court            Gramercy Court Condos                    Unknown         Y
        Trust dated 3/12/04                                             Las Vegas, NV 89117
        Farrah M. Hobbs Trustee of the Farrah M. Hobbs Revocable        3010 Parchment Court            Amesbury/Hatters Point                   Unknown         Y
        Trust dated 3/12/04                                             Las Vegas, NV 89117
        Farrah M. Hobbs Trustee of the Farrah M. Hobbs Revocable        3010 Parchment Court            Ashby Financial $7,200,000               Unknown         Y
        Trust dated 3/12/04                                             Las Vegas, NV 89117
        Felix N. Moccia Trustee of the Felix N. Moccia Trust dated      3037 Conquista Court            Harbor Georgetown                        Unknown         Y
        4/11/94                                                         Las Vegas, NV 89121
        Fernando Cuza & Kristi Cuza, husband & wife, as joint tenants   426 E MacEwen Dr                Tapia Ranch                              Unknown         Y
        with right of survivorship                                      Osprey, FL 34229
        Fertitta Enterprises, Inc.                                      2960 W Sahara Ave Ste 200       Hasley Canyon                            Unknown         Y
                                                                        Las Vegas, NV 89102
        Fertitta Enterprises, Inc.                                      2960 W Sahara Ave Ste 200       Marlton Square                           Unknown         Y
                                                                        Las Vegas, NV 89102
        Fertitta Enterprises, Inc.                                      2960 W Sahara Ave Ste 200       Colt Gateway                             Unknown         Y
                                                                        Las Vegas, NV 89102
        Fertitta Enterprises, Inc.                                      2960 W Sahara Ave Ste 200       Tapia Ranch                              Unknown         Y
                                                                        Las Vegas, NV 89102
        Fertitta Enterprises, Inc.                                      2960 W Sahara Ave Ste 200       Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Las Vegas, NV 89102
        First Regional Bank Custodian For Clarence J. Greenwald IRA     1608 Caminito Asterisco         HFA- Clear Lake                          Unknown         Y
        #69003263337                                                    La Jolla, CA 92037
        First Regional Bank Custodian For Clarence J. Greenwald IRA     1608 Caminito Asterisco         HFA- Clear Lake                          Unknown         Y
        #69003263337                                                    La Jolla, CA 92037
        First Regional Bank Custodian For Irwin Levine IRA C/O          10024 Button Willow             6425 Gess, LTD                           Unknown         Y
        Pollycomp                                                       Las Vegas, NV 89134
        First Regional Bank Custodian For Irwin Levine IRA C/O          10024 Button Willow             HFA- North Yonkers                       Unknown         Y
        Pollycomp                                                       Las Vegas, NV 89134
        First Regional Bank Custodian For Jerry R. Johnson IRA          5950 La Place Ct Ste 160        6425 Gess, LTD                           Unknown         Y
                                                                        Carlsbad , CA 92008
        First Savings Bank Custodian For A. Andrew Schwarzman IRA       22395 Rancho Deep Cliff Drive   Marquis Hotel                            Unknown         Y
                                                                        Cupertino, CA 95014
        First Savings Bank Custodian For A. Andrew Schwarzman IRA       22395 Rancho Deep Cliff Drive   Tapia Ranch                              Unknown         Y
                                                                        Cupertino, CA 95014
        First Savings Bank Custodian for Alan Groh IRA                  12613 Alcacer Del Sol           Gateway Stone                            Unknown         Y
                                                                        San Diego, CA 92128
        First Savings Bank Custodian For Albert Blumenthal IRA          6 Heritage Court                Eagle Meadows Development                Unknown         Y
                                                                        Atherton, CA 94027
        First Savings Bank Custodian For Albert Blumenthal IRA          6 Heritage Court                Placer Vineyards                         Unknown         Y
                                                                        Atherton, CA 94027
        First Savings Bank Custodian for Allison Sullivan IRA           21005 Rios Street               Gateway Stone                            Unknown         Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian for Allison Sullivan IRA           21005 Rios St                   Gateway Stone                            Unknown         Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian For Alterio A.G. Banks IRA         5750 Via Real Unit 308          Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Carpinteria, CA 93013           L.L.C.
        First Savings Bank Custodian For Alterio A.G. Banks IRA         5750 Via Real Unit 308          Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Carpinteria, CA 93013           L.L.C.
        First Savings Bank Custodian For Alterio A.G. Banks IRA         5750 Via Real Unit 308          Placer Vineyards 2nd                     Unknown         Y
                                                                        Carpinteria, CA 93013




SCHEDULES                                                                            Exhibit B-21                                                               PAGE 74
               Case 06-10725-gwz                               Doc 682-1          Entered 06/15/06 23:55:42                    Page 50 of 50



In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                     Mailing Address                  Loan Name             Amount    Contingent
        First Savings Bank Custodian For Alterio A.G. Banks IRA        5750 Via Real Unit 308         Placer Vineyards 2nd              Unknown            Y
                                                                       Carpinteria, CA 93013
        First Savings Bank Custodian For Ann Gordon IRA                119 Thornberry Drive           Placer Vineyards 2nd              Unknown            Y
                                                                       Pittsburg , PA 15237
        First Savings Bank Custodian For Ann Marie Berglund IRA        10400 Leafgold Drive           Tapia Ranch                       Unknown            Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Anne Flannery IRA             723 Hillview Dr                HFA- North Yonkers                Unknown            Y
                                                                       Arlington, TX 76011
        First Savings Bank Custodian For Anne Flannery IRA             723 Hillview Drive             HFA- North Yonkers                Unknown            Y
                                                                       Arlington, TX 76011
        First Savings Bank Custodian For Anthony Christian IRA         3369 Shallow Pond              Gramercy Court Condos             Unknown            Y
                                                                       Las Vegas, NV 89117
        First Savings Bank Custodian For Anthony Christian IRA         3369 Shallow Pond              HFA- Windham                      Unknown            Y
                                                                       Las Vegas, NV 89117
        First Savings Bank Custodian For Anthony Christian IRA         3369 Shallow Pond              Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89117
        First Savings Bank Custodian For Anthony Christian IRA         3369 Shallow Pond              Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Las Vegas, NV 89117
        First Savings Bank Custodian For Arthur I. Kriss IRA           2398 W 1050 North              HFA- Clear Lake                   Unknown            Y
                                                                       Hurricane, UT 84737
        First Savings Bank Custodian For Arthur I. Kriss IRA           2398 West 1050 North           HFA- Clear Lake                   Unknown            Y
                                                                       Hurricane, UT 84737
        First Savings Bank Custodian For Bernard Sindler IRA           2112 Plaza Del Fuentes         Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Bernard Sindler IRA           2112 Plaza Del Fuentes         Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Bernard Sindler IRA           2112 Plaza Del Fuentes         Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Bernard Sindler IRA           2112 Plaza Del Fuentes         Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Bobbie Marrs IRA              5753 Bedrock Springs Ave       Fiesta Oak Valley                 Unknown            Y
                                                                       Las Vegas, NV 89131
        First Savings Bank Custodian For Boris M. Lokshin IRA          4208 Pinto Dr                  Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Reno, NV 89509
        First Savings Bank Custodian For Boris M. Lokshin IRA          4208 Pinto Drive               Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Reno, NV 89509
        First Savings Bank Custodian For Brian L. Riley IRA            2710 Crestwood Lane            Wasco Investments                 Unknown            Y
                                                                       Highland Village, TX 75077
        First Savings Bank Custodian For Brian L. Riley IRA            2710 Crestwood Lane            Placer Vineyards                  Unknown            Y
                                                                       Highland Village, TX 75077
        First Savings Bank Custodian For Brian L. Riley IRA            2710 Crestwood Lane            Goss Road                         Unknown            Y
                                                                       Highland Village, TX 75077
        First Savings Bank Custodian For Brian L. Riley IRA            2710 Crestwood Lane            Eagle Meadows Development         Unknown            Y
                                                                       Highland Village, TX 75077
        First Savings Bank Custodian For Bruce Bryen IRA               777 S Federal Hwy BLdg N-409   HFA- North Yonkers                Unknown            Y
                                                                       Pompano Beach, FL 33062
        First Savings Bank Custodian For Bruce Bryen IRA               777 S Federal Hwy Bldg N-409   HFA- North Yonkers                Unknown            Y
                                                                       Pompano Beach, FL 33062
        First Savings Bank Custodian For Bruce Sonnenberg IRA          113 Rosewood Lane              6425 Gess, LTD                    Unknown            Y
                                                                       Chicago Heights, IL 60411
        First Savings Bank Custodian For Bruce Sonnenberg IRA          113 Rosewood Lane              6425 Gess, LTD                    Unknown            Y
                                                                       Chicago Heights, IL 60411
        First Savings Bank Custodian For Carmen G. McColly IRA         1009 Domnus Lane #102          Fiesta Oak Valley                 Unknown            Y
                                                                       Las Vegas, NV 89144
        First Savings Bank Custodian For Carol J. Simcock IRA          P O Box 2932                   Placer Vineyards 2nd              Unknown            Y
                                                                       Sunnyvale, CA 94087
        First Savings Bank Custodian For Carol J. Simcock IRA          P O Box 2932                   Placer Vineyards 2nd              Unknown            Y
                                                                       Sunnyvale, CA 94087
        First Savings Bank Custodian For Carol J. Simcock IRA          P O Box 2932                   Lerin Hills                       Unknown            Y
                                                                       Sunnyvale, CA 94087




SCHEDULES                                                                          Exhibit B-21                                                        PAGE 75
